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    1                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
    2                              EASTERN DIVISION

    3
        HANGZHOU CHIC INTELLIGENT and            )
    4   UNICORN GLOBAL, INC.,                    )
                                                 )
    5                         Plaintiffs,        )
        -vs-                                     )
    6                                            )   Case No. 20 C 4806
        THE PARTNERSHIPS AND                     )
    7   UNINCORPORATED ASSOCIATIONS              )   Chicago, Illinois
        IDENTIFIED ON SCHEDULE "A,"              )   December 2, 2022
    8                                            )   10:00 a.m.
                              Defendants.        )
    9

   10      TRANSCRIPT OF PROCEEDINGS - PRELIMINARY INJUNCTION HEARING
                     BEFORE THE HONORABLE THOMAS M. DURKIN
   11
         APPEARANCES:
   12
         For the Plaintiffs:        TARTER KRINSKY & DROGIN LLP
   13                               BY: MR. RICHARD JOSEPH LAMAR LOMUSCIO
                                         MS. CHANDLER ELIZABETH STURM
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   21

   22
         Court Reporter:            KELLY M. FITZGERALD, CSR, RMR, CRR
   23                               Official Court Reporter
                                    United States District Court
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    1    APPEARANCES:     (Continued)

    2
         For the Defendants:        GLACIER LAW LLP
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                                    GLACIER LAW LLP
    6                               BY: MR. HE CHENG
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    9                               GLACIER LAW LLP
                                    BY: MR. WEI WANG
   10                               200 Park Avenue
                                    Suite 1703
   11                               New York, NY 10166

   12

   13    ALSO PRESENT:              Mr. Peter Phaneuf

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    1      (Proceedings heard in open court:)

    2               THE CLERK:     This is case number 20 CV 4806, ABC

    3    Corporation v. The Defendants Identified on Schedule A.

    4               Could I please have the attorneys present on behalf

    5    of the plaintiffs state their names?

    6               MR. LOMUSCIO:      Richard Lomuscio on behalf of the

    7    plaintiffs.

    8               MR. BERKOWITZ:      Mark Berkowitz also on behalf of

    9    plaintiffs.

   10               THE COURT:     All right.

   11               MS. STURM:     And Chandler Sturm on behalf of

   12    plaintiffs.

   13               THE COURT:     Okay.

   14               MR. MATHEW:     Anand Mathew on behalf of the

   15    plaintiffs.

   16               THE COURT:     Okay.    All right.

   17               And for defendants?

   18               MR. CHENG:     Good morning, Your Honor.         He Cheng on

   19    behalf of defendants.

   20               MR. YAO:    Good morning, Your Honor.         This is attorney

   21    Yu-Hao Yao on behalf of defendant third-party respondents.

   22               THE COURT:     Okay.

   23               MR. WANG:     This is Wei Wang on behalf of the

   24    defendants.

   25               MR. LIU:    This is Tao Liu on behalf of defendants.
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    1               THE COURT:     Okay.    Let's go through a few -- nice to

    2    see all of you.      I've never seen any attorneys on this case

    3    yet.   You've all been over the phone so it's nice to see all

    4    of you.    Let's go through a few ground rules.

    5               You could all generally, unless you're examining a

    6    witness, you can object or argue from the tables.              No need to

    7    come up here, but it's absolutely essential you use the

    8    microphone.     My court reporter can't hear you unless you're

    9    using a microphone so make sure the mic is in front of you.

   10    They're all adjustable.        The base is moveable so just make

   11    sure it's there.

   12               We're here on plaintiffs' motion for preliminary

   13    injunction.     I have a couple of preliminary questions.

   14               My understanding is that you had completed discovery

   15    before Judge Cole; is that correct?

   16               MR. LOMUSCIO:      Yes, Your Honor.

   17               THE COURT:     You can stay seated.

   18               MR. LOMUSCIO:      Oh, I'm sorry.

   19               THE COURT:     That's fine.      That way the mic is right

   20    there.

   21               MR. LOMUSCIO:      Yes, Your Honor.

   22               THE COURT:     Okay.

   23               Defense agrees?

   24               MR. YAO:    Yes, Your Honor.

   25               THE COURT:     Okay.    Are all efforts to settle this
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                                                                                   5

    1    case exhausted?

    2               MR. LOMUSCIO:      There's always a possibility,

    3    Your Honor; but as of the conference, there was no interest in

    4    settlement as far as I'm aware.

    5               THE COURT:     All right.

    6               Defendants agree?

    7               MR. YAO:    Yes, Your Honor.       We are open to

    8    settlements.     However, as Mr. Lomuscio has indicated, there

    9    hasn't been any fruitful settlement discussion, I would say.

   10               THE COURT:     All right.     Let's go off the record.

   11      (Off the record.)

   12               THE COURT:     All right.     Does either side wish to make

   13    an opening statement, brief opening statement, but make an

   14    opening statement?

   15               MR. LOMUSCIO:      We do not, Your Honor.        We'd prefer to

   16    just go right to witnesses.

   17               THE COURT:     All right.

   18               And defense?

   19               MR. YAO:    Yes, Your Honor, if I may present my

   20    opening statements.

   21               THE COURT:     Sure.    And if you want to do that from

   22    the podium, you're free to do so.

   23               You want to change your mind?

   24               MR. LOMUSCIO:      I would like to change my mind if --

   25               THE COURT:     All right.
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                                   opening - plaintiff
                                                                                   6

    1               Well, hang on.      It's their motion so you scared them

    2    into it.

    3               All right.     Proceed.     You can do it -- if you're more

    4    comfortable standing, just make sure you're at the podium near

    5    the microphone.

    6               And, again, you're Mr. --

    7               MR. LOMUSCIO:      Lomuscio, Your Honor.

    8               THE COURT:     Lomuscio.     Got it.

    9               OPENING STATEMENT ON BEHALF OF THE PLAINTIFFS

   10               MR. LOMUSCIO:      And thank you, Your Honor, for

   11    scheduling this on such a tight time frame.             We appreciate it.

   12               Plaintiffs Hangzhou Chic and Unicorn have renewed

   13    their preliminary injunction motions to prevent further

   14    infringement by defendants Gyroor, Gyroor-US, Urbanmax,

   15    Fengchi-US, HGSM, Gaodeshang-US, and Gyroshoes.              There's no

   16    dispute that the Federal Circuit's decisions vacated the prior

   17    preliminary injunctions entered by this Court.              It is

   18    important to note, however, that the Federal Circuit did not

   19    hold that there's no basis for the prior injunctions, only

   20    that the form of the order provided by the Court lacked a

   21    product-by-product analysis of how the accused products

   22    infringed the patents at issue.

   23               While plaintiffs believe the record established for

   24    the prior preliminary injunction sufficiently established

   25    likelihood of success on the merits and irreparable harm and
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                                   opening - plaintiff
                                                                                     7

    1    the Federal Circuit did not hold otherwise, the renewed motion

    2    follows the roadmap for issuance of a renewed preliminary

    3    injunction now sought by plaintiffs.

    4               First, plaintiffs illustrate and will illustrate

    5    today how each product infringes the two patents in issue, the

    6    '723 and the '256 patent.        Mr. Hatch, a patent design expert

    7    whom you will hear testimony from today, details how each of

    8    the accused products infringe on the patents in issue.                You

    9    will further hear from Mr. Hatch how the minor details, such

   10    as drill holes relied upon by defendants to argue

   11    non-infringement, do not insulate the accused products from

   12    infringement liability.

   13               Second, you will hear testimony today from Richard

   14    Bero, a damages expert, regarding the irreparable harm --

   15               THE COURT:     Let me interrupt you, which I'll do

   16    frequently so don't be --

   17               MR. LOMUSCIO:      Yeah, I'm sure.

   18               THE COURT:     It's more than the drill holes.          It's the

   19    shape of the wheel covers.         It's the pattern across the pads.

   20    I mean, there's a lot of differences that defendants point

   21    out, and, you know, the '906 patent seems to indicate, the

   22    Fed Circuit seems to indicate, not seems, they held, that's

   23    important prior art and it should really focus the analysis on

   24    everything other than the hourglass shape which was a big part

   25    of Mr. Hatch's report.        And, you know, that's how I read the
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                                   opening - plaintiff
                                                                                   8

    1    Fed Circuit decision.       We ought to be looking at the

    2    hoverboard absent the hourglass shape and all the other

    3    features that are in your patents and in their five products.

    4    I'll get to whether it's five products or three.

    5               MR. LOMUSCIO:      Mm-hmm.

    6               THE COURT:     And that the '906 patent plays a central

    7    role in what an ordinary observer is going to have to look at.

    8    Look at it absent the hourglass shape and see what the

    9    difference is.

   10               MR. LOMUSCIO:      And you will hear the testimony today

   11    that Mr. Hatch describes how you have to look at the entire

   12    product, the entire impression for the observer standard.

   13               THE COURT:     You do.

   14               MR. LOMUSCIO:      Okay.

   15               THE COURT:     But you've got to include, in essence,

   16    the prior art and take that out of your observation, at least

   17    as a distinguishing feature, or a feature that is similar to

   18    the accused products because that is prior art.              And I read

   19    the Fed Circuit case as making it pretty clear that's -- it's

   20    highly -- here's what they said:          "The '906 patent is highly

   21    relevant to the question of infringement because it discloses

   22    an hourglass shape, a prominent feature common to the asserted

   23    patents and most of the accused products and a feature relied

   24    upon by the plaintiff to establish substantial similarity."

   25    And then they note:       "The Hatch report is far from recognizing
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                                   opening - plaintiff
                                                                                         9

    1    that the hourglass figure of the asserted patents could not be

    2    relied on to establish substantial similarity improperly

    3    relied upon that feature to show substantial similarity.                  The

    4    Hatch reports did not support a finding of substantial

    5    similarity."     The Court even continued:         "Even a cursory

    6    review of the four accused products shows that they are

    7    different from each other, display features not found in the

    8    asserted patents and lacked features shown in the asserted

    9    patents."

   10                So it really I think the Fed Circuit certainly seems

   11    to indicate the hourglass shape is a background feature that

   12    should be disregarded in analyzing infringement in this case.

   13                Now, I know Mr. Hatch has a revised report, and he's

   14    going to testify.      But I hope that -- I'm sure he's read the

   15    Fed Circuit opinion, and I hope that is something he addresses

   16    in his testimony.

   17                MR. LOMUSCIO:     That will be, Your Honor.         And that is

   18    one of the -- there are two points really, Your Honor.                One is

   19    we think the Federal Circuit misread part of Mr. Hatch's prior

   20    reports; but even the current report which builds upon the

   21    prior report and he'll go through today points out how there

   22    can be confusion with regard to these particular products.

   23                THE COURT:    Okay.    Proceed.

   24                MR. LOMUSCIO:     Thank you.

   25                You will also hear in addition to Mr. Hatch, you will
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                                    opening - plaintiff
                                                                                    10

     1   hear testimony from Mr. Richard Bero regarding the irreparable

     2   harm suffered by defendants and that will be suffered by

     3   defendants through the pendency of this litigation if there's

     4   not an injunction entered.         And this is a point apparently

     5   conceded by defendants in their opposition papers given their

     6   failure to even reference Mr. Bero's report.

     7              THE COURT:     I'm not sure -- well, perhaps.

     8              MR. LOMUSCIO:      Right.

     9              THE COURT:     It's still your burden of proof.

   10               MR. LOMUSCIO:      Yeah, I totally understand,

   11    Your Honor.

   12               THE COURT:     And whether they contest it in their

   13    response brief or not, I have to be satisfied by a

   14    preponderance standard you've met that particular element --

   15               MR. LOMUSCIO:      Of course, Your Honor.

   16               THE COURT:     -- seeking a preliminary injunction.

   17               MR. LOMUSCIO:      Of course, Your Honor.        That's why

   18    you'll hear from Mr. Bero today.

   19               THE COURT:     All right.

   20               MR. LOMUSCIO:      Third, it's apparent from defendants'

   21    papers that they have no viable rhetoric to plaintiff's

   22    prima facie showing of infringement.            The two experts

   23    defendants proffer with their opposition papers provide

   24    contradictory testimony regarding infringement and concede

   25    that they never reviewed the accused products prior to issuing
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                                    opening - plaintiff
                                                                                    11

     1   their reports.      In fact, defendants make no factual showing at

     2   all, either through affidavits or testimony, and improperly

     3   rely on attorney supposition in their papers.              Such

     4   speculation does not and cannot overcome what plaintiffs have

     5   demonstrated through their preliminary injunction motion.

     6              Finally, defendants gloss over the infringement

     7   analysis in favor of presenting a series of procedural attacks

     8   they claim undercut the renewed motion.            These contentions are

     9   directly undercut by the extended record in this case.

   10    Contrary to defendants' claims, all parties that plaintiffs

   11    seek to enjoin with this motion remain party to this action.

   12    Mr. Hatch's supporting declaration for this motion is proper,

   13    and the Federal Circuit decisions do not preclude this motion.

   14               In sum, plaintiffs are entitled to a preliminary

   15    injunction in this case that prevents defendants from selling

   16    their infringing products as demonstrated in the moving papers

   17    and the testimony the Court will hear today.

   18               Thank you very much.

   19               THE COURT:     All right.     Just so before you sit down.

   20               MR. LOMUSCIO:      Yeah.

   21               THE COURT:     The parties you are seeking an injunction

   22    against --

   23               MR. LOMUSCIO:      Yes.

   24               THE COURT:     -- are Gyroor.

   25               MR. LOMUSCIO:      Yes.
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                                    opening - plaintiff
                                                                                    12

     1              THE COURT:     Urbanmax.

     2              MR. LOMUSCIO:      Yes.

     3              THE COURT:     U-r-b-a-n-m-a-x.       I'm spelling these for

     4   my court reporter.

     5              MR. LOMUSCIO:      Sure.    Sure.

     6              THE COURT:     Fengchi-US, F-e-n-g-c-h-i-U-S, correct?

     7              MR. LOMUSCIO:      Yes, Your Honor.

     8              THE COURT:     HGSM?

     9              MR. LOMUSCIO:      Yes.

   10               THE COURT:     Gaodeshang, G-a-o-d-e-s-h-a-n-g-U-S?

   11               MR. LOMUSCIO:      Yes, Your Honor.

   12               THE COURT:     And Gyroshoes, G-y-r-o-s-h-o-e-s,

   13    correct?

   14               MR. LOMUSCIO:      That's correct, Your Honor.

   15               THE COURT:     Are those the only defendants you're

   16    seeking an injunction against?

   17               MR. LOMUSCIO:      The only defendants we're seeking an

   18    injunction against.

   19               THE COURT:     All right.

   20               MR. LOMUSCIO:      I just want to make sure I didn't

   21    miss -- I have -- I just -- so your list is the same as mine,

   22    Gyroor, Gyroor-US, Urbanmax --

   23               THE COURT:     I didn't mention -- I didn't hear

   24    Gyroor-US.

   25               MR. LOMUSCIO:      Okay.
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                                    opening - plaintiff
                                                                                     13

     1               THE COURT:    Gyroor-US?

     2               MR. LOMUSCIO:      Gyroor-US, Urbanmax, Fengchi-US, HGSM,

     3   Gaodeshang-US, and Gyroshoes.

     4               THE COURT:    All right.     And which products, if we go

     5   on the products being listed as Gyroor A through E, I believe.

     6               MR. LOMUSCIO:      Yep.

     7               THE COURT:    Which products are you seeking an

     8   injunction on?

     9               MR. LOMUSCIO:      Gyroor A, Gyroor C, and Gyroor E.

   10                THE COURT:    Okay.    Not B or D?

   11                MR. LOMUSCIO:      Not B or D.    B and D remain in the

   12    case but are not the subject of this particular motion.

   13                THE COURT:    Okay.    All right.     Because I would like

   14    defense counsel to address this issue first.              Make sure we

   15    have the right parties.

   16                MR. YAO:    Yes.

   17                THE COURT:    We're not going to do this twice.           We

   18    have the right parties, the right products and that proper

   19    notice is given to the parties that are being sought to be

   20    enjoined.

   21                MR. YAO:    Yes, Your Honor.

   22                THE COURT:    Anything else?

   23                MR. LOMUSCIO:      Nothing else, Your Honor.        Thank you

   24    very much.

   25                THE COURT:    All right.     I'll hear from defense
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                                                                                    14

     1   counsel.

     2              Are you going to use the -- you can -- oh, I see.

     3   You have a PowerPoint.

     4              MR. YAO:     We have a PowerPoint as well.          Can you see

     5   that, Your Honor?

     6              THE COURT:     I have.     Have you given this to defense

     7   counsel?

     8              MR. LOMUSCIO:      I have not received it, no.

     9              THE COURT:     Well, you will see it at the same time I

   10    do then.

   11               MR. LOMUSCIO:      Okay.

   12               THE COURT:     All right.

   13               Please introduce yourself again.

   14               MR. YAO:     Good morning, Your Honor.         This is attorney

   15    Yu-Hao Yao appearing on behalf of defendant Gyroor-US.

   16               THE COURT:     Okay.

   17               MR. YAO:     Third-party respondents Gyroor, Urbanmax,

   18    Fengchi-US, HGSM, Gaodeshang-US, and Gyroshoes.

   19               THE COURT:     Okay.    So with that, I believe every

   20    entity plaintiff mentioned you are representing?

   21               MR. YAO:     Yes, we represent defendant Gyroor-US as

   22    well as third-party respondents the other Gyroor, Fengchi-US,

   23    Urbanmax, HGSM, Gaodeshang-US, and Gyroshoes.

   24               THE COURT:     All right.     So I count the same

   25    defendants they've said are the subject of their potential
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                                                                                    15

     1   preliminary injunction.        You agree?

     2              MR. YAO:     Yes, Your Honor.

     3              THE COURT:     Okay.

     4              MR. YAO:     The number of defendants and third-party

     5   respondents are the same, yes.

     6              THE COURT:     And the names.

     7              MR. YAO:     Yes, and the name is also the same as well,

     8   yes.

     9              THE COURT:     All right.     And you represent them?

   10               MR. YAO:     Yes, I do.     Yes.

   11               THE COURT:     And you've had notice of the preliminary

   12    injunction?

   13               MR. YAO:     Yes, Your Honor.

   14               THE COURT:     And you've responded in writing to that

   15    preliminary injunction?

   16               MR. YAO:     Yes, Your Honor.

   17               THE COURT:     And you're prepared to respond to their

   18    motion today?

   19               MR. YAO:     Yes, Your Honor.

   20               THE COURT:     Okay.    And then as to the products,

   21    Gyroor, we'll call it Gyroor A, C, and E.

   22               MR. YAO:     Yes, Your Honor.

   23               THE COURT:     Do you agree those are the products that

   24    the plaintiffs are seeking to enjoin?

   25               MR. YAO:     Yes, Your Honor.      And I would also like to
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                                    opening - defendant
                                                                                    16

     1   point out that Group B, or Gyroor B and Gyroor D are not

     2   subject to this preliminary injunction.

     3              THE COURT:     Correct.     And that's what plaintiff has

     4   acknowledged.

     5              MR. YAO:     Yes.

     6              THE COURT:     Okay.    Perfect.     I think we're on the

     7   same page.

     8              Proceed.

     9              MR. YAO:     All right.     Thank you, Your Honor.

   10                 OPENING STATEMENT OF BEHALF OF DEFENDANTS

   11               MR. YAO:     So let's -- today we are here because

   12    plaintiffs have decided once again to file their frivolous and

   13    baseless motion for preliminary injunction and temporary

   14    restraining order against defendant and third-party

   15    respondents.      And so before we start, I would like to just

   16    look a little bit at the factual background of this case.

   17               So who are the defendants in this case?             As I

   18    mentioned earlier, I represent defendant Gyroor-US who is the

   19    only sole defendant in this case which we also have indicated

   20    in our brief.      We have third-party respondents who are now

   21    subject to this PI motion.         We have Gyroor, Urbanmax,

   22    Fengchi-US, HGSM, Gaodeshang-US, and Gyroshoes.              And as we

   23    just confirmed, the accused products, we have Group A product

   24    as the only accused product in this case, but nonaccused

   25    product which plaintiffs have blindly all lumped together are
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                                    opening - defendant
                                                                                     17

     1   Group C and Group E products, and as we also mentioned earlier

     2   that plaintiffs dropped Group B and Group D products in this

     3   proceeding, or they indicated that they are not subject to

     4   this motion for a preliminary injunction.

     5              THE COURT:     Well, you mentioned -- there's nothing in

     6   the Fed Circuit decision that rejected the third-party

     7   respondents as not being properly before the Court.               Whether

     8   we technically call them defendants or third-party respondents

     9   there's nothing in the Fed Circuit decision that means -- that

   10    says they can't be bound by any injunction I grant.               Do you

   11    agree?

   12               MR. YAO:     Well, Your Honor, I disagree with you.             If

   13    we take a look at -- look at the case here we have, so we also

   14    filed a motion for clarification which this Court denied as

   15    moot after the issuance of the Federal Circuit order.                And

   16    based on what we've read -- based on our understanding of the

   17    Federal Circuit court -- I'm sorry -- Federal Circuit order,

   18    the only defendant we have left in this case is Gyroor-US

   19    which I can go into details why we believe defendant --

   20    Gyroor-US is the only defendant in this case.              And in

   21    addition, Gyroor -- I'm sorry -- Gaodeshang-US never sold

   22    any -- never sold any accused products.

   23               So if the Court would want to clarify maybe on the

   24    spot as to why our -- since we never had a chance to deal with

   25    our motion for clarification, if the Court would like to
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                                    opening - defendant
                                                                                         18

     1   clarify or give us clarification as to --

     2              THE COURT:     I don't think it's going to change the

     3   scope of what we do today or next week.            I think I'll

     4   reexamine your motion to clarify.           I'll look again at the --

     5   how they got into the case as third-party respondents, but I

     6   don't think it's going to change in any material way what each

     7   of the parties present as evidence.

     8              MR. YAO:     Okay then.

     9              THE COURT:     I'm not conceding that an injunction in

   10    this case is not going to bind those other parties.               And if

   11    it's a party that hasn't sold the product, so be it, but that

   12    doesn't mean if the injunction is granted that they somehow

   13    can sell it.

   14               So go ahead.

   15               MR. YAO:     All right, Your Honor.        I would like to

   16    give you a little bit as to -- background as to why we are

   17    third-party respondents and there's only one defendant in this

   18    case.    We also provide it in our brief, but I'll give you a

   19    little bit more overview as to our view of why there are

   20    third-party respondents and only Gyroor-US in this case.                   So

   21    let me go ahead and skip through the slides real quick.

   22               THE COURT:     You know, and I don't want to interrupt

   23    what you have, but the fact is the question of whether these

   24    third-party respondents are bound by an injunction or

   25    whether -- it's not going to affect the scope of the -- I
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     1   don't believe at least of the plaintiffs' witnesses as I read

     2   the reports.      They don't really deal with that, unless I

     3   misread them.

     4              MR. LOMUSCIO:      No, Your Honor.

     5              THE COURT:     And I'd rather, for the sake of

     6   witnesses, get them into court on the stand, direct, cross,

     7   and get that over with because none of my questions of them,

     8   to the extent the questions aren't asked by the lawyers, are

     9   going to impact the question of the third-party respondent

   10    versus defendants.       I'll give you a chance to argue it, and

   11    maybe we end up briefing it further, but I don't think that is

   12    going to be a key factor for today.           I would rather get to

   13    witnesses.

   14               Now, what I would like you to address is some of the

   15    questions I had for plaintiff which is the -- you know, the

   16    '906 patent and how that ought to be read in conjunction with

   17    an ordinary observer's view of the accused products.

   18               MR. YAO:     Your Honor, when we get to that, I'll

   19    address the questions you asked to plaintiff about the '906

   20    patent and --

   21               THE COURT:     All right.

   22               MR. YAO:     -- their patent said.

   23               Before we also move on, just to see if you could

   24    clarify, as I had mentioned, whether Gaodeshang-US never sold

   25    the accused products in this case and plaintiffs failed to
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     1   provide any evidence as so, and that's -- wondering if the

     2   Court would clarify for both parties at this moment as to why,

     3   you know, Gaodeshang is still considered a defendant even

     4   though it isn't.

     5              THE COURT:     I'm not clarifying anything on the spot.

     6              MR. YAO:     Oh.

     7              THE COURT:     If anything I learned from the procedural

     8   history of this case is I need to be careful how I make

     9   findings, the absolutely correct instruction from the

   10    Fed Circuit on that.        And so there will be no decision on the

   11    spot about the third-party respondents because it doesn't

   12    impact our -- the gist of the witness testimony today which is

   13    what I want to get to.

   14               So please address --

   15               MR. YAO:     Okay.

   16               THE COURT:     -- the issue that I raised with

   17    plaintiff.     I interrupted him to address that.           I'm

   18    interrupting you to address that.

   19               MR. YAO:     All right.     So, Your Honor, let's go

   20    through -- let me go back to the slide again real quick.

   21               So today we -- the patents -- patent-in-suit for this

   22    preliminary injunction are as we see here plaintiffs' '723

   23    patent and the '256 patent.         Those are the only two

   24    patents-in-suit for this preliminary injunction.               The

   25    plaintiffs have voluntarily dropped the other two patents
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     1   which were included in the previous motion for preliminary

     2   injunction which they did not include in this case.

     3              THE COURT:     Plaintiffs agree with that?

     4              MR. LOMUSCIO:      We did not drop them from the case,

     5   Your Honor, no.      We dropped them --

     6              THE COURT:     You dropped them from the preliminary

     7   injunction motion.

     8              MR. LOMUSCIO:      From the injunction motion, yes, Your

     9   Honor.

   10               THE COURT:     Okay.    Understood.

   11               Go ahead.

   12               MR. YAO:     Okay.    And as we see here, we also have the

   13    prior art, the '906 patent, which plaintiffs' patent claimed

   14    designer art based on.        So if we could -- let's go ahead and

   15    take a view of this model we did.

   16               So, Your Honor, could you see the screen?

   17               THE COURT:     Yes, I can.

   18               MR. YAO:     All right.     So, Your Honor, if you just

   19    look at this from the top view, you could see the -- if you

   20    could see the fenders on the -- on both the left and the

   21    right.    You could both see the fenders of the '256 patent as

   22    well as the '723 patent are very similar if not the same

   23    design as the '906 prior art.          And if we just look at the

   24    overall impression of the hoverboards, you could clearly see

   25    the '256 patent and the '723 patent are substantially similar
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                                    opening - defendant
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     1   if not even the same based on the prior art.              And if we look

     2   at the --

     3               THE COURT:    Let me interrupt you real quick.           The

     4   '906 prior art, I thought the fenders were drawn with dotted

     5   lines which means they are not claimed.            Am I misunderstanding

     6   the '906 patent?       I thought the key part of the '906 patent

     7   that was patentable and therefore is something we should

     8   consider as prior art was the hourglass shape, not the

     9   fenders.

   10                MR. YAO:    All right.     Yes, Your Honor.      You are

   11    correct about that.       I will also point out the overall

   12    impression which we will get into later.

   13                THE COURT:    Sure.    Okay.

   14                MR. YAO:    But if you look at the hour -- I'm sorry --

   15    hourglass shape, it is very substantially similar, if not --

   16    but the plaintiffs' '256 patent and '723 patent are very

   17    substantially similar if not the same as the '906 prior art.

   18                Okay.   Paul, if you want to -- I'm sorry -- Peter, if

   19    you want to kind of move it around.

   20                Your Honor, so if we take a view from this

   21    perspective, you could also see the hourglass shape is also

   22    very similar between the '256 patent and '723 patent and the

   23    prior art.

   24                And I'll address the fender issue.          The fender was

   25    merely disclosed in the '906 patent.            But if we just, based on
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     1   the overall impression and as an ordinary observer which we'll

     2   get into later, as an ordinary observer, they would see that

     3   the fenders and just the overall shape, as well as the

     4   hourglass shape of the '256 patent and the '723 patent are

     5   very substantially similar to the '906 prior art which the

     6   patents-in-suit, that's what they're based on.

     7              THE COURT:     Slow down a little bit too, okay?

     8              MR. YAO:     Oh, sorry.

     9              THE COURT:     Thank you.

   10               So those are lights in the front; is that correct?

   11               MR. YAO:     Yes, Your Honor.      Those are lights on the

   12    plaintiffs' hoverboards.

   13               THE COURT:     Well, those the two patents.

   14               MR. YAO:     The two patents, but they also have the

   15    actual light on their hoverboards, but this is just a 3D

   16    drawing.

   17               THE COURT:     Right.

   18               MR. YAO:     Yes.   So if we look from the bottom view,

   19    you could also see the hourglass shape is -- excuse me.

   20    Peter, for the '906 patent, could you -- yeah, there we go.

   21               So if we look from the bottom perspective, you could

   22    also clearly see the substantial similarities here between the

   23    '256 patent and the '723 patent as well, as the prior art we

   24    could see the shape is very substantially similar which it is

   25    clear you can clearly see that, the '256 patent and the '723
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     1   patent is based on the prior art, '906 prior art.

     2               THE COURT:    Was '906 disclosed in the '256 and '723

     3   patents?

     4               MR. YAO:    Yes, Your Honor.

     5               THE COURT:    So this was patented over the prior art?

     6               MR. YAO:    Yes, Your Honor.

     7               THE COURT:    Okay.    Good.    Go ahead.

     8               MR. YAO:    Yes, Your Honor.

     9               Peter, if we could go back to the original.

   10                Your Honor, this is our -- this is our patent, the

   11    '857 patent, and this is what our accused products, the

   12    design, is based on.        If you just take a look -- if we take a

   13    look at this, I believe just based on this top view and bottom

   14    view you could see the hourglass shape differences, very

   15    substantially -- it's substantially different from the

   16    patents-in-suit, the '256 patent as well as the '723 patent.

   17    And --

   18                THE COURT:    So your products, whether it's the three

   19    products that defendants are seeking to enjoin, each one of

   20    them practices this '856 patent?           Because is the '857 patent

   21    really relevant?       It's really your product versus their

   22    patent.    Isn't that the comparison?

   23                MR. YAO:    Yes, Your Honor.      I think it is very

   24    relevant because this is what we -- the accused products are

   25    based on.     Just based on the design, we base our products on
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                                    opening - defendant
                                                                                      25

     1   our own design.      We deny our design does not infringe the

     2   patents-in-suit which the plaintiffs claim in this case.                   And

     3   if we go to the next slide, we have --

     4              THE COURT:     Was your patent -- it looks like it was

     5   granted after the two plaintiff patents.             Were their patents

     6   listed as prior art in your patent application?

     7              MR. YAO:     I believe so, yes.

     8              THE COURT:     And the '906 was also listed as prior

     9   art.

   10               MR. YAO:     Yes.

   11               THE COURT:     Okay.    Go ahead.

   12               MR. YAO:     Okay.    Peter, if we could take a look at

   13    this.

   14               So as we see here, we have the '906 patent with a

   15    '256 -- the patents-in-suit, '256.           If you just take a look at

   16    it, if we want to play real quick, if you just see, they're

   17    almost exactly the same similarly to what plaintiffs base

   18    their design on as the prior art.           If you want, I could replay

   19    it for you, Your Honor.

   20               THE COURT:     No.    Well, what is Figure 1?        Is that

   21    from --

   22               MR. YAO:     Figure 1 is the -- this is the -- so

   23    Figure 1 is the '906 patent, the prior art -- I'm sorry.                   I'm

   24    sorry.    This is the '256, and the one on the top is the '906

   25    patent.
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                                    opening - defendant
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     1              THE COURT:     Well, the one on the top is '906.

     2              MR. YAO:     Yes.

     3              THE COURT:     But the one on the bottom is --

     4              MR. YAO:     The Figure 1 is '256.

     5              THE COURT:     '256.

     6              MR. YAO:     Yes.

     7              THE COURT:     Okay.

     8              MR. YAO:     So if you just look -- look at the

     9   substantial similarity between the two, if we kind of combine

   10    the two -- Peter, if you want to play again -- you could see

   11    how almost exactly the same way the '256 patent is based on

   12    the prior art.      It's so similar it almost fits perfectly into

   13    the design of the '906 prior art.

   14               THE COURT:     Well, one of the key differences is that

   15    '906 does not cover the fenders, the ends, and the '256 which

   16    covers it -- and it also doesn't cover any design for the

   17    pads.    But the '256 has part of its design, the fenders --

   18               MR. YAO:     If you look at the hourglass shape, that is

   19    almost exactly the same.

   20               THE COURT:     No, I understand.       I understand your

   21    point.    I'm just saying what's the difference in what is

   22    patented in '256 that is different from the '906 is the ends,

   23    the pads and possibly some other features.

   24               MR. YAO:     Yes, Your Honor.

   25               If we could then -- so before we move on, I would
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                                    opening - defendant
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     1   like to make a correction.         The '906 patent was filed earlier,

     2   but it was not referenced in the two patents-in-suit.

     3   However, '906 is still a prior art to the patents.

     4              THE COURT:     All right.     So '906 was not referenced in

     5   '723 and '256?

     6              MR. YAO:     Yes.   But it is still prior art to the two

     7   patents.

     8              THE COURT:     Yeah.    Referencing it doesn't change --

     9   you know, it's prior art if it came out before.              Whether it's

   10    relevant prior art is an issue for me or a jury if we got to

   11    it, but I understand.        But it's not in the -- those two

   12    patents.     Was it in your patent, any or all three of those?

   13               MR. YAO:     Yes, Your Honor.      Yes.

   14               THE COURT:     '723, '256, and '906 --

   15               MR. YAO:     Yes.

   16               THE COURT:     -- were all in the '857 patent?

   17               MR. YAO:     Yes, Your Honor.

   18               THE COURT:     Okay.    Very good.

   19               MR. YAO:     So, Your Honor, what we have here is,

   20    again, on the top right here which I just point the second

   21    black dot is, again, the '906 patent, and on the bottom right

   22    here is the '723 patent.         So if we -- as we did, we'll show

   23    you the similarity which is almost exactly the same.                You

   24    could see the hourglass shape of the '723 patent and the '906

   25    prior art patent, it's very substantially similar if not the
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                                    opening - defendant
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     1   same as well which clearly plaintiffs base their '723 patent's

     2   design on the '906 prior art which was -- which is still a

     3   prior art to the two patents.

     4              And here we also have -- this is the '906 patent.

     5   This is the design.       And if we have -- if we want to take a

     6   look, if we -- as we can see just basically before we put

     7   them -- if we put them together, you can also see how the

     8   fenders are almost exactly -- are very similar if not the

     9   same.    They are kind of enclosed.         And if we took it -- just

   10    look at the two little lines as well as the front view, it's

   11    almost exactly the same as well as just given overall shape as

   12    well.    It clearly can be seen that the '723 patent -- I'm

   13    sorry -- the '256 patent is based on the '906 prior art.

   14               THE COURT:     Well, lower it again where you started.

   15               MR. YAO:     Oh.

   16               THE COURT:     As I understand the design patent law,

   17    and tell me if I'm incorrect on this, the dotted lines on both

   18    ends just don't count.        They're not being claimed in '906.           So

   19    the similarity, I think I raised this point earlier, the

   20    similarity may be in the hourglass shape, but the difference

   21    is the fenders.

   22               MR. YAO:     Well, Your Honor --

   23               THE COURT:     Then we have to compare what is claimed

   24    in the '723 and '256 patents as the fenders and other features

   25    with the accused products.         I don't think '906 really deals
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     1   with prior art as to the ends of these hoverboards, not when

     2   they have dotted lines out there.           If I'm wrong on that,

     3   correct me; I'm happy to hear it.           But --

     4              MR. YAO:     Well, Your Honor, as I mentioned earlier,

     5   the '906 was filed earlier, and it's -- even though it was not

     6   referenced in the '256 and '723 patent, it is still a prior

     7   art to the two patents which plaintiffs most likely if not

     8   they have contemplated at least look at this prior art of --

     9   '906 prior art before.

   10               THE COURT:     I think we're misunderstanding each

   11    other.    '906 doesn't have to be disclosed in the '723 or '256

   12    to be considered as prior art.          All I'm saying is '906 doesn't

   13    claim the ends of this hoverboard which means that the real

   14    focus of today's inquiry ought to be, if there is --

   15    plaintiffs think the hourglass shape is something that is

   16    different than '906, I think the Fed Circuit said otherwise.

   17    But I'm happy to hear argument on that, but I think the key

   18    area is --

   19               MR. CHENG:     Your Honor, if I --

   20               THE COURT:     Well, let me just finish my thought.

   21               I think the key area is what -- what's different.

   22    And what's different from '906 in both their patents and then

   23    in your products are the coverings on the -- of the wheels,

   24    possibly some other features in the body of the hoverboard,

   25    but that's my belief as to what the key inquiry is.               If that's
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     1   wrong, I'm happy to hear argument.           If your colleague wants to

     2   say something -- I'd rather we not double team.              Why don't you

     3   talk to your colleague and see what he wants to say and then

     4   you can come back.

     5              MR. YAO:     All right.     I'll be right back, Your Honor.

     6              THE COURT:     Sure.

     7      (Off the record.)

     8              MR. YAO:     Well, Your Honor, going back to the fenders

     9   point.    As you mentioned earlier about the dotted lines on the

   10    wheels and the fenders, they're not claiming design.                Even

   11    though the fenders were not claimed in the '906 patent, it is

   12    still considered prior art.         It was disclosed and which -- as

   13    I indicated, the plaintiffs, when they filed this, their

   14    application for the '723 patent, the '256 patent, they had

   15    probably, you know, considered this design -- well, at least

   16    they looked at it and it was referenced in the '906 prior art

   17    and this is what they based it on.           But, Your Honor, you have

   18    a different reading of what we read from.             Each if you just

   19    take a look at the hourglass shape, that is very similar, if

   20    not the same.      The '256 patent is based on the '906 prior art.

   21               THE COURT:     I understand your argument, and I think

   22    the Fed Circuit addressed that too.           Go ahead.

   23               MR. YAO:     Again, if we take a look at the '723 patent

   24    as well as the '906 prior art, again, you know, the hourglass

   25    shape is very similar if not the same compared to the '906
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     1   prior art which we could see the hourglass shape.               So it is

     2   clearly -- it could be clearly seen that plaintiffs, when they

     3   filed their patent, the '723 patent as well as the 9 -- the

     4   '256 patent, they have definitely looked at this '906 patent.

     5   They contemplated about it.         And when they filed their

     6   application, it can be seen that this -- they base their

     7   patents and patenting design on the '906 prior art.

     8              So, again, this is the accused products, Group A

     9   products, Your Honor.        This is -- we also have -- we also

   10    brought in an actual hoverboard if we may present it to you,

   11    Your Honor, an actual hoverboard.

   12               THE COURT:     I have one.      I'm not sure.     I think it's

   13    A, down in chambers.        Somebody gave it to us early on in this

   14    case.    But I'm happy to --

   15               MR. YAO:     May I approach with the hoverboard,

   16    Your Honor?

   17               THE COURT:     The whole thing?       Sure.

   18               Just put it up here.        You could put it up on the

   19    bench.

   20               And this is product A?

   21               MR. YAO:     Yes, Your Honor.

   22               THE COURT:     Okay.

   23               MR. YAO:     This is Gyroor -- yes, that is group

   24    product A.     Yes.

   25               Your Honor, if we take a look at it which you have in
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                                    opening - defendant
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     1   front of your screen as well as next to you the actual accused

     2   products in this case.        And just -- if we just take a look

     3   from -- as an ordinary observer in this case or just overall

     4   impression, we could take a look at it, we could see how the

     5   hourglass shape are very substantially different from

     6   either -- from the top view, the front view, the bottom view,

     7   as well as the back view.         And it's just so substantially

     8   similar that plaintiffs cannot claim infringement if we -- of

     9   the '723 and '256 patent of accused product A.

   10               And here we have accused product C which we are -- if

   11    I could also approach you with it.

   12               THE COURT:     And is the color difference --

   13               MR. YAO:     (Unintelligible.)

   14               THE COURT REPORTER:        I'm sorry.     I couldn't hear

   15    anything you said.

   16               THE COURT:     Yeah, go back to the mic.

   17               My question was there's the PowerPoint for what is

   18    product C, it has a pink color.          The one you -- that the

   19    demonstrative you gave me, or the example you gave me is black

   20    color.    But I take it the colors are irrelevant to any

   21    considerations we have?

   22               MR. YAO:     You are correct, Your Honor.         The color

   23    does not have any difference.          The only thing is we don't have

   24    any pink in stock so we brought a black one; but other than

   25    that, there are no relevance.
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                                    opening - defendant
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     1              THE COURT:     Fair enough.

     2              MR. LOMUSCIO:      Your Honor, we do have a pink one if

     3   the time comes.

     4              THE COURT:     If it's the same product, the color is

     5   not anything that's the subject of controversy in this case.

     6              MR. YAO:     Your Honor, if you want I could show

     7   plaintiffs an actual product which we brought today if they

     8   think that the color difference might make a difference.

     9              THE COURT:     Is anyone contending the color difference

   10    is part of any claim that is a basis for infringement?

   11               MR. LOMUSCIO:      No, Your Honor.      I was just simply

   12    noting that if you did want to see a pink one, we have one.

   13               THE COURT:     I don't.

   14               All right.

   15               MR. YAO:     As you can see on the screen, Your Honor,

   16    we have the accused product C which is called Gyroor T580

   17    which you also have next to you, you can see -- as you can

   18    also clearly see that from the top, front, bottom, back view,

   19    the hourglass shape is very substantially -- I'm sorry -- is

   20    very substantially different compared to the patents-in-suit.

   21    Even with the back we have the little microphones as well as

   22    the ventilation holes.        It's so substantially different which

   23    as an ordinary observer it is -- they could clearly see that

   24    our accused product, Group C, does not infringe the '723 and

   25    the '256 patent.
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     1              THE COURT:     Well, your point is -- as I understand it

     2   is that if we essentially look at these products, take away

     3   from them or disregard the hourglass shape because it's prior

     4   art, '906 prior art, the differences I ought to be looking

     5   at -- I may have asked this question four or five different

     6   ways but I'm asking it again.          The differences I ought to be

     7   looking at is how is your product different than the '723 and

     8   '256 patents if I disregard the hourglass shape?

     9              MR. YAO:     Yep.   Well, it's also clear you can see the

   10    fenders are much different.

   11               THE COURT:     Well, that's my point.        Yeah.

   12               MR. YAO:     You see --

   13               THE COURT:     I mean, that's what I ought to be looking

   14    at.   Now, plaintiffs may disagree, and I'm going to hear from

   15    Mr. Hatch.     But I'm trying to get a handle on what the key

   16    contested issues are.

   17               MR. YAO:     You will also hear from one of our experts,

   18    Mr. Gandy, later about how the accused products' design

   19    infringe any of the two patents-in-suit.

   20               We have the third nonaccused products is the Gyroor

   21    G11, or as we call it, the Group E products which we also

   22    have -- which we brought one today which if I may approach?

   23               THE COURT:     Yes.    What was the number on the first

   24    one, the A product, by the way?

   25               MR. YAO:     It's T581.
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                                    opening - defendant
                                                                                    35

     1               THE COURT:    581?

     2               MR. YAO:    Yes.

     3               THE COURT:    Okay.    All right.

     4               MR. YAO:    And this one, the G11, is the Group E

     5   products.

     6               THE COURT:    All right.     Thank you.

     7               Okay.

     8               MR. YAO:    Your Honor, as you can see in front of you,

     9   next to you, we have the Group E accused products, the Gyroor

   10    G11.    Again, from the top, front, bottom and back view, we

   11    could clearly see that the hourglass shape are substantially

   12    different.     Again, also we don't have the ribs toward here in

   13    the which I'll circle here.         You can see the ribs different

   14    when you compare it with the plaintiff's patents-in-suit, the

   15    '256 patent as well as the '723 patent.            And if you look at

   16    this design of the hourglass shape, we also have different

   17    line designs which we'll go into later which is very

   18    substantially different from the patents-in-suit as well.

   19                THE COURT:    Okay.

   20                MR. YAO:    So to give you a little bit of overview of

   21    procedural history as to why we are here today again and why

   22    there are third-party respondents and only defendant

   23    Gyroor-US.

   24                THE COURT:    Let's deal with that later.

   25                MR. YAO:    Oh.
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     1               THE COURT:    I'm happy to see your PowerPoints on that

     2   one, but I think we need to start hearing from witnesses.                  I

     3   don't want to have a closing argument before we start hearing

     4   evidence.

     5               MR. YAO:    There's one thing that I would like to

     6   point out.     There's a factual mistake in the plaintiffs'

     7   motion on page 12 of their -- it's Docket 592.              Plaintiffs

     8   said that none of the relevant prior art creates the same

     9   visual impression of the patents, namely the integrated

   10    hourglass body with a relatively flat surface across the top

   11    of the main body.       This is actually -- both features were

   12    disclosed in the '906 patent.

   13                THE COURT:    Okay.

   14                MR. YAO:    And, Your Honor, I'll close my opening

   15    statement with this.        As we all know, we are here today for a

   16    preliminary injunction hearing.          The burden of proof is on

   17    plaintiffs, or the movant, to prove that they will be -- they

   18    have a likelihood of success on the merits as well as they

   19    will be irreparably -- I'm sorry -- irreparably harmed if the

   20    injunction would not be in place.           As plaintiffs have pointed

   21    out, their expert, Mr. Bero who will testify later, his report

   22    is deficient, contains no analysis whatsoever of any casual

   23    nexus that is required or any lost sales that plaintiffs

   24    contend.     And even if plaintiffs did claim.          A lost sales

   25    injunction does not remedy lost sales.            It's clearly
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     1   compensatable with monetary damages.

     2              In addition, the irreparable harm to defendant would

     3   be much greater if the injunction would be in place compared

     4   to the plaintiff.

     5              In addition, plaintiffs also in their reply brief

     6   does not address any of the oppositions -- opposition in

     7   response that we put in our brief regarding the loss of

     8   harms -- the loss of sales as well as any -- loss of market

     9   share which is required to prove this patent -- to prove --

   10    for injunction.

   11               In addition, having an injunction in place just

   12    because defendants and third-party respondents are direct

   13    competitors goes against public policy and goes against the

   14    heart of free market and capitalism and as you will hear later

   15    today with our expert, Mr. Gandy, as to why there are no -- no

   16    claims of likely -- no claims of infringement in this case.

   17               THE COURT:     All right.     Thank you.

   18               MR. YAO:     Thank you.

   19               THE COURT:     All right.     Plaintiffs may call their

   20    first witness.

   21               MR. BERKOWITZ:      Plaintiffs would like to call

   22    Mr. Paul Hatch.

   23               THE COURT:     All right.

   24               Mr. Hatch.

   25       (Witness sworn.)
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     1                  THE COURT:   You may begin.

     2                  PAUL HATCH, PLAINTIFFS' WITNESS, DULY SWORN,

     3                                DIRECT EXAMINATION

     4   BY MR. BERKOWITZ:

     5   Q.     Good morning, Mr. Hatch.

     6   A.     Good morning.

     7   Q.     Could you state your full name for the record.

     8   A.     Yes.    I am Paul Hatch.    I reside here in Chicago.

     9   Q.     Okay.

   10                   THE COURT:   Is the microphone on?      Is there a green

   11    light there on the bottom?

   12                   THE CLERK:   It's on now.

   13                   THE COURT:   It's on now.    Okay.    All right.

   14                   Okay.   Go ahead.

   15    BY MR. BERKOWITZ:

   16    Q.     Could you tell us what has been your role in this case up

   17    through now?

   18    A.     Yes.    I've been engaged by plaintiffs to review the

   19    patents and to analyze this case of design patent

   20    infringement.

   21    Q.     And what is your understanding as to who the plaintiffs

   22    are?

   23    A.     The plaintiffs are Hangzhou Chic and Unicorn Global.

   24    Q.     Okay.    And do you understand the relationship between

   25    those two parties?
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     1   A.   Yes.    I believe Hangzhou Chic is the manufacturer and the

     2   owner of the patents in question, and Unicorn Global is a

     3   licensee and has the license to distribute the product here in

     4   the U.S.

     5   Q.   And when did you first start working on this case?

     6   A.   I started in 2020.

     7   Q.   And since that time, have you provided any other testimony

     8   in this case?

     9   A.   Yes, I have.      I provided testimony for the first

   10    preliminary injunction in 2020.          I also wrote a declaration in

   11    2021 for the second preliminary injunction.             I also provided

   12    testimony and reports during discovery which was summer this

   13    year and of course have provided a declaration in this current

   14    preliminary injunction.

   15    Q.   Okay.    Thank you.

   16                 Could you tell us about your current employment?

   17    A.   Yes.    I am currently undertaking a Ph.D. in the learning

   18    sciences at the University of Illinois at Chicago.

   19    Q.   Okay.    So are you not currently employed?

   20    A.   I'm not.     I recently retired from my employment.

   21    Q.   Okay.    So before we go to the employment, could you tell

   22    us a little bit about your current Ph.D. work?

   23    A.   Yes.    So learning sciences involves looking at psychology,

   24    technology, and education.         It's essentially about how people

   25    perceive things and how people learn.            And it's been an area
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     1   of interest of mine for many years, so I decided to go the

     2   full route with this for the next six years.

     3   Q.   Okay.    And when did you start that program?

     4   A.   I started in 2020.

     5   Q.   Okay.    And prior to 2020, were you employed?

     6   A.   Yes.    I was the CEO of Teams Design.

     7   Q.   Okay.    Can you take us back to your education post high

     8   school?

     9   A.   Yes.    My undergraduate degree was in industrial design

   10    which was at the University of Northumbria in the UK.

   11    Q.   And what kind of coursework did you engage in while you

   12    were doing your undergrad?

   13    A.   Within industrial design, we learned a range of things,

   14    obviously drawing techniques, understanding about manufacture,

   15    engineering, a lot about how to design and how people perceive

   16    those designs.      And ergonomics, for instance, is a very big

   17    part of it.

   18    Q.   Okay.    And when did you complete your undergraduate

   19    training?

   20    A.   That was 1993.

   21    Q.   Okay.    And after 1993, did you begin working?

   22    A.   Yes.    I began at -- I moved from Germany from the UK, and

   23    I began employment at Teams Design in Germany.

   24    Q.   What was your role at Teams Design, at least initially?

   25    A.   So I started as a junior designer and became senior
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     1   designer after a number of years.           And at the point of about

     2   five years, the company wanted to open up a branch in the U.S.

     3   and selected me to open it up for them which I did in 1998

     4   here in Chicago.

     5   Q.   Okay.    And before we get into your specific role, can you

     6   tell us a little bit about what Teams Design does in general?

     7   A.   Yes.    So Teams Design is an industrial design consultant.

     8   So by that role, they consult with manufacturing companies

     9   that make consumer products, make industrial products, who

   10    have brands, and essentially provide industrial design

   11    services.     So that covers undertaking research to understand

   12    consumer needs, ideation, creating new ideas, problem solving,

   13    and then designing the products, that is the look and feel of

   14    the products, to -- all the way from sketch, through

   15    computer-aided design, through into engineering, and very

   16    often we would follow it through manufacture.              We wouldn't do

   17    the actual manufacture ourselves, but we would walk the shop

   18    floor to make sure things are working out.

   19    Q.   Okay.    Could you give us some examples of some of the

   20    companies that Teams Design works with?

   21    A.   Yes.    So we became one of the largest design

   22    consultancies, industrial design consultancies in the world,

   23    so we were lucky to be able to work with some of the largest

   24    corporations as well.        So we designed a lot with Bosch and

   25    with Samsung; with Chrysler, the automobile company, for
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                              Hatch - direct by Berkowitz
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     1   instance; with Siemens.

     2   Q.   And did you yourself work with those particular companies?

     3   A.   Yes.    Yes.

     4   Q.   And could you tell us a little bit more about your role I

     5   guess in working with those companies?

     6   A.   So I was engaged from start to finish on all of the work

     7   we did.     Obviously I had a number of staff.          We reached almost

     8   30 people at one point, in Chicago that is, and of course had

     9   multiple branches.       However, I was involved right to the end

   10    until I retired in going out into user research and to

   11    people's homes, understanding their needs, in guiding the

   12    design and guiding the ideas and the development, essentially

   13    all the stages.

   14                THE COURT:    Hang on.     Let's go off the record for a

   15    moment.

   16       (Off the record.)

   17                THE COURT:    All right.     Are we still missing some

   18    people?

   19                MR. YAO:    We're missing my colleagues.

   20                THE COURT:    We'll wait until they're back.

   21       (Off the record.)

   22                THE COURT:    All right.     Okay to begin?

   23                MR. YAO:    Yes.

   24                THE COURT:    Here we go.      It looks like we have

   25    everyone here.
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     1               All right.    You may continue your direct examination.

     2               MR. BERKOWITZ:     Thank you.

     3   BY MR. BERKOWITZ:

     4   Q.   So when we left off, Mr. Hatch, you had told us a little

     5   bit about your -- some of the types of work that you had done

     6   while at Teams Design.

     7               Could you tell us a little bit more about the

     8   specific products that you worked on while at Teams Design,

     9   and in the interest of time, some of the -- as they relate to

   10    the types of products at issue here in this case.

   11    A.   Yes, of course.      And I did work on a number of consumer

   12    products.     That was about 50 percent of our business.             And

   13    related to the products in this case, I also worked on a

   14    number of self-balancing vehicles, that is one of our clients,

   15    for instance, had an entire department that was dedicated

   16    towards devices of mobility as they called it.              And so we

   17    worked on redesigning some segway devices.             And segways, for

   18    those who might not know, came out --

   19                THE COURT:    I know what they are.

   20                THE WITNESS:     Yes, thank you.

   21                And essentially we were redesigning it for use in

   22    certain spots in other areas.          So we were creating a different

   23    look and feel and making it more applicable to the target

   24    area.

   25                And we also worked on some electronic bikes, for
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     1   instance, even some single-wheeled self-balancing devices as

     2   well.

     3   BY MR. BERKOWITZ:

     4   Q.   Okay.    Thank you.

     5                So let's jump in.     I know you said earlier that you

     6   were retained in this case to provide opinions.              Could you

     7   tell us what types of opinions that you've been asked to

     8   provide here?

     9   A.   Yes.    I was asked to analyze the patents and the accused

   10    products, and so looking to -- at the area of infringement.

   11    Q.   Okay.    And what is your understanding of a patent?

   12    A.   So there are two main types of patent, utility and design

   13    patent of course.       And as I understand, it offers protection

   14    for the inventor, that is it precludes someone from infringing

   15    on their invention.

   16    Q.   And what types of patents are at issue in this case?

   17    A.   So in this case, we have four design patents that we're

   18    looking at.

   19    Q.   Okay.    And today, how many patents are we here to talk

   20    about?

   21    A.   So in the preliminary injunction here today, we're looking

   22    at just two of those four patents.

   23    Q.   Okay.    And which two of those patents are we here to talk

   24    about?

   25    A.   It's -- I do have some slides, but the patents themselves
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     1   are the -- what we've called the '723 and the '256.

     2   Q.   Okay.

     3                MR. BERKOWITZ:    We do have some slides that Mr. Hatch

     4   prepared.     Can we bring them up on the screen?

     5                THE COURT:   Yes.    And have you shared these with the

     6   defense?

     7                MR. BERKOWITZ:    Not yet, but we do have paper copies

     8   that we can mark.

     9                THE COURT:   Yeah.    Why don't you give a paper copy to

   10    my law clerk if you've got -- and me, and then defense, of

   11    course.

   12                 MR. BERKOWITZ:    May I approach?

   13                 THE COURT:   Yeah, through my courtroom deputy,

   14    please.    Thank you.

   15                 All right.   You may proceed.

   16                 MR. BERKOWITZ:    I'm just going to bring it up on the

   17    screen.

   18                 THE COURT:   All right.

   19                 Is it properly connected at your table?

   20                 MR. LOMUSCIO:    It appears to be connected, yes.

   21                 THE COURT:   All right.     Did you test it out before

   22    the hearing?      Was it working then, or do you know?

   23                 MS. STURM:   Do you know?

   24                 MR. LOMUSCIO:    We weren't able to.

   25                 THE COURT:   Okay.    Then here's what we'll do.         We'll
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     1   call the IT department to come up and work on it, but in the

     2   meantime, we all have paper copies.           Does the witness have

     3   one?

     4              MR. BERKOWITZ:      No.

     5              THE COURT:     Let's give him one, and then we can work

     6   off of the same -- it's numbered pages.            We'll work off the

     7   same documents.

     8              And then, Emily, will you ask somebody to come up?

     9              THE CLERK:     Yes.

   10               THE COURT:     Thank you.

   11               We'll have someone come up and solve that, but in the

   12    meantime, we'll all work off the paper copies.              Alternatively,

   13    I think you can do a hookup off your computer on the deck here

   14    might work.

   15               MR. BERKOWITZ:      I can try that.

   16               There we go.

   17               THE COURT:     All right.     Very good.     So you're going

   18    to ask the questions and push the slides, but I'm sure you can

   19    do that.

   20               MR. BERKOWITZ:      I'll give it a shot if I can get it

   21    to work.     Let's just move forward.

   22               THE COURT:     I think your colleague may put another

   23    laptop up there.

   24               THE WITNESS:      Yes, there we go.       Third time's a

   25    charm.
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     1                MR. BERKOWITZ:    Thank you.

     2                THE COURT:   You may proceed.

     3                MR. BERKOWITZ:    Yes.

     4   BY MR. BERKOWITZ:

     5   Q.   Okay.    So before that little glitch, we were talking about

     6   the two patents that are asserted in this case?

     7   A.   Yes, that's correct.        So on this slide, we see the two

     8   patents which I will continue to refer to as the '723 and the

     9   '256.    We see they are both from the same inventor, and they

   10    were filed at the -- I'm sorry.          They were -- the date of the

   11    patent -- I'm sorry.        They were filed at the same time.

   12    Q.   Okay.    By the same time, what do you mean?

   13    A.   On the same date.       They were literally filed on the same

   14    date even though the date of the patents, it differs between

   15    them.

   16    Q.   Can you tell us a little bit about the type of information

   17    that's shown on the cover of the patent?

   18    A.   So we see, first of all, the title of the patent; in this

   19    case, the self-balancing vehicle.

   20                 On the -- towards the bottom right, we also see the

   21    claim and the description which we've got on the next slide

   22    highlighted.      So, for instance, on the '723 here, we can see

   23    the title, the self-balancing vehicle, the filing date and the

   24    issue date.     Importantly, it was filed in 2014.

   25                 On the next slide, we can see the claim and
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     1   description.      And being a design patent, the claim here refers

     2   directly to the figures.

     3   Q.   Okay.    And how many figures are claimed and disclosed in

     4   the '723 patent?

     5   A.   There are eight figures.         And in the description, it

     6   provides a description of exactly which angle each of those

     7   figures represents.

     8                Towards the bottom, we can see highlighted in yellow

     9   pointing out that the broken lines are shown for purposes of

   10    illustrating, that is environmental, it provides context, and

   11    those are items that are not part of the claimed design.

   12    Q.   Was there a reason that you highlighted that for us?

   13    A.   Yes, it's just important to know that as we look at the

   14    figures that there are certain elements that are unclaimed as

   15    part of that patent.

   16    Q.   Okay.

   17    A.   And so the next few slides we show some detailed images of

   18    the patent.     I'll only go through those briefly for brevity.

   19                 But essentially we see in Figure 1, there are some

   20    areas that are unclaimed.         There we see the O and the I that's

   21    part of the foot tread area.          Also towards the very middle of

   22    the product there's some dotted lines showing some unclaimed

   23    markings on the buttons.

   24                 And we also see on both drawings, Figure 1 and 2, the

   25    hubs of the wheels are unclaimed.           And on Figure 2 we see the
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     1   tread of the wheels, that is the wheels as a whole are shown

     2   with broken line, and, therefore, are unclaimed.

     3   Q.   Could you tell us a little bit about how you take into

     4   account what's claimed and unclaimed when performing a design

     5   patent analysis?

     6   A.   Yeah.    The unclaimed matter, it is important to understand

     7   the context that it's providing so that's why it's included in

     8   drawings like this.

     9                However, if it's unclaimed, that is shown through the

   10    dotted lines, this is not part of the claim of the design.

   11    That is the protected part of the design.

   12    Q.   Okay.

   13    A.   We can go to the next figures maybe on the next slide.

   14    We've got Figure 3 and 4.         And there we're seeing the rear

   15    view, straight on, and the front elevation, as is typical with

   16    patents with seeing very specific views.

   17                 We also see some unclaimed matter here, what appeared

   18    to be screw buses.       We see the hubs and the wheels are

   19    unclaimed.     And of course there's some -- on the front

   20    elevational drawing there's a button and probably a charging

   21    port that are marked in dotted lines as well.

   22    Q.   Okay.    And, again, those claimed versus unclaimed

   23    features, are those taken into account during the analysis?

   24    A.   They're part of the consideration of the design as a whole

   25    because it's giving us context, but it is not part of the
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     1   claimed part, the protected part of the design.

     2   Q.   Okay.

     3   A.   On the next slide we've got Figure 5 and 6, 5 showing an

     4   end view, or left-side view, I should say, and it does point

     5   out in the description that the right side is a mirror image

     6   of the same.      And there we do see obviously the open fender

     7   that we see wrapping over the top of the wheel.              And the wheel

     8   itself and the hub cap are all marked as unclaimed.

     9                And Figure 6 we see a nice angled view.           In this case

   10    it's the rear top right perspective of the design, and we see

   11    the same elements that we've covered in the other views that

   12    are marked as unclaimed.

   13    Q.   Okay.

   14    A.   Then finally, on the next slide where we see Figure 7 and

   15    8, excuse me, two more angled views.            On the left there,

   16    Figure 7, we're seeing a front top/left perspective, and,

   17    again, we're seeing the unclaimed matter that aligns with what

   18    we're seeing on the other images.

   19                 And Figure 8, we're looking from an angled view from

   20    below.

   21    Q.   Before we move on to the second patent, are there

   22    particular views that are more important than others?

   23    A.   No.   When analyzing or understanding what's claimed here,

   24    it's important to look at all of the views to understand the

   25    design as a whole.       It would be wrong to look at one specific
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     1   view and make inferences based on one view alone.

     2   Q.   Okay.    And could you sort of run through the same analysis

     3   for -- the same description for the '256 patent?

     4   A.   Yeah, absolutely.       I'll be a little bit more brief as well

     5   in the interest of time, but we also see here as the same

     6   title, as self-balancing vehicle.           It was also filed on the

     7   same date here in 2014 which it lays claim to and -- I'm

     8   sorry -- priority to.

     9                And on the next slide, we see also zoomed in to the

   10    claim and description, the claim again and description

   11    referring directly to the figures.           We also have eight

   12    figures, and the descriptions are very similar here.                And it

   13    also calls out that the broken lines form no part of the

   14    claimed design.

   15                 THE COURT:    What is the essential difference between

   16    those two patents?        Is there something you can point to in a

   17    particular figure that is different from one to the other?

   18                 THE WITNESS:    Yes.   Maybe if we go to the third

   19    slide, the angled view, we get a good view.

   20                 THE COURT:    What page would that be?        Go ahead.

   21                 THE WITNESS:    I'm sorry.     I think it's the scene we

   22    could look at there.        So there are a lot of similarities

   23    between the two patents.         There are some differences we can

   24    see in even the unclaimed areas here.            The design of -- there

   25    are some differences around the design of the form as it comes
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     1   to the -- towards the fenders and the treatment of the fenders

     2   themselves.

     3                The unclaimed wheels appear a little different here

     4   and some differences in the treatment of the -- of the

     5   pronounced footing areas.

     6                But all in all, there's a lot of similarities.            They

     7   were both filed on the same date, and they were both granted a

     8   patent independently from each other.

     9   Q.   And just to clarify, you were looking at Figure 6 as you

   10    were providing that description?

   11    A.   Yes.    Thank you.

   12                 And so.   Yes, we have similar angles for the rest of

   13    the patent here.       We have Figure 7 and Figure 8 as well.

   14    Q.   Are there any other differences that you would like to

   15    call out between the '256 and the '723?

   16    A.   Yeah, there are some differences in smaller details when

   17    we look at the lighting areas, for instance, which we see on

   18    Figure 7 and Figure 8.        There are some differences in the

   19    center of the body as a whole.          But these are design

   20    differences.      They do contribute to the overall impression,

   21    but the -- they -- well, yes.          That's it.     Thank you.

   22    Q.   Okay.    And we've now covered the two patents that are

   23    asserted in this case.        I would like to move on to the accused

   24    products.

   25                 Would you -- in general in this case, how many
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     1   different accused products are there?

     2   A.   So there are five accused products, but here for the

     3   preliminary injunction we're looking at just three of those,

     4   as was mentioned earlier today.          There is the -- what I show

     5   on the slide here, the Gyroor A, C, and E.             And we already

     6   have physical samples, I believe, to the left of the bench

     7   here.

     8   Q.   Okay.    And did you bring your own samples with you today?

     9   A.   I did, yes.     And actually these are the samples I used

   10    when I was analyzing the products itself.             It was very useful

   11    to be able to look at the products in person rather than

   12    through photos.

   13    Q.   Okay.

   14    A.   It's a little less deceiving that way.

   15    Q.   Okay.

   16                 THE COURT:   Do you practice the patent on the -- this

   17    is more to the attorneys, and if the witness can answer, fine,

   18    but does the plaintiff practice the patents?              In other words

   19    do you have products that are identical to the patents so I

   20    can actually do a -- rather than comparing a drawing to the

   21    Gyroor products, I could compare a plaintiff product to the

   22    Gyroor product as long as the product for the plaintiff is

   23    identical to the patent?

   24                 MR. BERKOWITZ:    We don't have a sample of our product

   25    with us.     We do --
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     1              THE COURT:     All right.     And it's irrelevant unless

     2   you actually practice the patent.

     3              MR. BERKOWITZ:      I believe we do.       But, yeah, the

     4   analysis is the drawings against the accused product.

     5              THE COURT:     All right.     Well, you've got my question.

     6   We'll address it later.        But it's an easier side-by-side

     7   comparison if you're looking at two hoverboards as long as

     8   the -- and it's not the analysis unless your hoverboard, the

     9   plaintiffs' hoverboard, is identical to the claimed drawings

   10    in the patent.

   11               MR. BERKOWITZ:      Okay.

   12               THE COURT:     So anyway, go ahead.

   13               MR. BERKOWITZ:      I would like to mark each of the

   14    three hoverboards as exhibits, if that's all right.

   15               THE COURT:     Sure.    Why don't you -- just call them

   16    plaintiffs' --

   17               MR. BERKOWITZ:      I was going to do 1, 2, and 3.

   18               THE COURT:     That's fine.      Plaintiffs' 1, 2, and 3,

   19    and I will consider these ones, the ones provided to me by

   20    defendants, Defendants' 1, 2, 3, 1 being Gyroor A, 2 being

   21    Gyroor C, and 3 being Gyroor E.

   22               MR. BERKOWITZ:      Okay.

   23    BY MR. BERKOWITZ:

   24    Q.   So, Mr. Hatch, could you just give us an overview of the

   25    accused products?
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     1   A.   Yes.    As we can tell, they are very, very similar to each

     2   other, and they are all self-balancing vehicles, as is the

     3   patent description.       And they are marked as hoverboards.

     4   Q.   Okay.    So we've talked about the asserted patents.             We've

     5   identified the three accused products.            Can you in general

     6   walk us through your methodology in making an infringement or

     7   non-infringement analysis for design patents?

     8   A.   Yes.    So very briefly, the stages that I would go through,

     9   first of all, would be claim construction.             That is by looking

   10    at the design patents themselves, looking at what's claimed,

   11    understanding what's unclaimed, and getting a good sense of

   12    the design as a whole which is the important first step.

   13    Excuse me.

   14                 Following that, it's important to identify who the

   15    ordinary observer would be for this particular case which I'll

   16    get on to shortly, and is essentially our understanding of the

   17    ordinary observer is informed in part by understanding the

   18    actual purchaser of the accused product.

   19                 The next stage I would go through, one should go

   20    through is to understand the prior art, to look at the prior

   21    art of the invention at the time, at the specific time.                And

   22    that gives some understanding as to how novel the design was

   23    at the time, what existed before it and the real context of

   24    the design that we're looking at through the figures.

   25                 Following that, conducting two stages of infringement
Case: 1:20-cv-04806 Document #: 620 Filed: 12/07/22 Page 56 of 180 PageID #:15575
                              Hatch - direct by Berkowitz
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     1   analysis or the ordinary observer test, the first of which

     2   we -- we do a direct comparison between the accused products

     3   and the patent to the drawings of the patent and the design as

     4   a whole.     And the second -- in that first stage, we look

     5   broadly to see if they are plainly dissimilar or not.

     6                Given that then we move on to the second stage where

     7   we then bring in the prior art and view it through the eyes of

     8   the ordinary observer to understand if the accused products in

     9   the patent are closer than they are to the -- closer to each

   10    other than they are to the prior art.

   11    Q.   Okay.    So now let's take the next step and apply that

   12    methodology to the particular patents and products in this

   13    case.

   14                 So you said the first step was construing the claims.

   15    Could you tell us how you went about doing that in this

   16    particular case with respect to each of the patents?

   17    A.   Yes.    So essentially looking at the claimed design and

   18    understanding what's unclaimed; as we kind of walked through

   19    before, looking at the patents and also as part of my analysis

   20    looking at the file history to see if there's any other

   21    signals there that may give us further indication.

   22    Q.   In this particular case, was there anything of note in the

   23    file histories?

   24    A.   No, there wasn't.       The designs were accepted for the

   25    patent.
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     1   Q.   Is that the case for each of the asserted patents?

     2   A.   That's correct, yes.

     3   Q.   Okay.    So step 1 is construe the claims.           You said that

     4   step 2 was to define the ordinary observer; is that correct?

     5   A.   Yes, that's correct.

     6                And so I believe the next slide, I -- yes, we can

     7   talk briefly about the ordinary observer.             This is important

     8   to understand because the viewpoint in looking at the figures

     9   has to go through understanding the viewpoint of the ordinary

   10    observer.     This is a hypothetical person.          So to read the top

   11    lines here and not all of it, but the ordinary observer is one

   12    who is not an expert in the claimed designs but rather one of

   13    ordinary acuteness who is a principal purchaser of the

   14    product.

   15                 And so first of all, as part of the process, we look

   16    to, okay, who is the purchaser of the accused product.                And

   17    based on my experience in this case, I defined that that would

   18    be a consumer user or the parents of the user, each having

   19    little or no experience purchasing hoverboards.

   20                 We use that information about the purchaser to

   21    understand the level of acuity or attention that that person

   22    pays to the design and the details of the product itself.

   23                 THE COURT:   What is the basis of your conclusion that

   24    the consumer user would have little or no experience

   25    purchasing hoverboards?        And if you're coming to that in your
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     1   outline, you can wait until you get to it; if that's not in

     2   your outline --

     3                MR. BERKOWITZ:    Now is a good time.

     4                THE COURT:   All right.     Go ahead.

     5                THE WITNESS:    No, it's a good question.         Based on my

     6   experience, it's clearly a consumer product.              And seeing how

     7   it's retailed, for instance, chiefly online in stores like

     8   Amazon, there are some brick-and-mortar stores where it's

     9   retailed like Best Buy and Walmart, and the way it's presented

   10    certainly speaks to their attracting attention to the

   11    consumer.     And price point and features seem to be the

   12    prominent items that are being presented.

   13                 So in many years I've worked with consumers,

   14    conducted user research to get an understanding of how they go

   15    about purchase habits and how they look at products.                And so

   16    based on that experience and seeing everything that I have

   17    here, it looks like the purchaser is not going to have an

   18    intricate knowledge of all the nooks and crannies and styling

   19    details of the particular designs.

   20    BY MR. BERKOWITZ:

   21    Q.   And I think you touched on this before, but can you

   22    explain a little bit more about the interplay between this

   23    principal purchaser and how you use that in connection with

   24    the ordinary observer?

   25    A.   Yeah.    I think that's very good to explain.           Actually I've
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     1   created a diagram on the next slide because it's often

     2   misunderstood.

     3              The hypothetical ordinary observer we understand to

     4   have knowledge of all the relevant prior art.              So in this

     5   case, they have knowledge of the prior art that's cited.                   They

     6   would have knowledge of the '906, of course, because it was

     7   invented at around the same time.

     8              And so this hypothetical ordinary observer has

     9   knowledge that those exist but the question remains how much

   10    attention do they pay when they're looking at those designs,

   11    if -- whether they, for instance, have intricate detail

   12    inspection of the designs or whether it's more of a fleeting

   13    glance.

   14               And so to find that out, that's where we use and

   15    refer to the principal purchaser.           We understand the level of

   16    attention that they apply and use that to construct our

   17    hypothetical ordinary observer.

   18               THE COURT:     Is there evidence that both the -- again,

   19    if -- that these products are sold in brick-and-mortar stores

   20    at the same time?       In other words, there's a Gyroor product

   21    and a plaintiff product in a Walmart or in a Best Buy where a

   22    person, an ordinary observer, could actually physically

   23    compare the two, and whether they're boxed so that all they

   24    would see is a picture anyway, they couldn't even hold up each

   25    one to do a comparison?        Are you aware of that fact or that
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     1   factor being present here?

     2              THE WITNESS:      That was not part of my analysis as I

     3   strictly have to look at how the patent is representing the

     4   design as a product and its packaging may actually infer other

     5   qualities that the patent doesn't have.

     6              THE COURT:     Okay.    No, I understand.       And it goes

     7   back to my question of whether there's actually a physical

     8   product of the plaintiff that practices the patent that would

     9   be something that a person online would look at, look at both

   10    products, and an ordinary observer could see if there were

   11    differences or they're confusingly similar, or if they are

   12    physically present at a brick-and-mortar store, whether

   13    they're packaged in a way where a person could actually

   14    observe differences or not.

   15               Not a criticism of Mr. Hatch.          You know, that's not

   16    what he was asked to do, but I'm raising that with the

   17    parties.     You can answer it at some point in the future.

   18               Go ahead.

   19               MR. BERKOWITZ:      Sure.

   20    BY MR. BERKOWITZ:

   21    Q.   Mr. Hatch, I see on the website of this slide that you

   22    prepared below the principal purchaser, you've identified what

   23    you say here is a low level of attention.             Can you explain

   24    what you mean by that?

   25    A.   Yes, and that sort of goes back to after understanding
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     1   that the purchaser might be someone who is quickly looking

     2   through Amazon.com or walking through the shelves in Walmart,

     3   that their attention is going to be drawn towards things like

     4   the price point or how long does the battery last and things

     5   that the -- the actual features on these pages and on the

     6   boxes call out.       And, therefore, they have a low level of

     7   attention, not in life in general, but towards the styling

     8   details.

     9   Q.     Okay.    So we've covered first I believe the first two

   10    steps of your methodology: construing the claims, defining the

   11    ordinary observer.       You said that the next step would be to

   12    understand the prior art.         So we have -- we have talked a

   13    little bit about the prior art.          Can you tell us what you

   14    would do particularly in this case as applied to these patents

   15    to understand the prior art?

   16    A.     Yes.    And it's a very important part of the analysis to

   17    understand the prior art.

   18                   What we see I think on the next slide here, we see

   19    the six items, only six items of prior art, and these were

   20    cited -- excuse me -- the six items that were cited on both

   21    patents, on the '723 and '256, that had exactly the same prior

   22    art.    And we get an understanding then of the ordinary

   23    observer, what they saw out in the world and how different

   24    this new design was.

   25                   Now, if we go to the next slide, my understanding is
Case: 1:20-cv-04806 Document #: 620 Filed: 12/07/22 Page 62 of 180 PageID #:15581
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     1   also that the '906 was invented at or around the same time, or

     2   this was filed at or around the same time.             And so even though

     3   it wasn't -- the inventors did not include it or this hadn't

     4   been made public at the time that the patents in issue were

     5   filed, this is considered prior art in this case.

     6                And so the '906 adds to our understanding of what

     7   existed at that time.

     8   Q.   Okay.    And can you characterize the '906 patent for us?

     9   A.   Yes.    So we see from the '906 that it is also for a

   10    similar-type vehicle, a self-balancing vehicle is our

   11    understanding, and we see a very slick race move body.

   12    Obviously we are seeing an hourglass shape which we saw in a

   13    number of the other prior art as well.            That itself was not

   14    unique to the '906 when it was filed.            Hourglasses have been

   15    around for a while.

   16                 However, what we're seeing here is their

   17    interpretation of that form in the way that it's so smooth and

   18    so rounded, and I believe in my deposition I used the word

   19    melted.     It doesn't have those sort of hardened edges that we

   20    see in some of the other prior art at the time.

   21    Q.   Okay.    So we've now established the universe of prior art.

   22    Can you tell us how that sort of plays into your analysis in

   23    connection with these particular patents for each of the '256

   24    and '723?

   25    A.   Yes.    And I think maybe going back to the last side, I
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                              Hatch - direct by Berkowitz
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     1   think it's important to see that, you know, with our

     2   understanding of what existed at the time, the '723 and '256

     3   patents provided something that was really quite different,

     4   quite radically different, and hadn't existed before it.                   So

     5   in doing so, we see that the prior art is really quite far

     6   away from the patents at issue, and, therefore, you would

     7   understand that it has very broad scope.

     8   Q.     Okay.    So we've now covered the first three steps of the

     9   analysis.       We've construed the claims, defined the ordinary

   10    observer.       We've gone through your understanding of the prior

   11    art.    What's the next step?

   12    A.     So the next step, if you go forward -- thank you.

   13                   THE COURT:   Do you need some water?

   14                   THE WITNESS:   Thank you.

   15                   THE COURT:   Oh, you've got some.      Okay.

   16    BY THE WITNESS:

   17    A.     So in the next step, as I had mentioned before, first of

   18    all, we do a direct comparison between the patent, the design

   19    as a whole of the claimed part of the patent to the accused

   20    product.       And, again, of course my analysis was to the

   21    physical product that I had at hand.

   22                   Here, as specifically, we're looking at a more sort

   23    of broader look in this direct comparison to understand if are

   24    they plainly dissimilar, are we looking at an apple and a

   25    banana, or are we looking at similar products here.
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                              Hatch - direct by Berkowitz
                                                                                    64

     1              The conclusion, as can be clearly seen, these are not

     2   plainly dissimilar.

     3   Q.   And when you say "these," specifically what are you

     4   referring to?

     5   A.   The -- yes, thank you.        The accused product and the -- in

     6   this case, the '723 design patent were not plainly dissimilar.

     7   Q.   So if you made the determination that the design claimed

     8   in the '723 and the accused products, Gyroor A, are not

     9   plainly dissimilar, what's the next step?

   10    A.   So when that has been confirmed, then we move on to the

   11    next step of the analysis, the next step of the ordinary

   12    observer test, which is where we now view this through the

   13    eyes of the ordinary observer and we compare the patent, the

   14    claimed design of the patent to the accused product and to see

   15    whether they are closer to each other than they are to the

   16    prior art.

   17               Here on the slide we're seeing all three elements; in

   18    this case, the '723 patent and the Gyroor A product, and the

   19    prior art, including the '906 that was part of my analysis.

   20    Q.   And when you're performing this analysis, which views are

   21    you focusing on as you compare -- do this three-way analysis?

   22    A.   It's very important to understand the design as a whole

   23    because as we understand from this type of infringement

   24    analysis and from Egyptian Goddess, the case that lays out

   25    this process, we need to understand the design as a whole and
Case: 1:20-cv-04806 Document #: 620 Filed: 12/07/22 Page 65 of 180 PageID #:15584
                              Hatch - direct by Berkowitz
                                                                                    65

     1   the impression that it makes, rather than take it apart into

     2   individual isolated parts that you view through individual

     3   viewpoints.

     4   Q.   Okay.    I see here you have a particular perspective view,

     5   for example, from Figure 6 of the '723 and comparing with

     6   similar views.      Is there a reason you chose that particular

     7   view?

     8   A.   Well, the analysis was done looking at all the views of --

     9   and of course the actual physical sample here, but for this

   10    slide at least, this is a representative view showing an

   11    angle.    I think if I showed one of the more what's called

   12    isometric angles like straight down or straight from the

   13    front, that's not how people view products.             It's very rare

   14    that you would see it so directly.           And so the ordinary

   15    observer gets -- or us looking at this, we get a better

   16    representation of the design at this angled view.               But of

   17    course the analysis was done with all views in mind.

   18    Q.   Okay.    And could you walk us through how you would

   19    apply -- how you would walk through that analysis with all

   20    these different views?

   21    A.   Yes.    Excuse me.

   22                 And so importantly here is to understand the design,

   23    the impression of the design of the patent and then looking at

   24    the accused product to understand the impression it's making.

   25    In this case, we found, or I found that the impression that
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                              Hatch - direct by Berkowitz
                                                                                    66

     1   they're making through the eyes of the ordinary observer would

     2   be very much the same in light of the prior art.               And so when

     3   we're looking at the prior art, we get an understanding of how

     4   far or how close that might be.

     5   Q.   Okay.    So can you tell us a little bit more about how you

     6   did that analysis, particularly with respect to the '906

     7   patent?

     8   A.   Yes.    So, for instance, with the '906 patent, maybe the

     9   next slide may be -- thank you.          So here we've got Figure 4

   10    from the '906.      Again, we're looking at it in all directions.

   11    But we do see this very smooth, uncluttered, rounded body, and

   12    there's no sort of pronounced areas around it.              And I

   13    understand, you know, I'm an industrial designer and not a

   14    lawyer, but in my understanding, while it doesn't claim the

   15    fenders as such in its own protection, when used in the

   16    three-way analysis like this, we do consider them because it

   17    has been disclaimed.        It's something that was invented in the

   18    past.    And so we -- in looking at the '906 in this context, we

   19    do see these closed fenders that cover the wheels, including

   20    covering the hub.

   21    Q.   Okay.    So --

   22                 THE COURT:   You construe that, those dotted lines as

   23    being fenders that cover the hub?

   24                 THE WITNESS:    Yes.   Yes, I would.      It is not titled

   25    as such in the patent, but knowing the context, that this is a
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     1   self-balancing vehicle or similar, I think it's fair to call

     2   fenders.     There may be other names that we can use, but what's

     3   important here I think is the look that those give and the

     4   impression.     I wouldn't want to limit it to a particular word.

     5                THE COURT:   All right.     But the upper oval you would

     6   view as the fender, and the bottom half circle would be the

     7   wheel?

     8                THE WITNESS:    Yes, that's my understanding.

     9                THE COURT:   Okay.

   10    BY MR. BERKOWITZ:

   11    Q.   Now, you used the word "impression" several times.               What

   12    is that impression here when you're comparing these three

   13    different products or references?

   14    A.   Yeah.    So, again, obviously it's incorrect in this

   15    analysis to translate everything directly into words and only

   16    use the words as the claim.         However, in this analysis, it's

   17    kind of useful for me to explain how I think an ordinary

   18    observer would be looking at this in light of the prior art.

   19                 So, for instance, the wording that I've included at

   20    the bottom of this slide which is from my report describes how

   21    the ordinary observer would see both the '723 patent and the

   22    Gyroor A design when viewing them which I will briefly read

   23    out here.     They both create a visual impression of an

   24    integrated hourglass body with a relatively flat surface

   25    across the top of the main body, pronounced footing areas and
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     1   open-arched fenders over the top of the wheel area.

     2                And so in a sense, it's a combination of those

     3   features that we -- that give the overall impression and not

     4   one of those features in isolation.

     5   Q.   Okay.    And how did those features compare to those of the

     6   '906 patent?

     7   A.   And so I do have a description for that which I'll cover

     8   first and maybe explain a little bit further.              But the

     9   description here, again, describing how the ordinary observer

   10    may see this, this creates an impression of very uncluttered,

   11    rounded, smooth body with no pronounced footing area, and it

   12    has closed fender skirts.

   13                 Maybe to clarify as well in using the term "fender

   14    skirts" is from automotive and other areas where in the '50s

   15    and '60s they used to hide the wheels, tucked away, that way

   16    you'd just see the wheel popping out the bottom which is kind

   17    of what we're seeing here.

   18                 But also important part of this analysis is not

   19    individual features.        For instance, the hourglass, we can't

   20    help but see that there is an hourglass shape that all three

   21    of these have.      So we don't think the hourglass away, and I

   22    believe it's incorrect to remove it from this type of analysis

   23    because it's about the overall impression.

   24                 However, the hourglasses, the designs we see on the

   25    left are more than just an hourglass representation.                It's
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     1   also my opinion that the '906 at the time it was filed was

     2   also protecting more than just an hourglass shape which has

     3   existed for probably thousands of years.

     4   Q.   And so now that you've sort of explained what your

     5   impression is of these different designs, what's the next step

     6   in the infringement analysis?

     7   A.   And so here, having understood that overall impression and

     8   seeing the different impression that we have, in this case the

     9   Gyroor A and the '723 patent generally having -- giving the

   10    same overall impression and understanding also that there are

   11    differences.      There are many intricate differences between the

   12    two products.      They are not identical.        And that is important

   13    to know.     And that's why we look to prior art to understand

   14    and have somewhat of a measuring stick to understand how close

   15    they truly are.

   16                My conclusion here, of course, that they look, when

   17    referring to the prior art of the '906 here which has been

   18    identified as the closest prior art, the Gyroor A and the '723

   19    claimed design look very much the same, substantially the

   20    same.

   21    Q.   And based on that, do you have an opinion with respect to

   22    the issue of infringement with respect to the '723 and the

   23    Gyroor A product?

   24    A.   Yes.    And so that tells me that the Gyroor A infringes on

   25    the '723 patent.
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     1   Q.   Okay.    And did you repeat that analysis for the second

     2   patent, the '256 patent?

     3   A.   Yes, I did.     And we can very briefly go through that.              I

     4   have some slides here, of course.

     5                This is also comparing directly to the Gyroor A to

     6   the claimed design of the '256 patent.            Here in the first

     7   step, again, looking to see if they are plainly dissimilar, I

     8   concluded that they are not plainly dissimilar and therefore

     9   moved on to the second step on the next slide, where I also

   10    conducted the three-way analysis, comparing the patent and the

   11    Gyroor A to each other in light of the prior art to understand

   12    how close they are.

   13                 And on the next slide as well, we see there that, you

   14    know, my concluding opinion coming from this is that the

   15    Gyroor A and the claimed design of the '256 patent are

   16    substantially the same in light of the '906 closest prior art

   17    in the eyes of the ordinary observer.

   18    Q.   Okay.    And did you then repeat this process for the other

   19    accused products?

   20    A.   Yes, I did.     And so after conducting this for the '723 and

   21    Gyroor A, I also conducted the same for Gyroor C.

   22                 THE COURT:   Can I interrupt?       On Gyroor A, what -- I

   23    know you're talking about overall impressions, but what

   24    particular details do you believe are different or you found

   25    to be different between the '256 patent and Gyroor A?
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     1   Understanding your opinion is the impression is they're the

     2   same, but are there particular features of it that you would

     3   acknowledge are different?

     4              THE WITNESS:      Yes, absolutely.      There are

     5   differences.      And I think it's important to understand how

     6   different those are, obviously in the three-way analysis

     7   compared to the '906.

     8              So, for instance, the fenders that we've spoken about

     9   today, here we're looking at the '256 patent.              We see the

   10    fenders, cover, almost all of the very top of the wheel, and

   11    the Gyroor A, for instance, cover a little bit less.                The

   12    wheel in this case of course is much wider so it's popping out

   13    from the fender itself, but the fender is approximately the

   14    same sort of proportions, but there are differences.                It sort

   15    of trims off a little sooner.

   16               So certainly differences between the two, but to

   17    understand how important those differences are, that's where

   18    we go to prior art that existed prior to it, and there we're

   19    seeing something entirely different.            And so in this

   20    particular case, we're seeing very minor differences that make

   21    them not the same but very close to each other.              And the '906

   22    is clearly in a different ball park, if I can use that

   23    expression.

   24               THE COURT:     What other small differences did you

   25    observe between the '256 patent and the Gyroor A?
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     1                THE WITNESS:    So I did obviously note that the

     2   footing areas on both of them, they both have these pronounced

     3   footing areas that the '906 doesn't have.             And so within those

     4   footings areas, we see the sort of angled grooves that they

     5   both have, but those grooves are different shapes.               So when we

     6   zoom in to compare directly one to the other, we see, you

     7   know, it's not the same shape.          However, they both got those

     8   pronounced footing areas in generally the same sort of shape.

     9   And so glancing over to the '906 we see, again, it's not in

   10    the same ball park.

   11                 There are some other differences.         I would say the

   12    shape of the lights, for instance.           But these differences

   13    contribute to the overall impression and shouldn't be ignored,

   14    but the question is how significant are they to the overall

   15    impression, particularly in light of the '906.

   16                 THE COURT:   Okay.

   17    BY MR. BERKOWITZ:

   18    Q.   Okay.    So we've now covered the Gyroor A product with

   19    respect to both of the asserted patents, so we were I think

   20    about to move on to the Gyroor C product.             Can you walk us

   21    through your analysis with respect to Gyroor C?

   22    A.   Yes.    I'll try and keep it brief in the interest of time,

   23    but obviously step 1, I found they were not plainly

   24    dissimilar.

   25                 In the second step of the ordinary observer test, I
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     1   found that the '723 patent and the Gyroor C were closer in

     2   design than to the '906 prior art; and, therefore, the Gyroor

     3   C infringes on the patent.

     4   Q.   Okay.    And with respect to the '256 patent, did you also

     5   do an analysis against the Gyroor C product?

     6   A.   That's correct.      And so the same was applied independently

     7   here, looking -- directly comparing Gyroor C to the

     8   '256 patent which -- and they are not plainly dissimilar.                  And

     9   so in the second step of the analysis on the next slide,

   10    comparing the Gyroor C to the claimed design of the '256, I

   11    found them to be closer to each other than to the prior art;

   12    and, therefore, Gyroor C infringes on the '256 patent.

   13    Q.   In terms of the analysis, is there any notable differences

   14    between the Gyroor A and Gyroor C?

   15    A.   There are; again, small differences, but those are very

   16    minor in this regard.        They -- Gyroor A and C are virtually

   17    the same product.

   18                 I did note, again, some differences in the fender,

   19    some small differences.        But, again, in this analysis where

   20    we're considering the size of differences based upon how far

   21    away the prior art is, even those differences between the

   22    Gyroor A and C do not have substantial impact on the overall

   23    impression.

   24                 THE COURT:   Well, it looks like Gyroor C, the fenders

   25    cover the majority or all of the wheel, at least on the
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     1   example I have, compared to Gyroor A, which covers about half

     2   the wheel.

     3                THE WITNESS:    Yes, that's correct.       And so the Gyroor

     4   C fender goes down a little bit further, and the wheel is

     5   different too.      I think Gyroor A has a much thicker wheel and

     6   it would take a much bigger fender to cover it.              So it's --

     7   these are proportions that we take into respect, but, again,

     8   it's -- it doesn't seem a significant difference between

     9   Gyroor A and C.

   10                 THE COURT:   It looks like the foot paddings, the

   11    design of the foot paddings on A and C are the same.                They're

   12    different in E.      But you'll get to that.

   13                 THE WITNESS:    Yes.

   14                 THE COURT:   But the design looks the same of the two

   15    products anyway.

   16                 THE WITNESS:    Yes.    And in -- at least in this

   17    infringement analysis, I wasn't doing a direct comparison

   18    between, say, A, C, and E.          However, obviously in

   19    understanding their design and comparing it to the patent, I

   20    found they played exactly the same role.

   21    BY MR. BERKOWITZ:

   22    Q.   Okay.    So we've now covered the accused product Gyroor A,

   23    Gyroor C.     Did you repeat this analysis for the final product,

   24    the Gyroor E?

   25    A.   Yes, I did, so we can briefly go through that as well,
Case: 1:20-cv-04806 Document #: 620 Filed: 12/07/22 Page 75 of 180 PageID #:15594
                              Hatch - direct by Berkowitz
                                                                                      75

     1   where I compared in the first step Gyroor E to the '723 patent

     2   and found they are not plainly dissimilar, and then comparing

     3   to the prior art to understand how much effects the

     4   differences have between the two products.             I also found that

     5   Gyroor E and the '723 are much closer together, not identical,

     6   but much closer together than the prior art.

     7   Q.   To the judge's question, are there any notable differences

     8   between the A, C, and now looking at E?

     9   A.   Yes.    And, again, in the fender area, we see that it has a

   10    somewhat shorter fender than Gyroor B, for instance.                It may

   11    be a little closer to A if we were looking at that part in

   12    isolation.     We see some differences around the lighting area

   13    and the grooves are generally the same sort of feel; but when

   14    we compare, we do see differences.

   15    Q.   Okay.    As far as your infringement analysis, what is the

   16    impact of those differences?

   17    A.   Because of how far away the '906 is, the impacts of those

   18    is relatively insignificant on the overall impression.                They

   19    do -- they are part of the overall impression, and if we were

   20    comparing only A, B, and E together, we would then be seeing a

   21    narrowing down on those slight differences as being very

   22    important.     However, of course, when comparing directly to the

   23    '906, we see how insignificant small differences are in

   24    particular between the accused products and the patent.

   25    Q.   Okay.    I just want to -- so with respect to the Gyroor E
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                              Hatch - direct by Berkowitz
                                                                                    76

     1   product, are there differences with respect to these footpads

     2   as compared to the A and the C?

     3   A.   Yes, there are.      Beyond obviously the color or material

     4   differences, I believe there's one or two grooves less, but it

     5   has the same what we would call a fleur-de-lis type

     6   impression.     It's the angled length.         So very similar, and,

     7   again, that would just be analyzing those particular

     8   differences on that particular part.

     9   Q.   Okay.    And did that -- did these differences have any

   10    impact on your determination as to infringement or

   11    non-infringement?

   12    A.   Well, I guess I wasn't looking directly at differences

   13    between the products.        It was always, as I understand it

   14    should be, to the patent itself.           And so yes, of course I

   15    understood and saw those differences.            I do not believe that

   16    an ordinary observer would -- would not see those differences

   17    if faced with one design next to the other.             However, it

   18    doesn't have an impact on the overall impression when

   19    comparing these designs.

   20    Q.   Okay.    And just to close the loop on the '723 patent as

   21    compared to the Gyroor E, what is your opinion with respect to

   22    the issue of infringement?

   23    A.   That Gyroor E infringes on the '723 patent.

   24    Q.   Okay.    And moving on to the '256 patent, could you just

   25    quickly walk us through your infringement analysis?
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                                                                                     77

     1   A.   Yes.    I also found that Gyroor A was not plainly

     2   dissimilar from the '256 patent; therefore conducted the next

     3   step where I also concluded after the analysis that the

     4   Gyroor E is closer to the '256 patent than the closest prior

     5   art, and, therefore, that it infringes on the '256 patent.

     6   Q.   Okay.

     7                MR. BERKOWITZ:    So we don't have any more questions

     8   for Mr. Hatch.

     9                THE COURT:    All right.

   10                 Cross-examination.

   11                 MR. CHENG:    Shall we start?

   12                 THE COURT:    Yes, you may proceed.

   13                               CROSS-EXAMINATION

   14    BY MR. CHENG:

   15    Q.   Hi, Mr. Hatch.       As instructed -- hi.       As instructed by the

   16    Federal Circuit, we should look through the infringement issue

   17    through the lens of       prior art.

   18                 THE COURT:    You're a little soft spoken.

   19                 MR. CHENG:    Right.

   20                 THE COURT:    So move the mic a little closer or raise

   21    your voice.

   22                 MR. CHENG:    Yes, sorry.

   23    BY MR. CHENG:

   24    Q.   As instructed by the Federal Circuit, we have to look at

   25    the infringement issue through the lens of the prior art.                  Do
Case: 1:20-cv-04806 Document #: 620 Filed: 12/07/22 Page 78 of 180 PageID #:15597
                                  Hatch - cross by Cheng
                                                                                    78

     1   you agree that the '906 patent is a prior art in this case to

     2   the patents-in-suit here?

     3   A.   I don't know all the legal structure, but my understanding

     4   is that it should, as far as my analysis is concerned, be

     5   considered prior art.

     6   Q.   Okay.    And do you agree that the comparison between the

     7   D '906 patent and the two patents-in-suit is necessary to

     8   determine the infringement issues here?

     9   A.   As part of the analysis, as I showed, it plays a role when

   10    we do the three-way analysis to understand which is closer and

   11    which is further apart.

   12    Q.   So let me ask you, when you compare the D '906 patent with

   13    the two patents-in-suit, what are the similarities between the

   14    D '906 patent and the two patents-in-suit?

   15                 MR. CHENG:   And, Peter, if you can bring the '906

   16    patent with the '723 patent side by side so --

   17                 MR. PHANEUF:    '906 and '723?

   18                 MR. CHENG:   Yes.    Just do the overlay so it will be

   19    easier for us to understand.

   20                 THE COURT:   Here we go.

   21                 MR. CHENG:   Great.

   22    BY MR. CHENG:

   23    Q.   So, Mr. Hatch, was the hourglass body shape disclosed in

   24    the '906 patent?

   25    A.   The '906 includes an hourglass body, a version of it that
Case: 1:20-cv-04806 Document #: 620 Filed: 12/07/22 Page 79 of 180 PageID #:15598
                                  Hatch - cross by Cheng
                                                                                    79

     1   is, but that's not all it includes.

     2   Q.   Right.    And was a flat surface on top of the hoverboard

     3   also disclosed in the '906 patent?

     4   A.   It appears to feature a generally flat upper surface as

     5   part of its claimed design.

     6   Q.   Yeah.    So I'm going to read a part of the plaintiffs'

     7   motion, and that is page -- that is on page 12 of

     8   Docket No. 593.      It says, "None of the relevant prior art

     9   creates the same visual impression of the patent-in-suit,

   10    namely the integrated hourglass body with a relatively flat

   11    surface across the top of the main body."

   12                 So as you just admitted, '906 have disclosed the

   13    hourglass shape with a flat surface, does that change your

   14    opinion knowing that --

   15    A.   Could you read the rest of the sentence?             I think you cut

   16    it off.

   17    Q.   Okay.

   18                 THE COURT:   This is from a brief, not from his

   19    report?

   20                 MR. CHENG:   That is from the motion brief, yes.

   21                 THE COURT:   Okay.    Well, go ahead, but that's of what

   22    limited utility.       That's what the lawyer said.         His own

   23    affidavit is, of course, fair game for cross.

   24                 MR. CHENG:   Oh, that portion was quoted from his --

   25                 THE COURT:   It's quoted from his --
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                                  Hatch - cross by Cheng
                                                                                    80

     1               MR. CHENG:    From his report.

     2               THE COURT:    Okay.    Fair enough.      Go ahead.

     3   BY MR. CHENG:

     4   Q.   So, "Namely, the integrated hourglass body with a

     5   relatively flat surface across the top of the main body,

     6   pronounced footing area, and open-arched fenders over the top

     7   of the wheel area."

     8   A.   So you understand why I wanted the rest of the sentence

     9   read out.

   10    Q.   Mm-hmm.

   11    A.   Because taken out of context it could mean something quite

   12    different.

   13    Q.   But you do agree that both the flat surface and the

   14    hourglass body shape were disclosed in the '906 patent?

   15    A.   The '906 patent which shows obviously a very different

   16    design does include those particular attributes.               However,

   17    that sentence in full is making a different statement.

   18                MR. CHENG:    Peter, can we do the overlay of the top

   19    view of '906 and the '723?

   20    BY MR. CHENG:

   21    Q.   By comparison, the hourglass peripheral shape looks very

   22    identical between the '906 patent and the '723 patent.                Do you

   23    agree?

   24    A.   Obviously you're just showing this one particular view.

   25    There are --
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                                                                                     81

     1   Q.   That's one of the views I'm showing, yes.

     2   A.   Yes.    There are differences, and there's a lot of

     3   similarities.

     4   Q.   Can you --

     5   A.   Conceptually speaking, they both have an hourglass as does

     6   the accused product, which I think is important in this

     7   comparison.     But we don't rule out the hourglass.            We have

     8   different interpretations of something that's an hourglass

     9   form.

   10    Q.   So you are saying even if the hourglass shape was

   11    disclosed in the '906 patent it should still be factored into

   12    infringement analysis?

   13    A.   It should not -- my understanding of the procedure in the

   14    three-way comparison is that we don't factor out or remove

   15    specific elements.       We need to consider them as part of the

   16    overall impression.       And important in this particular case

   17    that has been raised is the question of the hourglass shape.

   18    On the '906 as well as the '723, the hourglass shape was not

   19    the reason either of them were awarded a patent.               It was not

   20    novel at the time.       What was novel was the overall impression

   21    that the '906 has provided as shown in the figures.

   22    Q.   Right.    But you do know that your previous report was

   23    criticized by the Federal Circuit for lack of specific

   24    comparison because if we're using the overall impression

   25    without getting into details, then there's virtually no
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                                  Hatch - cross by Cheng
                                                                                         82

     1   analysis.     You are just using the phrase to cover the

     2   comparison or the detailed analysis that's supposed to be done

     3   here.

     4               So what I'm showing you here is should the hourglass

     5   shape be -- if it's disclosed in the '906 patent, why should

     6   that be considered for the infringement analysis since every

     7   hoverboard basically on the market followed the '906 patent in

     8   that they all have similar hourglass shape?

     9   A.   And your question is whether it should be considered?

   10    Q.   Why it should -- why shouldn't -- yes, why it should be

   11    considered if it's disclosed in your prior art already?

   12    A.   Chiefly because Egyptian Goddess tells us what the

   13    infringement analysis should include, and my understanding of

   14    the three-way analysis is that we do look to the overall

   15    impression through the eyes of the ordinary observer.                I'm not

   16    using that as a blanket, you know, in the way that you are

   17    putting forward.       The overall impression is created by looking

   18    at individual features of the overall design.              But it is a sum

   19    of those features.       So we don't extract the hourglass and then

   20    say, oh, the hourglass existed already, we ignore it.                That's

   21    my understanding of the law is it still is an important part

   22    of the overall impression.

   23    Q.   I'm glad that you mentioned different features, and I

   24    think we are just trying to identify which features were

   25    disclosed on and which feature were new to the products.                   So
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     1   in that way, I think we'll have a better understanding when

     2   the ordinary observer looks at the products how the

     3   impression, the overall impression was formed by different

     4   features, right.       If two products have similar features, then,

     5   I mean, it's hard to tell the difference, and that's exactly

     6   why we have to look through the lens of prior art.               Was the

     7   fender also disclosed in the '906 patent in your opinion?

     8   A.   The '906 patent has -- shows an unclaimed fender so it

     9   does not protect a design of a fender.

   10    Q.   That's not what I asked.         I asked was the fender disclosed

   11    in the '906 patent?

   12    A.   I'm sorry.     I misunderstood.

   13               So when it comes to infringement analysis, in a

   14    three-way analysis as we conducted, yes, we consider it to be

   15    disclosed.

   16    Q.   And when you were talking about the footing area to the

   17    '723 patent, does the claim protect the idea of the footing

   18    area on the hoverboard, or does the claim protect the design

   19    of that footing area?

   20    A.   The claim of the '723 is to the ornamental design of the

   21    pronounced footing area, that is, you know, just using words,

   22    that we have a footing area that is somewhat pronounced in

   23    that area.

   24    Q.   So when you say "pronounced," are you talking about

   25    because the '723 patent has the footing area as pronounced, or
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                                  Hatch - cross by Cheng
                                                                                    84

     1   because you had the design that is different from the '906

     2   patent so it's pronounced?

     3   A.   No, we're not talking about conceptually whether it has,

     4   you know, an item or not.         Pronounced is offering an

     5   attribute, you know, that it's not just a footing area but

     6   this has been pronounced in some way, that that is a decision

     7   that has been made by the designer as opposed to, say, on the

     8   '906, there was a decision to not pronounce what might be a

     9   footing area.

   10    Q.   When you say might be footing area, do you agree that '906

   11    patent has a flat top surface?

   12    A.   I believe you asked that before, but yes, it's a generally

   13    flattop surface, but it is -- it may or may not be a footing

   14    area.

   15    Q.   So if we compare the '906 patent to the '723 patent, just

   16    a top view, the defense is the '723 has the footing area, but

   17    the idea of having this footing area is not protected, but the

   18    design of the straight lines on the footing area is what's

   19    protected by the claim?

   20    A.   Which straight lines are you referring to that are

   21    protected by the claim?

   22                MR. CHENG:    Can we take a look at the '723 patent?

   23    Here it is.

   24    BY MR. CHENG:

   25    Q.   Yes.
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                                                                                    85

     1   A.   Mm-hmm.

     2   Q.   So what's being protected, as you just admitted, is not

     3   the idea that it has a foot padding but the actual design of

     4   this foot padding?

     5   A.   Yes, the solid lines show what is claimed.             However, to

     6   understand infringement, then we look to the prior art to

     7   understand how much scope elements like that have.

     8   Q.   Meaning that the prior art doesn't have any design on the

     9   top, so here what's being protected is really just, you know,

   10    the straight line of this design; is that correct?

   11    A.   What do you mean by the straight line of the design?

   12    Q.   The straight line as --

   13    A.   Are you referring to the ribbed detail?

   14    Q.   Yes.    I'm talking about the lines on top of the padding.

   15    A.   Okay.    Yes.

   16                 MR. CHENG:   Can I just use one of these?

   17    BY MR. CHENG:

   18    Q.   Can you tell that the lines --

   19                 THE COURT:   You need to be in front of a microphone.

   20                 MR. CHENG:   Oh.

   21                 THE COURT:   Just make sure that you're there.

   22    BY MR. CHENG:

   23    Q.   But can you tell -- can you see the lines here on this

   24    foot padding, those are not straight lines?             They're bended in

   25    two different directions?
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                                  Hatch - cross by Cheng
                                                                                    86

     1   A.   Yes, they are -- those ribs, and I am familiar with it.

     2   They have angles, yes.

     3   Q.   And this is one of the features that you mentioned that is

     4   different from the patent; is that correct?

     5   A.   Which patent are you referring to?

     6   Q.   '723.    Let us just use '723 as a patent so it will be

     7   easier to avoid any confusion.

     8                So the lines here, they are bended lines, and they

     9   are different from the straight lines on that '723 patent.                 Do

   10    you agree?

   11    A.   Yes.    When we are looking at this, comparing those exact

   12    details, there are differences, as I have pointed out and

   13    acknowledged, but of course that's not the analysis here.

   14    Q.   Right.    We are just trying -- I'm just trying to

   15    understand the different elements as you put the different

   16    designs into elements.        So this element is different.          Is this

   17    element noticeable to an ordinary observer in your opinion?

   18    A.   In the three-way analysis, we understand -- we use that as

   19    a structure to understand what would be noticeable in your

   20    words.

   21    Q.   Uh-huh.

   22    A.   And of course in the overall look and feel, it doesn't

   23    have a significant effect on the overall impression.                For

   24    instance, if those lines were slightly different, it would not

   25    have a significant difference on the overall impression --
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                                  Hatch - cross by Cheng
                                                                                    87

     1   Q.   Yeah.

     2   A.   -- and make it suddenly closer to the '906.

     3   Q.   Well, I wouldn't call this slightly different.              I mean,

     4   the lines are drastically different as they are bended, it's

     5   not straight, and that they are going two different

     6   directions, and the bended, you know, direction is not towards

     7   the wheel but towards the metal.           So do you think this is

     8   noticeable to an ordinary observer?

     9   A.   When looking at the product as a whole, the ordinary

   10    observer would see those differences.

   11    Q.   Okay.

   12    A.   But it does not change the overall impression.

   13    Q.   And what about the fender --

   14                 MR. CHENG:   If you can just show the '906 -- the '906

   15    side -- front view versus the '723 front view.

   16    BY MR. CHENG:

   17    Q.   So as we can see here as you acknowledged, the fender was

   18    disclosed in the '906 patent.          And the fender in the '723

   19    covers the whole wheel, right?          Take a look from --

   20                 THE COURT:   Let me interrupt.       It was disclosed but

   21    not claimed in the '906 patent.

   22                 THE WITNESS:    Yes, that's my understanding,

   23    Your Honor.

   24                 THE COURT:   What is the difference between something

   25    that's been disclosed and claimed?           You can answer.
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     1               THE WITNESS:     As a nonlawyer, my understanding in

     2   this analysis is it -- the patent shows the unclaimed matter.

     3   It is not offered protection of that design.              However, when

     4   we're looking back at it as prior art in this analysis, we

     5   understand that the inventor had that shape in mind, and it

     6   was disclosed to the public.          So, therefore, that design,

     7   there is already public knowledge of that design even though

     8   that patent does not offer protection for that inventor.

     9               THE COURT:    And how does that impact your analysis

   10    of -- as it relates to the comparison between the --

   11                THE WITNESS:     Yeah.

   12                THE COURT:    -- allegedly infringing products and the

   13    two patents?

   14                THE WITNESS:     And so here what the 9 -- the

   15    protection of the '906 is almost irrelevant for me because the

   16    '906 is used as prior art, and, therefore, my analysis

   17    included the fenders, the closed fenders, that that design has

   18    as part of the consideration.

   19                THE COURT:    Okay.

   20                You can continue your questions.

   21                MR. CHENG:    Yes.

   22                THE COURT:    How much more do you have?         Because we're

   23    at 12:30.     If you got a ways to go, we'll break.

   24                MR. CHENG:    I have three-quarters --

   25                THE COURT:    All right.
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     1              MR. CHENG:     -- left.     We can take a break if

     2   Your Honor --

     3              THE COURT:     Why don't we take a -- and you're local;

     4   is that correct?

     5              THE WITNESS:      Yes.

     6              THE COURT:     You're not going to miss a flight if we

     7   break for lunch.       So let's break for lunch.        You can continue

     8   your cross-examination.

     9              The witness is on cross-examination so you can't

   10    discuss his testimony with him during the break.

   11               We'll break for an hour.         Come back at 1:30.

   12               Thank you.

   13               MR. LOMUSCIO:      Thank you, Your Honor.

   14       (Lunch recess had from 12:31 p.m. to 1:30 p.m.)

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     1                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
     2                             EASTERN DIVISION

     3   HANGZHOU CHIC INTELLIGENT               )
         TECHNOLOGY CO., and UNICORN             )
     4   GLOBAL, INC.,                           )   Case No. 20 CV 4806
                                                 )
     5                         Plaintiffs,       )   Chicago, Illinois
         -vs-                                    )   December 2, 2022
     6                                           )   1:31 p.m.
         THE PARTNERSHIPS AND                    )
     7   UNINCORPORATED ASSOCIATIONS             )
         IDENTIFIED ON SCHEDULE "A,"             )
     8                                           )
                               Defendants.       )
     9
           TRANSCRIPT OF PROCEEDINGS - PRELIMINARY INJUNCTION HEARING
   10                BEFORE THE HONORABLE THOMAS M. DURKIN

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   24               PROCEEDINGS REPORTED BY CERTIFIED STENOGRAPHER
                        TRANSCRIPT PRODUCED WITH A COMPUTER
   25
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                                                                                    91

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     1         (Proceedings heard in open court:)

     2               THE COURT:    Just need defense counsel, and then we'll

     3   get going.

     4               MR. CHENG:    Your Honor, we just --

     5               THE COURT:    We'll go off the record.         Is this

     6   scheduling?

     7               MR. CHENG:    Yes.

     8        (Discussion held off the record.)

     9               THE COURT:    Back on the record.

   10                Sir, you're still under oath.

   11                THE WITNESS:     Yes.

   12                MR. CHENG:    Peter, if you can just put on the slide,

   13    the side edge of the product.          I think I was --

   14                THE COURT:    Kathy, when he's speaking to his

   15    colleague, you don't have to transcribe it.

   16             PAUL HATCH, PLAINTIFFS' WITNESS, PREVIOUSLY SWORN,

   17                          CROSS-EXAMINATION (RESUMED)

   18    BY MR. CHENG:

   19    Q.     Mr. Hatch, we were talking about the fenders which is one

   20    of the main feature mentioned in the Federal Circuit opinion.

   21                Do you think -- you can see from the front view and

   22    also in the screen in front of you, do you think the fender,

   23    the shape of the fender, the structure, the concept of design,

   24    are those all different from -- from the two patents

   25    significantly or noticeable to an ordinary observer?
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     1   A.     To clarify, you said the shape and the concept of the

     2   fender?

     3   Q.     Well, let's do that one by one.        Do you think the shape is

     4   different?

     5   A.     There are differences that we can notice of the fender in

     6   particular, yes.

     7   Q.     And do you think you can elaborate the differences between

     8   this fender here and the two patents?            Let's just stick with

     9   one.    '723, can you tell -- ask what the differences are?

   10    A.     Yes.   If we -- if we are focusing solely on the fender, we

   11    do see differences.       The difference is that the accused

   12    product that you're holding up, that's Gyroor A, has a fender

   13    that goes over the wheel but then cuts back a little bit

   14    sooner as it comes down to the platform, but it kind of joins

   15    the platform.

   16                  The wheels on it, of course, are wider, so that sort

   17    of has an effect on how we're seeing the fender as well.                   But,

   18    yes, it -- it goes over the top of the wheel, but then it cuts

   19    back as it goes towards the platform.

   20    Q.     Does the fender cover the wheel?

   21    A.     It covers at least some of the wheel.

   22    Q.     From this side, does the fender cover the wheel from the

   23    side view?

   24    A.     In all views, it covers only side of the -- I mean, we can

   25    see it's above the wheel still.          It's still covering some of
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     1   the wheel.     It doesn't change if you turn it around.

     2   Q.   Yeah, can you see the whole wheel from this side?

     3   A.   I can see -- I can see the whole wheel.

     4   Q.   As you mentioned, there are so many features in the

     5   hoverboard design.       Do you give equal weight to every design

     6   element?

     7              THE COURT:     You're going to have to stay in front of

     8   the microphone.

     9   BY MR. CHENG:

   10    Q.   As you said, there are so many features in a hoverboard

   11    design.    Do you give equal weight to every design feature?

   12    A.   Viewing it through the eyes of the ordinary observer, all

   13    the features are -- do contribute to the overall impression,

   14    so they do not get taken away, but they do have different

   15    effects on that impression.

   16    Q.   So you value some features more than the others?

   17    A.   Some features have a bigger contribution to the

   18    impression.     It's not, you know, how I view it, it's through

   19    the eyes of the ordinary observer.

   20    Q.   And as the Federal Circuit mentioned, since the hourglass

   21    was disclosed in the prior art, it becomes a minor feature and

   22    it's kind of retreated to the background.

   23               Do you agree with Federal Circuit's analysis here?

   24    A.   I don't disagree with Federal Circuit's analysis, although

   25    you seem to have interpreted it quite differently.
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     1   Q.   Oh, how would you interpret the Federal Circuit's decision

     2   on this issue?

     3   A.   Well, my understanding of what we need to do here is to

     4   include the hourglass shape as part of what's giving us the

     5   overall impression.       I agree with the Federal Circuit that the

     6   hourglass shape is not something that was novel to any of

     7   these, including the '906 before that existed, and so these

     8   patents don't rely solely on that.

     9   Q.   And as you can see in front of you the comparison, can you

   10    tell us what feature brought you to make the conclusion that

   11    the accused products is not substantially dissimilar to

   12    the '723 patent?

   13    A.   Are you referring to the first stage of the analysis where

   14    we are not comparing to prior art?

   15    Q.   That was a double negative.         Let me rephrase it.

   16               What features made you conclude that the accused

   17    product is substantially similar to the D '723 patent?

   18    A.   All of the features are included because they all,

   19    including the hourglass shape, they all contribute to the

   20    overall impression.       So, you know, I'm not ruling out features

   21    because of that.

   22    Q.   Oh, I'm not asking to be ruling out features, but you just

   23    admitted that the fender looked different, the design of the

   24    foot padding looked different, and the hourglass, as the

   25    Federal Circuit is a minor feature, even we don't, you know,
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     1   exclude that feature, but since that was disclosed in the

     2   prior art, it becomes a minor feature.

     3               So, and as you said, all features put together form

     4   this overall impression.         But that's conclusive.        That's same

     5   as saying their detailed analysis is not required, as long as

     6   I use the word overall impression.           The overall --

     7               THE COURT:    I think you're giving a closing argument.

     8               MR. CHENG:    Sorry, your Honor.

     9               THE COURT:    Simply ask questions.

   10    BY MR. CHENG:

   11    Q.   So the overall impressions viewed on the features, do you

   12    agree with that?

   13    A.   It includes viewing the features, all of the features that

   14    we see here, absolutely.

   15    Q.   And I noticed on your analysis you didn't do a comparison

   16    of the bottom view.

   17                Is that why that was not included in your analysis or

   18    in your report to support the preliminary injunction motion?

   19    A.   No, I included all of the product as a whole, and the

   20    bottom was certainly part of that analysis.

   21    Q.   I'm looking at the report that you provided, document

   22    number 594, and I don't see any reference to the bottom view.

   23    A.   You'll find I did the full, all of the views in -- the

   24    applicable views of the patents in Exhibit 1 that was

   25    attached.
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     1   Q.   No, no.    Exhibit 1 is your CV, I think.

     2   A.   I'm sorry, Appendix 1.        It's where the three-way

     3   comparisons are.

     4   Q.   The Appendix 1 is your CV.

     5   A.   Oh, then it's Exhibit 1.

     6   Q.   I don't see any exhibit attached to this report.

     7   A.   There is a full -- there should be an attachment, which

     8   has been referred to in the past, you brought it up in

     9   deposition, that includes all of the three-way analyses.

   10               MR. CHENG:     Peter, do you mind putting on the bottom

   11    view comparison?

   12               THE COURT:     Well, show him his expert report.           You're

   13    saying there's something missing from his expert report.                   Just

   14    show it to him, and he can identify it or disagree with you.

   15               MR. CHENG:     Oh, I'm doing it now.        It's not in the

   16    expert witness report, so I don't know -- I don't want to

   17    reference to any other documents.

   18               THE COURT:     Do you have the report up there with you?

   19               THE WITNESS:      I don't, but I believe counsel --

   20               THE COURT:     Any objection to him having the report up

   21    there?

   22               MR. CHENG:     Well, they can bring up the report.

   23               THE COURT:     Yeah, if you've got one without notes,

   24    you can give it to him.

   25               What I can see is Exhibit 1 is a three-way comparison
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     1   between the accused products and the patents-in-suit.                There

     2   is a CV attached as Appendix A, and then there's the

     3   affidavit, the declaration.

     4   BY MR. CHENG:

     5   Q.   Anyway, we're going to put the bottom view on the screen

     6   so we can look at the pictures unless you don't think they

     7   clearly represent the bottom view of the products.

     8              So I think it shows the top view, the front view, and

     9   the bottom view of the accused product, the prior art, and

   10    the -- one of the accused patent.

   11               Can we just stick with '723 for all cases?             I think

   12    that's the next page.

   13               Oh, never mind.       That works.

   14               If we're only focused on the bottom view, there are

   15    three pictures at the bottom line of this slide?

   16    A.   Only the bottom three, ignoring the rest.

   17    Q.   So you can see that there's a bottom view of the accused

   18    product, a bottom view of the prior art, and a bottom view of

   19    one of the patents-in-suit.

   20               In your opinion, are they look substantially similar

   21    to each other?

   22    A.   The opinion that I gave was through the eyes of an

   23    ordinary observer --

   24    Q.   Uh-huh.

   25    A.   -- and, importantly, it was of the product as a whole, and
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     1   as I explained, they are substantially similar.              If we were

     2   incorrectly to focus only on one view at a time, yes, we

     3   notice differences.

     4   Q.   So do you see the ribs in the middle of the accused

     5   product?

     6   A.   Yes, I see it on the product and also in this view, yes.

     7   Q.   And are you aware there is a built-in speaker to this

     8   product?

     9   A.   Say that again?

   10    Q.   Are you aware there are built-in speaker in this

   11    hoverboard product?

   12    A.   I --

   13    Q.   Speaker.

   14    A.   I heard speaker.       The word before that?

   15                THE COURT:    Built-in.

   16    BY THE WITNESS:

   17    A.   Built-in, sorry.

   18    BY MR. CHENG:

   19    Q.   Yes.

   20    A.   Yes, I'm aware.      But, of course, that's not part of

   21    looking at the patent analysis here.

   22    Q.   Can you see the holes on the bottom of this product?

   23    A.   I see the fine holes, yes, the perforation, yes.

   24    Q.   And this speaker ventilation hole present in the prior

   25    art, in the accused -- in the one of the patents-in-suit, the
Case: 1:20-cv-04806 Document #: 620 Filed: 12/07/22 Page 100 of 180 PageID #:15619
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                                                                                     100

     1    D '723 patent?

     2    A.   No, it doesn't have holes in that location.

     3    Q.   Do you think this is a noticeable difference?

     4    A.   In the overall impression, it does not have a significant

     5    effect.     If it were there or not, the patent would still

     6    infringe.    Sorry, the accused product would still infringe of

     7    the patent.

     8    Q.   Yes.    Let's also compare the pads here, and the pads has

     9    been isolated in the picture showing on the screen.

    10                Can you see that the shape and the lines and the

    11    designs, do you think they are substantially similar?

    12    A.   Well, what's shown is not the patent, for one thing.

    13    Q.   It's one feature, yes, I agree with you.

    14    A.   No, still it's an interpretation of the patent that's gone

    15    a certain direction.       You've made some certain calls to change

    16    it in a certain way.

    17                My analysis was not -- it was based upon the patent

    18    and what the patent covers, and the analysis would be

    19    incorrect to compare it to an interpretation of that patent.

    20    Q.   Uh-huh.

    21    A.   And also the prior art is missing in this picture.

    22    Q.   So I think what confuses me is if all the features are

    23    different as acknowledged by you and the hourglass shape and

    24    the flat surface are minor features decided by the Federal

    25    Circuit, then how can the overall impression viewed on those
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     1    features substantially different -- substantially similar?

     2               MR. BERKOWITZ:      I'm just going to note my objection.

     3    This mischaracterizes his testimony.

     4               THE COURT:     The witness can correct it if he thinks

     5    he mischaracterizes it.

     6    BY THE WITNESS:

     7    A.   Yes, there were a number of things there, but I certainly

     8    didn't say that all of the features are substantially

     9    different, and I -- sorry, can you unpack that question,

    10    rephrase it?

    11    BY MR. CHENG:

    12    Q.   Sure, I guess that question has two parts.

    13               First is that the Federal Circuit noticed that the

    14    hourglass shape and the flat surface were disclosed in the

    15    prior art, so they become minor features.            And then all the

    16    other features you also acknowledged they are different from

    17    the accused products.       Then how can the overall impression

    18    viewed on those features substantially similar?

    19    A.   Because when -- again, you packed a number of somewhat

    20    untruths in there.       The Federal Circuit did not say that it

    21    was minor, is my understanding, but they did point out that --

    22    sorry, I'll move forward to your question.

    23               The overall impression is still substantially similar

    24    especially when we look to the prior art because we combine

    25    all of those details as you're referring to of the designs
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     1    together to gain the overall impression, and when we look at

     2    the '906, it's devoid of such details, like the perforations

     3    that you're pointing out very nicely right now.              The '906

     4    doesn't have them.

     5                 So it's important that we use the '906 as the basis

     6    for the comparison within infringement analysis.

     7                 MR. CHENG:   Can I have the two patents-in-suit side

     8    by side, the '723 and the '256.

     9    BY MR. CHENG:

    10    Q.   Mr. Hatch, you just mentioned previously during the direct

    11    examination that you were saying those two patents are very

    12    similar to each other.

    13    A.   They were filed at the same time, and they have many

    14    similarities, yes.

    15    Q.   And somehow separate patents were granted to both of them?

    16    A.   Yes.    One doesn't act as prior art to the other.            They

    17    came from the same inventor.

    18    Q.   So do you think the examiner acknowledged there are

    19    sufficient differences between those two patents, so separate

    20    patents were granted to both of them?

    21    A.   Yes.

    22    Q.   So --

    23    A.   Other --

    24    Q.   Sorry.    I'll let you finish.

    25    A.   But, of course, they acknowledge that one can't be prior
Case: 1:20-cv-04806 Document #: 620 Filed: 12/07/22 Page 103 of 180 PageID #:15622
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     1    art to the other because it's from the same inventor.               So I

     2    understand that would be different if they were looking at two

     3    patents from two different inventors.

     4    Q.   So if the minor difference between those two is sufficient

     5    to support the issuance of two separate patents, do you think

     6    the differences between this accused product is

     7    substantially -- is substantial and noticeable to an ordinary

     8    observer to the two patents-in-suit?

     9    A.   My understanding that's not a legal comparison, but the

    10    comparison, of course, for infringement is between the accused

    11    product in light of the prior art.

    12               These were also examined in light of the prior art

    13    and found to be substantially dissimilar, so the comparison

    14    goes back to the prior art.         We should not ignore that when

    15    conducting infringement analysis.

    16    Q.   Just a few more questions.

    17    A.   They are quite heavy.

    18    Q.   Just a few more questions.

    19               One of your prior report, and in your previous report

    20    and, you know, one example of them in Document 388 that you

    21    included four products, A, B, C, D, against the -- against

    22    four patents-in-suit, and obviously product B and product D

    23    were dropped from your most recent report.

    24               Has your mind changed considering the infringement

    25    nature that you previously included against product B and
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     1    product D?

     2    A.     No, it has not.

     3    Q.     And can you tell us why they were not included in your

     4    most recent report?

     5    A.     Because in this preliminary -- in this particular

     6    preliminary injunction, the focus is on A, C and E, and that

     7    does not include B and D, which I have included in other

     8    reports.

     9    Q.     Uh-huh.   And a little bit more on the legal standard that

    10    you proposed regarding the ordinary observer, that you

    11    mentioned that that has to be a real life purchaser with

    12    little or no experience purchasing hoverboards.

    13                Do you think that is consistent with the legal

    14    standard purported by Federal Circuit?

    15    A.     I don't see a fault with my understanding that the

    16    purchaser in this particular case would be as I described in

    17    the report.      I'm not sure where you're pointing out there's a

    18    gap.

    19    Q.     Because this hypothetical ordinary observer supposed to be

    20    conversant with all the prior arts.           Do you disagree with

    21    that?

    22    A.     That is correct.    As I showed in my diagram, we understand

    23    who the purchaser is to understand the level of acuity that a

    24    hypothetical ordinary observer would apply to their knowledge

    25    of the prior art.
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     1    Q.     If that purchaser has little or no experience purchasing

     2    hoverboards, how can you expect that purchaser to be

     3    conversant with all the prior arts?

     4    A.     The purchaser is not conversant, sorry, conversant with

     5    the entire prior art.       The purchaser is not looked at for

     6    their knowledge of prior art, but they are looked at for the

     7    acuity that they pay towards that in order to form the

     8    construct of a hypothetical ordinary observer.

     9                 You were referring only to the purchaser there.

    10    Q.     So you disagree with the legal standard that the

    11    hypothetical purchaser should be conversant with the prior

    12    art?

    13    A.     The hypothetical ordinary observer in this test is the

    14    construct we use to represent someone who is conversant with

    15    the entire relevant prior art, whereas we only look at the

    16    purchaser as an example to understand the level of acuity.

    17    Q.     I still don't get it.     Are you mixing a real live

    18    purchaser with this hypothetical ordinary observer?

    19    A.     No.   I understand the confusion.       It's quite common, but

    20    the purchaser we only look at to understand, okay, how

    21    quickly, do they give a fleeting glance to these products, or

    22    do they really tear it apart and understand things?               I've

    23    worked in both areas, and I understand there's a big

    24    difference.     You don't want to hear my tales about that.

    25                 But the hypothetical ordinary observer is not a real
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     1    person.    It is a hypothetical person that's used as a

     2    construct in this type of analysis.           The only thing that we

     3    take from the purchaser is their level of acuity.              That is my

     4    understanding.      So I'm not confusing the two.

     5    Q.   Well, my understanding -- but you do agree an ordinary

     6    observer with little or no experience purchasing a hoverboard

     7    cannot be conversant with all the prior arts?

     8    A.   No.   You are mixing the two.        So the hypothetical ordinary

     9    observer has knowledge of the prior art.            That is the

    10    construct that we use here.

    11               And the purchaser we base on real life to understand

    12    how that person goes about purchasing and what level of

    13    attention do they pay in that situation.

    14    Q.   And you're saying a low level of attention is sufficient

    15    to support this ordinary observer's knowledge of all prior

    16    arts?

    17    A.   Again, you're mixing the two things there.             The knowledge

    18    of prior art is the ordinary observer, which is a hypothetical

    19    person.

    20               You could bring up my diagram if you want.             I've gone

    21    to lengths to explain this.

    22    Q.   I've seen the diagram and that's what confused me, but

    23    thank you for your explanation.

    24               Do you understand the differences between the outline

    25    of a drawing and the shading of a drawing?
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     1    A.   As a designer, yes, I do.

     2    Q.   Okay.    I'm just going to -- this is Figure 3 of the '906

     3    patent.     I just got it printed, so it looks bigger.

     4                 Does that represent a curved bottom, the drawing?

     5    A.   It is somewhat curved, yes.         We understand that by looking

     6    at all the views.

     7    Q.   And to look at this, this is Figure 1 of the '906 patent.

     8    Do you agree this represent a flat surface from the shading of

     9    the drawing?

    10    A.   When you're pointing, you're referring to the whole body?

    11    Q.   No.    I mean this is the outline, right, and there are

    12    lines in the middle --

    13    A.   Ah, right.

    14    Q.   -- that the shading of the drawing represent a flat

    15    surface for this particular design?

    16    A.   The shading on the edges there represents that it curves

    17    on that top surface, so the top surface is not entirely flat.

    18    Q.   You're saying the top surface is not entirely flat?

    19    A.   Point to the shading that you're referring to.              Around the

    20    edges, right?

    21    Q.   No, like this is a shading.         See this straight line?

    22    A.   Yes.

    23    Q.   This is shading.

    24    A.   Yes.

    25    Q.   This is also a shading.        Does that represent a flat
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                                                                                     108

     1    surface of this drawing?

     2    A.   It -- the shading does show that there is a surface there,

     3    and we know based on the other views that it is a somewhat

     4    flat surface.     There is and can be curvature there.

     5    Q.   Sorry, can you repeat the last part?           I didn't --

     6    A.   It's a somewhat flat surface.

     7    Q.   Okay.

     8    A.   And, you know, we see shading being used here to designate

     9    curvature, where it's certainly not flat, such as at the very

    10    top of that image.

    11                 You were talking about the shading, right?

    12    Q.   I'm talking about shading, like this part.

    13    A.   Those particular lines, right.

    14    Q.   Are you saying this is flat or this is curved?

    15    A.   In looking at all the views, we know that it is, say,

    16    substantially flat --

    17    Q.   Okay.

    18    A.   -- but not entirely flat.        It's partially flat with

    19    rounded edges.

    20                 MR. CHENG:   Your Honor, I've finished my cross, but

    21    my colleague, Mr. Yao, wanted to continue the cross.               Would

    22    that be allowed?

    23                 THE COURT:   Why?   It's really -- the usual procedure

    24    is one attorney asks questions on direct, one on cross.                Why

    25    do you need to have two attorneys asking questions on cross?
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     1                 MR. YAO:   I could hand him the questions if you

     2    prefer, your Honor.       I could just hand him my questions so he

     3    can finish.

     4                 THE COURT:   What, did you divide the subject areas?

     5                 MR. YAO:   I'm sorry?

     6                 THE COURT:   Did you divide the subject areas?

     7                 MR. YAO:   Sort of, yes.

     8                 THE COURT:   How long is your cross going to be?

     9                 MR. YAO:   Probably like ten minutes max.

    10                 THE COURT:   Go ahead and do it.       No, you can do it.

    11    If these are your questions, go ahead and ask them.               But try

    12    and restrict it to one attorney on direct, one attorney on

    13    cross.

    14                 MR. YAO:   All right.    Thank you, your Honor.        I do

    15    apologize.

    16                               CROSS-EXAMINATION

    17    BY MR. YAO:

    18    Q.   Mr. Hatch, earlier during your direct examination, you

    19    examined defendants' accused product, correct?

    20    A.   I've examined the accused products, yes.

    21    Q.   Have you examined plaintiffs' own products?

    22    A.   That was not part of my analysis.          That would -- that

    23    should not be part of my analysis.

    24    Q.   Okay.    Have you -- but you did examine plaintiffs' claimed

    25    design and patents-in-suit, correct?
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     1    A.   I examined the claimed design in all of the

     2    patents-in-suit, yes.

     3    Q.   And you were -- have you examined Defendants' '857 patent?

     4    Have you examined that?

     5    A.   The '857 was not part of the design infringement, as I

     6    understand.

     7    Q.   And earlier, you indicated the ordinary observer test, it

     8    has a low -- low -- sort of low level attention, correct?

     9    A.   The hypothetical ordinary observer would apply a low level

    10    of attention to details.

    11    Q.   And in that, you also included that they would consider

    12    the price, maybe location or other different factors when they

    13    considered the products, correct?

    14    A.   No.    The purchaser would consider other factors, not the

    15    hypothetical ordinary observer as a construct.

    16    Q.   Well, aren't you confusing the ordinary purchaser with the

    17    hypothetical ordinary observer in this case?

    18    A.   No.

    19    Q.   What is your basis?

    20    A.   I --

    21    Q.   Well, because -- let me rephrase that because you did

    22    mention about if we go back to your PowerPoint real quick.

    23                Let's talk about the low level attention you were

    24    talking about.      How -- why is your understanding of a

    25    hypothetical ordinary observer different from what the Federal
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     1    Circuit has laid out in the Egyptian Goddess case?

     2    A.     My understanding aligns with the correct interpretation of

     3    that.    It's not in conflict.

     4    Q.     In your report, you quoted -- I'm sorry, not in your

     5    report.       It says:   The ordinary observer is one who is not an

     6    expert in the claimed design but rather one of ordinary -- I'm

     7    sorry -- a consumer use or the parent user each having little

     8    or no experience purchasing hoverboards.

     9                  You did write that in your declaration, correct?

    10    A.     Yes.    I think you just quoted from two separate parts.

    11    Some of that was --

    12    Q.     The second part where I said the consumer -- a consumer

    13    user or the parent of a user, each having little or no

    14    experience of purchasing hoverboards, that's your

    15    understanding of the hypothetical ordinary observer, correct?

    16    A.     That's describing the purchaser who we use to inform us of

    17    the acuity that an ordinary observer would apply.              I think

    18    that's outlined there.

    19    Q.     And then you also said that you said the ordinary observer

    20    encounters products --

    21         (Court reporter interruption.)

    22    BY MR. YAO:

    23    Q.     So in your report, you also talk about the ordinary

    24    observer also encounters products in brick-and-mortar stores

    25    like Wal-Mart, Best Buy or online stores, correct?
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     1    A.   Yes, the purchaser in real life would encounter the

     2    product in question in those situations, yes.

     3    Q.   So wouldn't you consider -- what you're saying is you're

     4    considering ordinary purchaser is the same thing as a

     5    hypothetical ordinary observer, correct?

     6    A.   That's not what I said, no.

     7    Q.   But based on -- based on this what you wrote in your

     8    declaration, you're confusing an ordinary purchaser with a

     9    hypothetical ordinary observer, correct?

    10    A.   No, I'm not confusing them.

    11    Q.   Well, you did said that they would encounter products at

    12    the, you know, brick-and-mortar stores and they would take

    13    into consideration of the price and other stuff while they

    14    were looking at the products.

    15               Doesn't that deal with more of consumer behavior and

    16    their purchasing habits, rather than looking at a product as

    17    an ordinary observer?

    18    A.   It's important to understand how the purchaser looks at

    19    the accused product.       That's not about trying to find out the

    20    habits as such but to find out with what level attention do

    21    they pay when they're looking at the products.              We seem to be

    22    stuck on the same point.

    23    Q.   Well, let's talk about the new report you submitted for

    24    this motion for preliminary injunction.

    25               You read the Federal Circuit decision, correct?
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     1    A.   Correct, yes.

     2    Q.   And you attempted to cure your deficiencies criticized by

     3    the Federal Circuit, correct?

     4    A.   In what way do you mean?

     5    Q.   Well, you did -- for example, if we go back to your

     6    previous reports for the federal injunction, all you did at

     7    least -- you grouped all the accused products together with

     8    the patents-in-suit and you called that a comparison, but,

     9    however, in this one you put -- you did Group A products with

    10    the patents-in-suit and the prior art, correct?

    11    A.   The analysis was previously done, looking at every product

    12    individually.     However, to be clear in the report, it was

    13    important to respond to the request by the Federal Circuit to

    14    clearly demonstrate each separately.           So I did that, but there

    15    was no opinion change or change of analysis.

    16    Q.   But what you did essentially is to cure the deficient or

    17    inconclusory analysis laid out by the Federal Circuit,

    18    correct?

    19    A.   No.

    20    Q.   Why would you say that?

    21    A.   I did not change my opinion.         My analysis did not change.

    22    Only the format of how I presented the work, but the exact

    23    same pictures were presented in my previous declarations.

    24    There was no curing of something that was missing.               It was

    25    more reformatting.
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     1    Q.     Well, certainly in this report, you did one comparison of

     2    Group A products with the patents-in-suit and the prior art

     3    compared to your first report, you simply group all of them

     4    together and in addition -- well, why was there a sudden

     5    change?

     6    A.     I believe we covered that.       So the analysis was exactly

     7    the same.    The format changed because in respect to the

     8    Federal Circuit, they would like to see it more clearly

     9    itemized separately or presented separately, so that's what I

    10    did.    I changed the presentation layout, but the content was

    11    all there.     The analysis was all there in the original.

    12    Q.     But in your report, you only included top and perspective

    13    view, correct, in your most recent submitted report?

    14    A.     That's also incorrect.

    15    Q.     Were you aware that expert discovery closed on

    16    October 23rd, 2022?

    17                THE COURT:    That's an argument for -- I'm sorry.

    18                That's an argument for me, not for the witness.                If

    19    you want to raise issues about whether the expert report

    20    was -- the revised expert report was timely, we can address

    21    that, but -- with the lawyers, but not with the witness.                   It's

    22    not his issue.

    23                MR. YAO:    Okay.   I don't have any further questions,

    24    your Honor.

    25                THE COURT:    All right.     Any redirect?
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     1                MR. BERKOWITZ:     No, your Honor.      Thank you.

     2                THE COURT:    Okay.    The witness is excused.        Thank

     3    you, sir.

     4                THE WITNESS:    Thank you, your Honor.

     5                THE COURT:    I'll let defendants call their witness to

     6    allow him to get on and off the stand and travel back to North

     7    Carolina.

     8                MR. CHENG:    Sure, your Honor.

     9                THE COURT:    Sir, please raise your right hand.

    10      (Witness sworn.)

    11                THE WITNESS:    I do.

    12                THE COURT:    All right, have a seat, please.

    13                JAMES GANDY, DEFENDANTS' WITNESS, DULY SWORN,

    14                               DIRECT EXAMINATION

    15    BY MR. CHENG:

    16    Q.   Hi, Mr. Gandy.      Can you give us a brief introduction about

    17    yourself and your experience as a patent examiner at the USPTO

    18    and the other relevant work experience?

    19    A.   Yes.    My name is James Gandy.       I worked at the United

    20    States Patent Office from 1972 until 2005 as a design patent

    21    examiner, as a supervisor, and as the practice specialist for

    22    the design patent technology center.

    23                Since retiring, I have been an advisor to attorneys

    24    at times on the filing of design patent applications, and I

    25    have done expert witness work in a number of cases.
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     1    Q.   And, Mr. Gandy, let's just cut into the prior art, the

     2    '906 patent here.

     3                Why do you think the D '906 patent is important for

     4    the infringement analysis in this case?

     5    A.   Mainly, I think it's because it has the overall hourglass

     6    shape.    It has the relatively flat top surface that extends

     7    over -- a relatively flat surface that extends over the main

     8    body of the top of the design, and also it shows the same

     9    substantial contour to the front and rear surfaces of the

    10    hoverboard that is claimed in the two design patents.

    11    Q.   And what about the wheels, the fenders, the things the

    12    Court asked -- is there any difference between a feature that

    13    was claimed by a design patent and a feature that was

    14    disclosed in a design patent as the wheel cover in this case?

    15    A.   It's always been my understanding that a design patent can

    16    be used for everything that it discloses, not only the subject

    17    matter that's claimed, but also whatever might be shown in

    18    broken lines as part of the article in which the design is

    19    embodied.

    20    Q.   So in other words, the -- what the effects of this wheel

    21    cover that was disclosed in the '906 patent, how is that

    22    relevant to the infringement analysis?

    23    A.   Well, it's relevant in that it does show that you can have

    24    a wheel cover, an arcuate-shaped wheel cover over the wheels

    25    of the hoverboard.
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     1               THE COURT:     What's an arcuate-shaped wheel cover?

     2    Speak into the microphone.

     3    BY THE WITNESS:

     4    A.   It would be like a semicircular shape or curved shape, a

     5    rounded shape.

     6               THE COURT:     Arcuate I have never heard before.

     7               THE WITNESS:     I've used the term arcuate many times

     8    in my career at the Patent Office.

     9               THE COURT:     I've used it never in my career.

    10               Go ahead.

    11    BY MR. CHENG:

    12    Q.   And from comparing the '906 patent to the two

    13    patents-in-suit, what can we -- why should we even compare

    14    those two, the prior art with the two patents-in-suit?

    15    A.   Well, I think it's because the prior art, the '906 patent

    16    basically shows substantially all of the general features that

    17    are in the two design patents that are in this case, that is,

    18    the hourglass shape, the relatively flat top surface across

    19    the main body, as well as the contour of the front and rear

    20    surfaces and also wheel covers over the wheels.

    21    Q.   And to your opinion, are those features relevant to

    22    infringement analysis?

    23    A.   I think based on what the recent CAFC decision said is

    24    that they become background information, but then once they're

    25    shown in the prior art, you have to look at other features for
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     1    the purpose of determining whether the claimed design and the

     2    alleged infringing products are not similar.

     3    Q.   So essentially you're saying different features should be

     4    given different weight or value in infringement analysis?

     5    A.   Well, I think the features that are shown in the prior art

     6    no longer become the primary features for the purpose of

     7    determining infringement.

     8               Again, I think, you know, the CAFC clearly set that

     9    out that they become more background features and that now you

    10    have to look at other features of the claimed design and the

    11    alleged infringing products to determine whether they are

    12    sufficiently close to be considered infringing.

    13    Q.   Is there any comparison you wanted to show us that will

    14    demonstrate the other feature that you just mentioned?

    15    A.   Yeah, sure.     I think if you want to pull up the -- one of

    16    the two design patents, as well as the three Gyroor products

    17    that are alleged to be infringing, we can look at them and

    18    compare them.

    19    Q.   Do you want to -- an overlay?         What slides do you want?

    20    A.   Well, we can start with the top plane views.

    21    Q.   Of the --

    22    A.   Of the -- one of the two design patents.            It doesn't

    23    matter.    It can be either one.        And then the three Gyroor A, C

    24    and E.

    25    Q.   Yes, so let's just do -- like the picture in front of you?
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     1    A.   Yeah, yeah.     I mean if we want to look at the top plan of

     2    what would be the Gyroor A in the prior art and the D '723

     3    patent, if the hourglass shape and the relatively flat surface

     4    across the top of the main body of the design become more of

     5    background, you have to look at what the other features are in

     6    that view that would show that they were either substantially

     7    similar or substantially different over the -- over the

     8    claimed design, the '723 design patent.

     9                In this instance, I think what you would have to look

    10    at is the foot pads and the difference in the shape and the

    11    surface treatment.       The surface pattern on the foot pads I

    12    think become more important in determining whether they're

    13    substantially similar or substantially different.

    14                Also, if we look at the front views of those three of

    15    the prior art, '906 prior art with D '723 patent, what I was

    16    saying about the front view, that the contour, the shape and

    17    contour of the front surface in the prior art and D '723

    18    patent are substantially the same, whereas in the Gyroor A

    19    hoverboard, it actually is different because the center

    20    portion of the top surface actually drops down below the foot

    21    pads on each end, which creates a different visual impression.

    22    Q.   You're talking about the middle here --

    23    A.   Yes.

    24    Q.   -- for the contour?

    25    A.   Yes, and because of that recess, when you look at the '906
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     1    prior art and you look at the D '723 design in the top view,

     2    the surfaces across the entire hoverboard appear to be

     3    continuous, appear to be just a continuous surface, whereas in

     4    the Gyroor A hoverboard, because the center portion is

     5    recessed, you get a distinct visual impression of the foot

     6    pads, the opposing foot pads, which are raised up above it.

     7    You don't get this continuous smooth transition from one side

     8    to the other like you do in the '906 prior art and the D '723

     9    patent.

    10               As we go along here, what I want to go ahead and

    11    indicate because, you know, you might start thinking, well,

    12    you're picking out, you know, different features.

    13               Well, when you're looking at the -- comparing the

    14    overall appearance of an alleged infringing product and the

    15    claimed design, it's all of the features on all of the

    16    surfaces that are being claimed that have to be looked at and

    17    considered as a whole in making a determination as to whether

    18    they have a similar appearance or a dissimilar appearance.

    19               So if I'm pointing out features on one surface or

    20    another surface, what I'm looking at is combining them

    21    all together is what you consider when determining whether

    22    there's infringement.

    23    Q.   So you do think analysis between different features is

    24    important to form the overall impression of --

    25    A.   Yes, I do.     I don't think the infringement analysis is
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     1    that much different than the patentability determination

     2    analysis.

     3                 When you're determining patentability of a claimed

     4    design in an application, you're looking at all of the

     5    features that make up that overall appearance and compare them

     6    to the prior art to determine whether that overall appearance

     7    is distinct over the prior art.          You have to consider all of

     8    the features that make up the claimed design.

     9    Q.   And as you previously mentioned, some features should be

    10    given more weight and some features should be given less

    11    weight depend on whether or not they were disclosed in the

    12    prior art?

    13    A.   Yeah.    I think if it's disclosed -- if features are

    14    disclosed in the prior art, they become less relevant with

    15    regards to the question of infringement.            At least that's what

    16    the CAFC certainly seemed to be saying, and they did say then

    17    you have to start looking at other features as to whether they

    18    distinguish one over the other.

    19    Q.   And two more questions on this slide.

    20                 Why should the bottom view matter?         Because, you

    21    know, when people stand on this hoverboard, they don't usually

    22    see the bottom of the hoverboard.

    23    A.   Yeah, well, that's normally the case, but in this fact or

    24    in this case, the design, the claimed design in the '723

    25    patent was claiming the bottom as part of the ornamental
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     1    design.

     2               And whatever you're showing in solid lines and you're

     3    claiming as part of your design, you have to consider them for

     4    the purpose of, you know, infringement.

     5               So in this instance, even though the bottom might not

     6    normally be visible, clearly the bottom of the Gyroor A

     7    hoverboard has features on it that are different than the

     8    prior art and the D '723 patent.

     9               The prior art and the D '723 patent are substantially

    10    plain, they have like a rounded surface, but they have no any

    11    kind of ornamentation on them, whereas the Gyroor and A

    12    hoverboard does.

    13               THE COURT:     Does any of your analysis deal with

    14    functionality?      Does that have any role from this injunction

    15    hearing?

    16               THE WITNESS:     No, no.     If what's being claimed in

    17    solid lines as the ornamental design, that would have to be

    18    considered ornamental and not functional.

    19               THE COURT:     That would be considered that or is part

    20    of the analysis whether that acts as a -- in a functional way

    21    and has to be disregarded?

    22               THE WITNESS:     No, I don't -- I don't agree with that.

    23    I think that when you're dealing with potentially the issue of

    24    functionality in design patent, if you can show that something

    25    can be done in different ways and have a different appearance
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     1    and still perform the same function, then it would have to be

     2    considered clearly primarily ornamental rather than primarily

     3    functional.

     4               THE COURT:     All right.     Thank you.

     5    BY MR. CHENG:

     6    Q.   And Mr. Hatch also mentioned that D '906 patent doesn't

     7    have foot padding.       However, the D '723 patent had the foot

     8    padding, and because '723 has the foot padding and the accused

     9    product A have the foot padding, they are somehow closer to

    10    each other.

    11               Do you agree with that analysis?

    12    A.   No.   I don't agree with that because what we have to look

    13    at in this instance is the '906 prior art design patent was

    14    the first hoverboard ever invented.           So hoverboards that would

    15    be designed after that may have additional features on them

    16    that are not in the prior art, and if it's not in the prior

    17    art, what's considered the best prior art reference, that

    18    doesn't mean that the alleged infringing product is -- is

    19    infringing the claimed design, in this instance '723.

    20               You have to look.       Once you see that there are

    21    features that are not in the prior art, then you have to start

    22    evaluating those features between the alleged infringing

    23    product with the claimed design, in this instance, the '723

    24    patent.

    25    Q.   So you're saying the idea of adding the foot pad is not
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     1    protected by the D '723 patent?

     2    A.   Could you rephrase that?

     3    Q.   Sorry.    So you're saying the concept of putting a standing

     4    pad on the D '23 patent as an improvement from the '906 patent

     5    is not protected by the D '723 patent?

     6    A.   Well, I mean, it's not protected in the sense by itself.

     7    It's part of the overall design of the '723 hoverboard, so

     8    it's part of the ornamental design that's being claimed.

     9    Q.   Is the idea being claimed?

    10    A.   No, no, it's the -- it's the appearance, the shape and

    11    appearance.

    12                What's being claimed in a design patent is the shape

    13    and appearance of a design embodied in an article of

    14    manufacture.     So all of the features that would be shown in

    15    the design in solid lines are considered part of the

    16    ornamental design being claimed for an article of manufacture.

    17    Q.   And the D '723 patent have a different design with the --

    18    compared with accused product A on the top surface?

    19    A.   Yes.   As I indicated before, visually when you look at

    20    the '723 design patent and the prior art, '906 patent, they

    21    have what appears to be from right to left a continuous

    22    surface that is uniform, whereas in the Gyroor A hoverboard

    23    because the center portion is recessed, it creates this visual

    24    distinction of two opposing foot pads that are not continuous

    25    with the center portion.
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     1    Q.   And is that noticeable to an ordinary observer?

     2    A.   I think it would be.

     3    Q.   And the front view, aside from that what you mentioned has

     4    the contour of the accused products is different, is there

     5    anything else that would separate the accused product A from

     6    the D '723 patent?

     7    A.   Yeah, yeah.     I mean, the lights on the front surface

     8    clearly have a distinct appearance over the lights that are

     9    shown on the '723 patent.

    10               And, again, because the contour of the front and rear

    11    surfaces in the '723 patent are shown in the '906 prior art

    12    patent, they become more background features, and so you have

    13    to look at the other features that might be on that surface as

    14    having relevance to the question of infringement.

    15               And in this instance, the lights on the Gyroor A

    16    hoverboard are very narrow, elongated, rectangular-type shape,

    17    whereas the lights on the '723 patent are more almost like a

    18    parallelogram shape.

    19               THE COURT:     The lights on the '723 --

    20               THE WITNESS:     The '723 are more like a parallelogram

    21    shape.

    22               THE COURT:     You're looking at Figure 3.

    23               THE WITNESS:     Figure 3, yes.

    24               THE COURT:     It's the -- looks like an oval with a

    25    line bisecting or at an angle across it; is that correct?
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     1                 THE WITNESS:   Right.

     2                 THE COURT:   Okay.    That's what the lights are

     3    represented as in the '723?

     4                 THE WITNESS:   Right, yes.

     5                 THE COURT:   All right.

     6    BY MR. CHENG:

     7    Q.   And this one shows kind of half of the hoverboard top

     8    design together with the fender.          How significant do you think

     9    the shape of the fender affects the overall perception of an

    10    ordinary observer?

    11    A.   Oh, I think it has a significant impact on the overall

    12    appearance.     I don't think -- I don't see how, in my opinion,

    13    when you look at these two, I think the difference in the

    14    shape of the fenders just jumps right out at you.              I don't see

    15    how you can say that they're insignificant.

    16    Q.   Okay.    And so to the extent, I think Mr. Hatch used the

    17    term overall appearance without getting to the detailed

    18    analysis, do you think that is consistent with the Federal

    19    Circuit's opinion?

    20    A.   No, I don't.     Mr. Hatch's statement that just broadly

    21    stating that the overall appearance between the claimed

    22    hoverboard and the accused products are not clearly dissimilar

    23    is just a -- I don't see where he has any support for making

    24    that statement.      He hasn't identified what it is that makes

    25    them not dissimilar.
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     1    Q.   Isn't the overall perception sufficient to support the

     2    finding of the differences?

     3    A.   Yeah, I mean, you're making the determination based on the

     4    overall appearance, but you're making that based on -- the

     5    overall appearance based on all of the features that make up

     6    the entire design.

     7    Q.   So in your opinion, just to the term overall experience

     8    without getting into the features is insufficient to support a

     9    finding of substantial similar or substantial dissimilar?

    10    A.   Yeah, I think it's just a subjective, you know, statement

    11    without having any support as to what are the features that

    12    you're relying on to say that they're dissimilar.

    13               MR. CHENG:     Can we look at the pink one, the product

    14    C?

    15    BY MR. CHENG:

    16    Q.   And the reason I brought up this one is because opposing

    17    party, plaintiffs have mentioned that this product looks more

    18    similar since -- this is product C -- the cover is kind of

    19    extended over the wheel; but in your opinion, is this

    20    substantially similar to the D '723 patent?

    21    A.   No.   Again, I think, you know, you have to take more than

    22    just the wheel covers.        I mean, yes, the wheel covers on the

    23    Gyroor C are more rounded, but they actually are wider and

    24    they have a flatter appearance on the top, whereas the '723

    25    design patent, the wheel covers actually have a curvature to
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     1    them.   So there are some differences between the wheel cover

     2    in the Gyroor C and the D '723 design patent.

     3                 And, again, when you're looking at all of the

     4    features that are on the Gyroor C and the D '723, particularly

     5    again in the top view.        As I said, the '723 kind of has this

     6    continuous, what appears to be just this continuous surface

     7    from right to left, whereas the -- in the Gyroor C, you again

     8    have a recessed center area so that the opposing pads appear

     9    to be separate from the center portion.            It's not a continuous

    10    flow to it.

    11                 And also in the center area on the top surface of the

    12    Gyroor C, you have these almost boomerang-shaped features that

    13    are not shown in the D '723 patent that contribute to the

    14    appearance of as you're looking at it.

    15    Q.   When you say the recessed area, are you referring to this

    16    portion of the neck, kind of the hourglass?

    17    A.   You mean the recess?

    18    Q.   Yeah.

    19    A.   Yeah, yeah.

    20    Q.   From which angle?

    21    A.   I'm sorry?

    22    Q.   From which angle you were referring to?

    23    A.   From the top view.

    24    Q.   From the top view.

    25    A.   From the top view.       Also from the side view, from the
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     1    front view, you can see the recess.

     2    Q.   So you're saying that the metal is curved inside instead

     3    of bulged like in the prior art?

     4    A.   Yeah, the '906 prior art and the D '723 patent show a

     5    convex contour in the center area, whereas the Gyroor C

     6    hoverboard has a recessed surface, and this creates a distinct

     7    appearance not only in the top but also when you look at it

     8    from the front or the rear.

     9                Again, you can see that the two end portions, the

    10    foot pads, are separate from the center portions.              There's no

    11    continuous flow to them.

    12    Q.   And I think from the same slides, the bottom view, you

    13    will have the same view as the product A that --

    14    A.   Yes.

    15    Q.   -- the ventilation, the speaker holes and the metal ribs

    16    are also different from the --

    17    A.   Yeah, yeah, I mean, you have the ribs on them, and you

    18    also have this just on the outside of where the center rib

    19    portion, you have this arc, this rounded, this rounded

    20    recessed edge that then defines the outer surfaces where you

    21    have the perforated openings.

    22                So whereas the '906 prior art and the D '723 design

    23    patent, they have no ornamentation to them at all as far as

    24    any details that -- like ribs or perforations.              They're just

    25    basically a plain surface.
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     1    Q.   Okay.    And is there anything else within this product C

     2    that you think a feature might separate the product from --

     3    A.   Well, same thing in the front you have the lights.               The

     4    lights, again, have a completely different appearance in the D

     5    '273 design patent, and they actually are recessed in so you

     6    kind of get this -- this separation between the upper surface

     7    and the lower surface that's created by these recessed lights.

     8    Again, that has a visual impact on the overall appearance.

     9                 THE COURT:    The ribs you're talking about are on the

    10    underside on either side of the center perforation?

    11                 THE WITNESS:    On the bottom.

    12                 THE COURT:    On the bottom, right.

    13                 THE WITNESS:    Yes, yes.

    14                 THE COURT:    And on each side of that little --

    15                 THE WITNESS:    Yes, yes.

    16                 THE COURT:    -- separation --

    17                 THE WITNESS:    Right, right.

    18                 THE COURT:    -- that's on the picture?

    19                 Okay.

    20    BY MR. CHENG:

    21    Q.   Let's do the other part, and we'll just go through this

    22    very quickly.        They're kind of similar.

    23                 As we have the slides here, do you -- yes, just go

    24    through the similarity and differences in your opinions.

    25    A.   Okay, yeah.
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     1                Again, pretty much the same type of situation.             The

     2    top plan view, the Gyroor E, the center area is recessed.

     3    Again, when you look at it, you can see it more when you're

     4    looking at it in front, the front view, just below the top

     5    plan view, you can see where it's recessed.             And, again, it

     6    creates this visual distinction of not being a continuous top

     7    surface like the prior art, the '906 prior art and the D '723

     8    design patent.

     9                But, again, also the foot pads have a different

    10    shape.     They have a different surface pattern to them that

    11    creates a different visual appearance along with the recessed

    12    center area.     When you take all of these together, you get --

    13    you create this different visual impression.

    14    Q.   It has like a more round edge towards the center.              Does it

    15    matter for your analysis?        Like the foot padding, it's not as

    16    pointy as product A or --

    17    A.   Right, right, but it still has a different contour than

    18    the foot pads in the D '723 patent.           Along with the surface

    19    pattern on it and the different shape in the peripheral shape

    20    of the pads, that, to me, has a significant visual

    21    distinction.

    22    Q.   And the front lighting is not recessed as product A or

    23    product C and looks thicker.         Does that change your analysis?

    24    A.   No.    It doesn't change my analysis as far as, again,

    25    creating a different visual appearance from the front and the
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     1    D '723 design patent, the lights on the front surface in the

     2    Gyroor E are clearly different in their shape and appearance

     3    than the lights shown in the D '723 patent.

     4    Q.   And the light is on one side of this product instead of

     5    the other products, the light is on both sides, but this one's

     6    only on one side.      Does that change -- does that change your

     7    analysis?

     8    A.   No.    It doesn't change my analysis from an overall

     9    standpoint.     It's just that in this particular product, the

    10    Gyroor E, the front rear surfaces are not identical as they

    11    were in the A and C hoverboards.

    12    Q.   Then the bottom, I mean, the ventilation or the speaker

    13    holes are significantly smaller than the other two products.

    14    Also have ribs.      Do you still consider the bottom view as

    15    significantly different from the D '27 patent?

    16    A.   Yeah, I mean, if you just look at the bottom surface, it

    17    certainly last a different look to it when you're considering

    18    the ribs and the center part and the recessed ridge that

    19    defines the outer edge of them, along with the perforations.

    20    Clearly, you know, these are all features.

    21                And what you're talking about as part as

    22    functionality, they could be considered to be -- to have a

    23    function, but they can be done in many different ways, and so

    24    I would have to consider them more primarily ornamental rather

    25    than primarily functional, and I think they have -- you have
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     1    to consider, since the bottom is claimed in the D '723 design

     2    patent, you have to consider that as part of the analysis of

     3    infringement.       So you have to look at the bottom surface of

     4    the alleged accused infringing product.

     5    Q.     Kind of catch the switch.

     6    A.     I guess the other thing is, again, the wheel covers on

     7    these are different than the wheel covers on the D '723.

     8    They're almost a pentagon -- not pentagon shape, trapezoidal

     9    shape with a flat top surface, then they flare out on each

    10    side, whereas the wheel covers on the D '723 patent are

    11    rounded.

    12    Q.     Okay.    And that is the way the D '723 patent.         Although

    13    they're very similar, the D '723 patent with the other one,

    14    the A 25 -- is it A 25?        Can we show the slides of the other

    15    patent-in-suit?

    16                   THE COURT:   Off the record.

    17         (Discussion held off the record.)

    18                   THE COURT:   Back on the record.

    19    BY THE WITNESS:

    20    A.     That's the '256.     Yeah, that's the one you want, isn't it?

    21    That's the other design patent?

    22    BY MR. CHENG:

    23    Q.     The other design patent.      We can just use this one.

    24                   I mean, you do see the '723 and the '256 patent, they

    25    have slightly different design.          Does that change your
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     1    opinion, the overall analysis that you did?             When we're

     2    switching the '723 patent to the '256 patent, does that change

     3    your analysis?

     4    A.   I don't quite understand what you're asking.

     5    Q.   Sorry.    What we just did was compared the accused products

     6    with '723 patent in light of the '906 patent.             If we're

     7    switching the '723 patent-in-suit to this '256 patent, does

     8    that change your analysis?

     9    A.   No.   I would consider the analysis to be virtually the

    10    same.

    11    Q.   And one last question.        When you did your analysis, you

    12    didn't see the actual products but based your analysis on the

    13    pictures of the products and the patents; is that correct?

    14    A.   Yes, that's correct.

    15    Q.   And does that affect your opinion --

    16    A.   No.

    17    Q.   -- without seeing the actual product?

    18    A.   What I kind of felt strange about being criticized about

    19    that in my report is I thought that we don't see actual

    20    products that are submitted to the Patent Office in design

    21    patent applications.       All our determinations on patentability

    22    of a design patent are based on drawings or photographs

    23    compared to the prior art, which are usually patents or

    24    publication photographs.

    25               So I don't see where having to have the actual
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     1    product is going to preclude you from being able to make a

     2    proper analysis.      We do that -- we did that or I did that and

     3    the Patent Office does that every day in design patents.

     4    Q.    Just look at the pictures?

     5    A.    Just looking at pictures.

     6                MR. CHENG:    I have no further questions, your Honor.

     7                THE COURT:    All right, cross-examination.

     8                Before you start though, I had made a comment earlier

     9    about does plaintiff practice their patent so they have a

    10    hoverboard that looks just like the patent.

    11                I realize on reflection, that's not really the

    12    analysis.    The analysis is whether or not the defendants'

    13    products infringe your patents, not whether your product

    14    matches their product or there's a difference because that's

    15    really not the infringement analysis we're supposed to engage

    16    in.

    17                So I mused earlier, but I probably should have done

    18    it off the record, but it's not an important -- it's not even

    19    a factor I can consider because that's not the analysis I have

    20    to engage in.

    21                Cross-examination.

    22                               CROSS-EXAMINATION

    23    BY MS. STURM:

    24    Q.    Good afternoon, Mr. Gandy.

    25    A.    Good afternoon.
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     1    Q.   So can you -- in your over 30 years of experience in the

     2    Patent Office, did you conduct any infringement analyses?

     3    A.   No, no, that's not what -- that's not what you do at the

     4    Patent Office.

     5               However, as a patent examiner, as a supervisor and a

     6    practice specialist, I always was looking at what decisions

     7    were coming down based on patentability or infringement by the

     8    district courts or the Federal Circuit.

     9    Q.   So you would say the legal standard for patentability that

    10    you applied in the Patent Office is different than the legal

    11    standard that you would apply here in your analysis of

    12    infringement?

    13    A.   Yeah, there is a difference.         Yeah, there's a difference.

    14    What I would go ahead and indicate to you though is that when

    15    you're determining patentability under 35 U.S.C. 102

    16    anticipation, the standard is the ordinary observer, same as

    17    what it is in infringement, but the difference in infringement

    18    is the ordinary observer is familiar with the prior art.

    19    Q.   Right, and --

    20    A.   So there is some similarity when you're coming to -- when

    21    you're determining the patentability on anticipation.

    22    Q.   Correct, and back just to the ordinary observer point, you

    23    would say that the ordinary observer in this case is a

    24    potential purchaser of hoverboards, correct?

    25    A.   That's correct.
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     1    Q.   And you have no experience as a product designer; is that

     2    correct?

     3    A.   I don't have any experience as a product designer, but I

     4    do have experience as an architectural designer.              I've

     5    designed two houses and had them built since I've retired, and

     6    I've designed furniture for my house.           So I have done a lot of

     7    designing.

     8    Q.   So does any of that design work, did that help you in your

     9    analysis for the design of hoverboards?

    10    A.   Well, again, my background is an architectural design

    11    person, so I clearly have a lot of design experience just from

    12    my education.

    13    Q.   And your experience in infringement analysis is -- has

    14    been solely been as a testifying expert; is that correct?

    15    A.   I'm sorry, could you repeat that?

    16    Q.   Yeah, let me rephrase that.         Sorry.

    17               So you have no experience in conducting infringement

    18    analyses other than as a testifying expert; is that correct?

    19    A.   Yes, that's correct.       Yeah, I've testified in the past on

    20    infringement issues, but not when I was a patent examiner.

    21    Q.   All right.     So let's turn -- just going to ask -- so you

    22    did not review any physical examples of the accused products

    23    prior to preparing your report --

    24    A.   That's correct.

    25    Q.   -- in this case; that's correct?
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     1                And all of the photos that you included in your

     2    report were provided by defendants' counsel; is that correct?

     3    A.   That's correct.

     4    Q.   So looking at the patents, I guess the '723, you would say

     5    that the '723 patent has raised foot pads; is that correct?

     6    A.   I'm sorry, has what?

     7    Q.   Has raised foot pads?

     8    A.   Yes.

     9    Q.   Yes.    And you would say the same for the '256 patent?

    10    A.   Yes.

    11    Q.   Are you aware of any other prior art patents with raised

    12    foot pads?

    13    A.   I haven't looked at any.        I mean, there may be, but I

    14    haven't looked at any as far as pointing out whether this has

    15    been done maybe in patents or hoverboards that were patented

    16    prior to these two.

    17                THE COURT:    By raised foot pads, do you mean the foot

    18    pads have grooves in them, or do you mean they're higher than

    19    the center of the -- you testified earlier the foot pads

    20    appear higher than the center, at least on the --

    21                THE WITNESS:    On the accused products.

    22                THE COURT:    -- on the accused products.

    23                THE WITNESS:    Right.

    24                THE COURT:    And you just said there are raised foot

    25    pads in these patents.        Are you referring to the grooves on
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     1    the foot pads?

     2               THE WITNESS:     No, the foot pads themselves are

     3    actually raised, and then you have a pattern of ribs on the

     4    top surface of the foot pads.

     5               THE COURT:     Okay.    Maybe we'll get to that with

     6    pictures, side-by-side pictures.

     7    BY MS. STURM:

     8    Q.    And so you didn't consider any other prior art that had

     9    raised foot pads in your analysis; is that correct?

    10    A.    That's correct, yeah.

    11    Q.    And did you want to just take a look at those?             Let's look

    12    at the front view of the '256.

    13               So you're --

    14               THE COURT:     I see.    I'm sorry to interrupt you.

    15               MS. STURM:     No, you're good.

    16               THE COURT:     Are you talking about the slightly

    17    elevated foot pads as you look at it from the cross -- from

    18    the side view?

    19               MS. STURM:     Correct.

    20               THE COURT:     And that's what your testimony related

    21    to.

    22               THE WITNESS:     Yeah, yeah, right.

    23               THE COURT:     Just want to make sure I understand.

    24               THE WITNESS:     I think with the Gyroor products, when

    25    I'm referring to the foot pads being raised, the center area
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     1    is recessed, but not only is the foot pad raised, but the

     2    actual pads themselves are also raised --

     3                  THE COURT:   Okay.

     4                  THE WITNESS:   -- on those surfaces.

     5                  THE COURT:   Thanks.   Thanks for clarifying that.

     6    BY MS. STURM:

     7    Q.     And you would say that the '723 patent has fenders over

     8    the wheels; is that correct?

     9    A.     Yeah, I don't have the '723 up here.

    10                  Okay.   Yeah, go ahead.

    11    Q.     So you would say that the '723 patent has raised -- sorry,

    12    has fenders; is that correct?

    13    A.     Yes.

    14    Q.     And the same for the '256; is that correct?

    15    A.     Yes.

    16    Q.     Are you aware of any prior art patents that have fenders?

    17    A.     Other than what's showed disclosed in the '906, I haven't

    18    looked -- I mean, as far as my -- what I was retained for

    19    here, I have not done any searching to see whether there's

    20    other prior art patents out there that may have this.               I'm

    21    just looking at what was presented to me and the '906 prior

    22    art.

    23    Q.     So you would say that none of the prior art patents that

    24    were cited on the face of both the '256 and the '723, none of

    25    those patents had fenders; is that correct?
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     1    A.   I'd have to look at them again.          I couldn't recall right

     2    offhand whether they did or not.

     3                 Okay.   Actually, the '991 does, the D 647,991.

     4    Q.   And you could tell that from a perspective view?

     5    A.   Sure.

     6    Q.   And would you say that the '723 patent has lights on the

     7    front -- or what we could say is the front of -- front figure

     8    of the patent?       I think it's Figure 6 -- yeah, if you want to

     9    go -- sorry.

    10    A.   Does it have lights on it?

    11    Q.   Yes.

    12    A.   Yeah.    Yes.

    13    Q.   And you would say the same for the '256?

    14    A.   If you can pull it up.

    15                 Okay.   Yeah.

    16    Q.   And, again, are you aware of any prior art patents with

    17    lights, including lights on them?

    18    A.   Not that I'm aware of.

    19    Q.   And did you consider the '857 patent in your analysis,

    20    defendants' patent?

    21    A.   No.    No, I didn't.

    22    Q.   And did you consider any other later-filed patents in your

    23    analysis?

    24    A.   No.

    25    Q.   So do you agree that later-filed patents are irrelevant to
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     1    your infringement analysis?

     2    A.   Later-filed patents, you mean after the issue date of

     3    the '256 and the '723?

     4    Q.   That's correct.

     5    A.   Well, they wouldn't be considered prior art to theirs.

     6    Q.   So in a sense, they wouldn't be relevant to your

     7    infringement analysis; is that correct?

     8    A.   I would have to say that's correct because they wouldn't

     9    be prior art.

    10    Q.   You're aware that defendants have engaged multiple

    11    infringement experts in this case, correct?

    12    A.   You mean multiple cases?

    13    Q.   No, in this case, are you aware that -- or you are aware

    14    that defendants have engaged multiple infringement experts,

    15    correct?

    16    A.   Yes, I am.     I'm sorry, I didn't quite understand what you

    17    were asking.     Yes, I am.

    18    Q.   All right.     And you were not aware of that prior to your

    19    deposition of October 2022 earlier, correct, when --

    20    A.   That's right.     I -- I know that they have another expert,

    21    but I've never had any contact with that person.

    22    Q.   Correct.    And just to clarify, that was plaintiffs'

    23    deposition of you in October of 2022 that you first learned of

    24    the other expert defendants have retained?

    25    A.   I think I knew that they had one, but, like I say, I've
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     1    never had any contact with him.          I've never discussed him with

     2    the attorneys for the defendant.

     3                 MS. STURM:   I would like to admit into evidence the

     4    deposition transcript from October 26, 2022, as Plaintiffs'

     5    Exhibit 4.

     6                 THE COURT:   Any objection?

     7                 MR. CHENG:   No objections.

     8                 THE COURT:   Admitted.     Admitted without objection.

     9      (Plaintiffs' Exhibit No. 4 was received in evidence.)

    10          (Document tendered to the Court.)

    11                 THE COURT:   Thank you.

    12    BY MS. STURM:

    13    Q.   So if you could please turn to page 16, line 16.

    14    A.   Page 16, line 16?

    15    Q.   That's correct.

    16    A.   Okay.

    17    Q.   And when asked if you knew whether defendants had retained

    18    any other experts in this case, you testified that:               "I'm not

    19    aware of that"?

    20    A.   I said that.

    21    Q.   "I have not been told that."         Is that correct?

    22    A.   That may be the case.       I just don't remember.        I thought I

    23    had learned about it before then.          Maybe it was after that.

    24    Q.   So you have not reviewed any expert reports from

    25    defendants' other expert; is that correct?
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     1    A.   No, I have not.      As I said, I've had no contact.          I've

     2    never seen anything from the other expert.

     3    Q.   So you were previously testifying up here that the foot

     4    pads make the most impression of -- have the most -- the foot

     5    pads have more of an impact on the overall visual impression;

     6    is that correct?

     7               Let me rephrase that.        Sorry.

     8               When you said -- you had previously testified that

     9    the foot pads make more of an impression on the overall visual

    10    appearance of the hoverboards; is that correct?

    11    A.   I said that in light of what the prior art shows with

    12    respect to the hourglass, and, again, based on what the CAFC

    13    said when you have the prior art shows what would be a

    14    dominant feature like the hourglass and it's in the prior art,

    15    it becomes more of a background.          So then you have to start

    16    looking at other features, and what I said is I think the foot

    17    pads then become a very dominant feature.

    18    Q.   So you would say that you're looking at these features in

    19    isolation; is that correct?

    20    A.   No, no.    I'm always looking at them based on the overall

    21    appearance.

    22               As I indicated earlier when I started out, when I

    23    talk about all these individuals, individual features, that's

    24    part of the whole analysis from an overall appearance

    25    standpoint.     You have to look at all of the features as a
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     1    whole.    That's what determines what the overall appearance

     2    looks like.

     3                MS. STURM:    Thank you, Mr. Gandy.

     4                Thank you, your Honor.       I have no further questions.

     5                THE COURT:    Any redirect?

     6                MR. CHENG:    Yes, your Honor.      Just a few questions.

     7                THE COURT:    All right.

     8                              REDIRECT EXAMINATION

     9    BY MR. CHENG:

    10    Q.   One thing I want to clarify, the D '906 patent was filed

    11    before the other two patents-in-suit but was granted

    12    afterwards.

    13                Does that change the fact the D '906 patent is still

    14    a prior art to those two patents-in-suit?

    15    A.   Yes, having an earlier filing date, so it would be

    16    considered prior art.

    17    Q.   So '906 is still the prior art?

    18    A.   Yes.

    19    Q.   And if -- I mean, without looking into other potentially

    20    relevant patents, if the two patents, '723 and '256, if they

    21    were the first design patent to have foot padding on them, was

    22    that idea of adding foot padding protected by those two design

    23    patents?

    24    A.   Well, the claim to a design patent goes to the overall

    25    appearance of design, not to any individual elements.               So, I
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     1    mean, if you put foot pads, since they were the first ones to

     2    put foot pads on a hoverboard, that would be, you know, a

     3    potentially new feature on the hoverboard.

     4                But the claim again would be directed to the overall

     5    appearance of the hoverboard.         You don't get protection on

     6    individual parts in a design patent.

     7    Q.   So the idea of whether or not there is a foot padding

     8    added into later products are not protected, we are really

     9    looking at the design or the shape or the lines or the figures

    10    of those foot paddings?

    11    A.   I'm sorry, could you rephrase that?

    12    Q.   Sorry.

    13                So I guess the design concept of having a foot pad is

    14    not protected by the design patent, but really the look, the

    15    appearance of those foot padding should be considered --

    16    A.   Yes.

    17    Q.   -- in infringement analysis?

    18    A.   Sure, sure.

    19    Q.   And it's the same for whether or not there were lighting

    20    added to a later design patent.          The idea of having a light to

    21    the new patent is not protected.          We should really look at the

    22    shape or the position or the size of the light instead of the

    23    concept of having a light?

    24    A.   Yeah, that's right.       In those two patents, they had lights

    25    on them, but when you've got later filed -- you got later
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     1    designs, not necessarily filed for patent, but you have later

     2    designs that also may include lights, if those lights have a

     3    different appearance, shape to them, then, you know, that

     4    would be a difference.

     5    Q.   And just to summarize that, can you, in a very plain term,

     6    explain the difference between the appearance and the concept,

     7    the design concept, which --

     8    A.   Well --

     9    Q.   Okay.

    10    A.   -- you don't get design patents on a concept.             You get

    11    design patents on the actual specific shape and appearance to

    12    an article of manufacture.

    13                 So when you're making a reference to design concept,

    14    you don't -- design patents don't cover design concepts.                   They

    15    cover specific shapes and appearance to a new design embodied

    16    in an article of manufacture.

    17    Q.   And when we're talking about shape and appearance, we're

    18    talking about, like, what would constitute as the shapes and

    19    appearance?

    20    A.   Well, in this instance, if you're claiming as in the two

    21    patents basically the overall appearance of the hoverboard,

    22    obviously some of the features were in broken lines, but all

    23    of the parts that are in full lines were what would be

    24    considered the claimed design.

    25                 So you're looking at patentability based on just that
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     1    overall appearance, not on any individual elements.               Same with

     2    respect to infringement.

     3                MR. CHENG:    Thank you, your Honor.

     4                Thank you, Mr. Gandy.       No further questions.

     5                THE COURT:    Any additional cross-examination based on

     6    the last questions?

     7                MS. STURM:    No, your Honor.

     8                THE COURT:    All right, sir, you're excused.          Thank

     9    you.

    10                THE WITNESS:    Thank you.

    11                THE COURT:    Okay.    What do we have left on witnesses,

    12    and can we finish them today?

    13                MR. LOMUSCIO:     We have Mr. Bero, your Honor.

    14                THE COURT:    All right.     And he's where, in Wisconsin?

    15                MR. LOMUSCIO:     He's in Wisconsin.       He's available

    16    remotely.

    17                THE COURT:    And where is your -- you have another

    18    witness, too, correct?

    19                MR. CHENG:    Oh, no, your Honor.

    20                THE COURT:    You're not.

    21                MR. CHENG:    Mr. Rake was scheduled next week.

    22                THE COURT:    Okay.

    23                MR. YAO:    Is scheduled next week.

    24                THE COURT:    Okay.    Mr. Rake is your other -- why

    25    don't you sit down so you're in front of the mic.
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     1               What is he going to testify to?

     2               MR. CHENG:     He's going to testify to the

     3    non-infringement nature of the products.

     4               THE COURT:     Okay.    All right.     And he's going to

     5    testify remotely or come into court?

     6               MR. CHENG:     He's going to come to the court.

     7               THE COURT:     All right.     Where is he from?

     8               MR. CHENG:     He's based in Kentucky?

     9               THE COURT:     All right.

    10               MR. CHENG:     Sorry, Kansas.

    11               THE COURT:     That's fine then.       Let's hear from the

    12    remote witness now.

    13               How long do you expect his direct examination to be?

    14               MR. LOMUSCIO:      Twenty minutes, your Honor.

    15               THE COURT:     Oh, good.     Let's -- why don't we take a

    16    ten-minute break right now so we can get him set up, but we'll

    17    take a ten-minute break.

    18               MR. LOMUSCIO:      Thank you, your Honor.

    19               MR. CHENG:     Thank you, your Honor.

    20      (Recess from 3:04 to 3:13 p.m.)

    21               THE COURT:     All right.     Looks like -- we're off the

    22    record.

    23      (Discussion held off the record.)

    24               THE COURT:     We can go back on the record, and please

    25    call your next witness.
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     1                 MR. LOMUSCIO:    Plaintiffs call Richard Bero.

     2                 THE COURT:   Okay.    Mr. Bero, can you hear me?

     3                 THE WITNESS:    Yes, I can.

     4                 THE COURT:   You're on mute.      I can't hear you.

     5                 THE WITNESS:    Can you hear me?      I can hear you.

     6                 THE COURT:   All right.     We can hear you, too.        You

     7    have to speak up a little, but we can hear you.

     8                 Please swear in the witness.

     9      (Witness sworn.)

    10                 MR. LOMUSCIO:    May I proceed, your Honor?

    11                 THE COURT:   You may.

    12              RICHARD BERO, PLAINTIFFS' WITNESS, DULY SWORN,

    13                                DIRECT EXAMINATION

    14    BY MR. LOMUSCIO:

    15    Q.   Good afternoon, Mr. Bero.        Could you please introduce

    16    yourself for the record.

    17    A.   Sure.    My name is Richard Bero, and I have a company

    18    called The Bero Group, and we provide financial and damages

    19    and valuation services, generally speaking.

    20                 THE COURT:   Is there a way to up the volume here?

    21                 MR. YAO:   It's tough for us to hear.

    22                 THE COURT:   We're going to try it from our end,

    23    Mr. Bero.     Maybe you just have to speak up, but see if we can

    24    raise the volume at our end here.

    25                 THE WITNESS:    How about now, is that okay?
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     1                 THE COURT:   A little better.

     2                 THE WITNESS:   Can you hear me?

     3                 THE COURT:   I think you're right though.         It's only

     4    going through the TV and not through the court mics.               Why

     5    don't you say your name again?          Let's see if it gets any

     6    louder.

     7                 THE WITNESS:   My name is Richard Bero.

     8                 THE COURT:   All right.     That's as good as we're going

     9    to get.    I think everyone just needs to listen carefully.                So

    10    go ahead.

    11    BY MR. LOMUSCIO:

    12    Q.   Mr. Bero, what type of company do you work for?

    13    A.   I have a company called The Bero Group, and we provide

    14    litigation consulting, financial valuation types of services

    15    in cases such as this one.

    16    Q.   And so have you testified in patent cases before?

    17    A.   Yeah.    I've testified on probably close to a hundred

    18    patent cases.

    19    Q.   And who retained you for this case?

    20    A.   I was retained initially on behalf of the plaintiffs by a

    21    law firm by the name of Loeb & Loeb.

    22    Q.   Who are the plaintiffs?        When I say retained, who are the

    23    plaintiffs who are the plaintiffs in this case?

    24    A.   Hangzhou Chic.

    25    Q.   And were you also retained by Unicorn Global?
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     1    A.   Correct, correct.

     2    Q.   And what is Hangzhou Chic?

     3    A.   So my understanding of Hangzhou Chic is it's a

     4    manufacturer and developer of hoverboards and hoverboard

     5    technology and has 400-plus patents and so forth on

     6    hoverboards.

     7    Q.   And what is your understanding of Unicorn?

     8    A.   Unicorn, as I understand, is an exclusive licensee of

     9    Hangzhou Chic for sales and distribution of hoverboards in the

    10    United States.

    11    Q.   And you'd testified earlier you've done work in patent

    12    cases.    What is the value in your experience of having a

    13    patent?

    14    A.   Well, just generally speaking, the value, it can take form

    15    in lots of different fashions certainly, but it essentially

    16    provides a monopoly, a patent owner has a monopoly over that

    17    particular technology, that particular patent to disallow

    18    others from using it in the marketplace.

    19    Q.   Does a patent holder also have the ability to license that

    20    patent?

    21    A.   Certainly, yes.

    22    Q.   What is the impact of infringement on the value of a

    23    patent?

    24    A.   Well, again, it depends on the facts and circumstances of

    25    the type of infringement, but when you have, as we have here,
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     1    direct competitors, it tends to diminish the value of that

     2    particular patent, and it can take -- it can take shape in a

     3    variety of different forms.         It can take shape in the form of

     4    lost royalties, lost sales, lost profits, additional pricing

     5    pressure that otherwise wouldn't exist.

     6                You know, it really can -- you know, again, it

     7    depends on the facts and the circumstances of the particular

     8    patent and type of infringement and relationship between the

     9    patent owner and the infringer.

    10    Q.   And did you provide, in connection with the pending

    11    preliminary injunction motion, a declaration?

    12    A.   Yes, I did.     I've prepared a number of declarations in

    13    this matter.

    14    Q.   And focusing on the most recent declaration that you

    15    prepared, did you provide any opinions in that declaration?

    16    A.   Yes.    Essentially, I provided two what I would describe as

    17    high-level opinions, and one has to do with the issue of

    18    nexus, the causal nexus, and the other one has to do with the

    19    issue of irreparable harm.

    20    Q.   And focusing on the causal nexus point first, what did you

    21    conclude based upon your analysis as to the causal nexus in

    22    this particular case?

    23    A.   Well, I concluded based on -- I was asked to look at two

    24    issues.     One is the issue of direct competition, and the other

    25    was the issue of commercial success.           My understanding is that
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     1    to the extent those exist in a case, that tends to suggest a

     2    more likely causal connection between the infringement and

     3    the -- and the demand for the patented products, or

     4    vice-versa, I guess I should say.

     5                And so essentially at a high level, those are the two

     6    issues I looked at with regard to the causal nexus.

     7    Q.   And so with regard to competition, who are the competitors

     8    you reviewed in connection with this particular case?

     9    A.   Well, it's Hangzhou Chic, but as I understand it, Unicorn

    10    Global is the primary U.S. distributor, as the exclusive

    11    licensee of products in the U.S., but Hangzhou Chic certainly

    12    has sold products into the U.S. as well.

    13                So on the one hand, you have those two parties that

    14    are selling the patented products, the plaintiffs' products;

    15    and then on the other hand, you have the accused infringers in

    16    this case.     My understanding, I know we went through it

    17    earlier today the list of the entities, but we've been

    18    referring to those entities as the Gyroor defendants and their

    19    products.

    20    Q.   And what are the products that plaintiffs Hangzhou Chic

    21    and Unicorn and the defendants, the Gyroor defendants, what

    22    products do they compete with regard to?

    23    A.   Well, as I indicated, certainly the hoverboards, and

    24    we've -- I think your Honor mentioned it right in the opening,

    25    we have direct competitors, and that's my understanding and
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     1    that's what I've seen from the information on the plaintiffs'

     2    side in declarations they've provided sort of the approach

     3    they've taken in this case and being concerned about the

     4    alleged infringement that's taken place.

     5                And then we also see that the companies are selling

     6    through similar kinds of distribution and primarily on that

     7    note, selling through Amazon.         And the majority of the sales,

     8    as I understand it again, that the defendants have been

     9    selling through is online and largely Amazon, which is also

    10    where the plaintiffs sell their products.

    11    Q.   And in terms of looking and determining the existence of

    12    competition between the parties, what did you analyze with

    13    regard to that?

    14    A.   Well, certainly, you know, I've reviewed the legal

    15    filings, and it's evident that -- and part of those

    16    declarations of -- there are a couple of different

    17    declarations of some of the Unicorn people.             I believe there

    18    are -- and, again, the names changed over time, but the focus

    19    was or the declarations were that these companies compete with

    20    each other.

    21                That's part of the information.         I've looked at

    22    websites.    I'm not a technical expert, so I don't know what

    23    infringes versus doesn't infringe, but I understand some of

    24    the products that are accused of infringement.              Both companies

    25    sell hoverboards, and Hangzhou Chic is one of the largest
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     1    market participants selling hoverboards in the United States.

     2    Q.   With regard to your declaration, you also said you looked

     3    at commercial success.        What does that mean?

     4    A.   Well, commercial success is -- I suppose it's somewhat of

     5    a vague term, but what we look at in patent cases, we look at

     6    it, there's different ways to look at it, but, you know,

     7    generally speaking if a product is selling and it's successful

     8    in the market, that would demonstrate commercial success.

     9    That would certainly indicate commercial success.

    10    Q.   And with regard to the sales in this case, did you see an

    11    indication of commercial success with regard to the patented

    12    products?

    13    A.   Certainly.     The data that we have was leading up to I

    14    believe the -- there were different hearings and so forth and

    15    injunction hearings and so forth as I understand.

    16                Initially, we looked at data that went up from 2019

    17    through September of 2020, so a little less than two years.

    18    And during that period of time, Hangzhou and Unicorn sold I

    19    believe it was 230,000 hoverboards, and they were selling --

    20    they sold over $50 million worth of hoverboards, which in and

    21    of itself -- patented hoverboards, I should say, what I

    22    understand to be patented hoverboards.

    23                So there alone, that's certainly an indication that

    24    these products have been commercially successful.

    25    Q.   And based upon your analysis of both the competitive
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     1    elements and the commercial elements, what was your first

     2    opinion with regard to the patented products in this case?

     3    A.   Well, again, it's my understanding that an indication of

     4    direct competition, such as we have here, and commercial

     5    success, such as what we have here, is an indicator of the

     6    nexus and -- the causal nexus.          And so looking at it through

     7    that lens, that has certainly been the case.

     8    Q.   And you testified earlier that you provided a second

     9    opinion with regard to the declaration provided in this case.

    10    What was that second opinion?

    11    A.   Yeah, the second opinion has to do with whether there is

    12    likely irreparable harm.        And, you know, given what I've seen

    13    and what I'm aware of, which is, quite frankly, some limited

    14    information that's based on what the defendants have produced

    15    or haven't produced, provided, that's not for me to determine

    16    whether that's proper or not certainly, but it would appear

    17    based on the limited information I have that irreparable harm

    18    is likely.

    19    Q.   And what, in coming to that conclusion, what did you focus

    20    on in connection with your analysis?

    21    A.   Well, it really boils down to one piece of information.

    22    One of the things that I would like to look at is the number

    23    of sales that the defendants have made of the accused products

    24    and how much money it was making and so forth and really kind

    25    of work our way towards a damages analysis and get in
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     1    effect -- a sense for the effect in the market from a

     2    quantitative perspective.

     3               We don't have that in this case.          Obviously it's

     4    early from that sort of a viewpoint.           But one of the pieces of

     5    information I thought was telling and really underlies this is

     6    a few weeks before the August 2021 hearing, the Gyroor US

     7    defendants indicated, somebody had -- I believe had a

     8    declaration or maybe it was in the motion, but said that they

     9    were going to go out of business by the end of the month,

    10    which was August of 2021, if the protective order or the

    11    injunction, excuse me, was not dissolved, and that suggested a

    12    couple of things to me.

    13               First of all, based on the other available

    14    information, which is the amount of frozen assets that was

    15    provided to the plaintiffs through -- by Amazon, Gyroor USA

    16    was far and away the largest or had the largest amount of

    17    frozen assets.

    18               And then if they were so dependent on these products,

    19    that suggests that there's not much else they are selling,

    20    which calls into question whether or not they have a solid

    21    foundation, financial foundation.          And to the extent they

    22    don't have a solid financial foundation, that calls into

    23    question whether or not they'd be able to pay, capable of

    24    paying any damages to the extent we went that far, we got that

    25    far in this particular case.
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     1                 And if you can establish damages but you can't

     2    collect damages as a plaintiff, then you're certainly going to

     3    be irreparably harmed.

     4                 MR. LOMUSCIO:    Nothing further, your Honor.

     5                 THE COURT:   All right.     Cross-examination.

     6                 MR. YAO:   Yes, your Honor.

     7                                 CROSS-EXAMINATION

     8    BY MR. YAO:

     9    Q.   Good afternoon, Mr. Bero.

    10    A.   Good afternoon.

    11    Q.   Okay.    So first question, so you indicated in your report

    12    that there needs to be a casual nexus in addition to

    13    irreparable harm for an injunction, correct?

    14    A.   I'm not sure I followed that.

    15    Q.   Okay.    Let's start with in your report, you wrote that

    16    there appears to be some casual nexus between the '723

    17    and '256 patents and the demand for the patented products,

    18    correct?

    19    A.   Yeah, yeah.     It's causal nexus.

    20    Q.   Causal.

    21    A.   Correct, rather than casual.         Yes.

    22    Q.   And you just testified earlier that direct competition

    23    between competitors suggests causal connection as well,

    24    correct?

    25    A.   That's an indicator as I understand it, which makes sense.
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     1    That's one of the indicators, yes.

     2    Q.   Okay.    In your -- in your expert report on page 21, I

     3    would say paragraph 85, you give examples of what the Federal

     4    Circuit indicates for a causal nexus.

     5                 So, first, let's take a look at you quoted:           Evidence

     6    that a patented feature is one of several features that cause

     7    consumers to make their purchasing decisions; second, evidence

     8    that inclusion of a patented feature makes a product

     9    significantly more desirable; and, third, evidence that the

    10    absence of a patented feature would make a product

    11    significantly less desirable.

    12                 Do you remember writing those?

    13    A.   Yes.

    14    Q.   So, however, in your report, have you included any

    15    evidence of any patented feature that causes consumer to make

    16    their purchasing decisions?

    17    A.   Are you referring to the first bullet point, cause

    18    consumers to make their purchasing decisions?

    19    Q.   Yes.

    20    A.   I have not analyzed that, no.

    21    Q.   Have you included evidence that the inclusion of a

    22    patented feature makes a product significantly more desirable?

    23    A.   I've referenced somewhere in my report, and I haven't

    24    analyzed that issue specifically with regard to all the

    25    features and competition, but I would note that somewhere in
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     1    my report, I address one of the -- one of the declarations

     2    that plaintiffs presented were that the designs were

     3    revolutionary, which certainly -- now, I haven't gone out to,

     4    set out to establish that or prove that, but certainly to the

     5    extent that's the case, then that would certainly fit that

     6    bullet point there.

     7    Q.   But the information you provided in this report of

     8    patentable feature that you just described, those were

     9    provided by plaintiffs, correct?

    10    A.   I'm sorry, I'm not sure I followed that.

    11    Q.   So in your report, you just described that you might have

    12    talked about evidence of the inclusion of a patented feature

    13    that makes a product significantly more desirable, you just

    14    indicated that your report might have referenced that.

    15               Are those information based on what plaintiffs have

    16    given you?

    17    A.   That information I referenced?          Yeah, that comes from, I

    18    believe, a declaration.        I can't remember the name of the

    19    individual.     I think it's spelled C-I-U is the last name, but,

    20    yes, that -- and as I said, I didn't set out to establish that

    21    particular bullet point, if you will.

    22    Q.   Well, have you done your own independent analysis?

    23    A.   That's what's contained in my -- my declaration, yes.                 As

    24    I said, I -- I analyzed, I was asked to analyze the issue of

    25    direct competition and commercial success as it relates to
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                                    Bero - cross by Yao
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     1    this issue, this nexus issue.

     2    Q.   So --

     3    A.   That's what I was asked, that's what I analyzed.

     4    Q.   So is it your opinion that direct competition between

     5    different businesses would essentially mean that there is some

     6    causal nexus that would be established, that all we need is

     7    direct competition?

     8    A.   No, that's -- that's not my opinion.           As I said, as I say

     9    in my report, if you look at paragraph 86, I understand it

    10    considers these issues and I understand the nexus considers

    11    the issue of whether there is direct competition and whether

    12    the patented products have had commercial success.               I have

    13    been asked to address these two issues.

    14    Q.   So let's take a look at direct competition.

    15                 In your report, in that section, you wrote -- you

    16    indicate that plaintiffs are one of the biggest competitors in

    17    the hoverboard market, which is a competitive market.               That's

    18    on paragraph 88.      And on paragraph 90, you also indicated that

    19    Unicorn considered Gyroor defendants to be direct competitors

    20    in the U.S. hoverboard market, correct?

    21    A.   Correct.

    22    Q.   Are there -- are there any data to support that, that

    23    would support the notion that Unicorn considers Gyroor

    24    defendants to be direct competitors in the U.S. market?

    25    A.   Is there data?
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     1    Q.   Yes.    Is there data?

     2    A.   Yeah.    I mean, this whole case is about -- this whole case

     3    is about the defendants offering these accused products for

     4    sale through Amazon and through various online websites, which

     5    are hoverboards, and that's not -- that's not complicated.

     6    That's pretty obvious.

     7                 And we know the plaintiffs also sell these similar

     8    types of hoverboards.       So I think it's very obvious that

     9    they're direct competitors.

    10    Q.   Are you aware that there are also other direct competitors

    11    in this hoverboard market?

    12    A.   Absolutely.

    13    Q.   So how would that affect your -- your opinion or analysis,

    14    knowing that there are other competitors, direct competitors,

    15    out there in the market?

    16    A.   It doesn't -- it doesn't matter.          I mean, the fact is

    17    these two companies sell similar looking hoverboards and

    18    they're direct competitors.         There may be other competitors as

    19    well, but when we're looking at the issue of direct

    20    competition, I mean, it's pretty obvious, I think.

    21    Q.   Well, are you aware that there are other substitute

    22    products in the market as well?

    23    A.   I'm aware there's other hoverboard products, certainly.                I

    24    haven't made any attempt at this point to analyze all the

    25    different hoverboards that are available and, you know, the
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     1    different features and so forth and so on.

     2               I do note in here some of the market data which

     3    indicates some of the bigger competitors in the market.

     4    Q.   So in your -- you also indicated, let's go to the

     5    commercial success portion.         You indicated that on

     6    paragraph -- on paragraph 98, you indicated that from

     7    September 2020 through approximately August 2021 -- sorry --

     8    2021, I understand Unicorn's monthly sales of patented

     9    hoverboards were approximately 50 percent less than they were

    10    in comparable months in 2019 and 2020.

    11               Do you have any data of most recent sales or, I'm

    12    sorry, do you have any most recent data?

    13    A.   I don't have any other -- any subsequent data from

    14    plaintiffs, and as I noted before, I don't have any of the

    15    defendants' data.      It hasn't been provided.

    16    Q.   So you didn't include any most recent data in this -- in

    17    this third supplemental report for plaintiffs' motion for a

    18    preliminary injunction, correct?

    19    A.   Right.    That took us up to I believe it was the -- there

    20    was a hearing in August of 2021, but I don't have any updated

    21    data since then.

    22    Q.   So you don't have any data of commercial success of this

    23    year, 2022, correct?

    24    A.   I don't have any sales data in 2022, that's correct.

    25    Q.   So you only include sales data of 2019 in this report,
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     1    correct?

     2    A.   No.   I have sales data from 2019 up through September of

     3    2020, and just those periods, as I indicated, are over 50

     4    million in sales.

     5               And my understanding is that after that period of

     6    time, the monthly sales dropped, and it had to do with the

     7    function of a couple of different factors.             One was there was

     8    a big sales bump due to COVID in 2020 that diminished sales,

     9    and subsequent to September of 2020, it was experienced not

    10    only by the plaintiffs but by other large manufacturers of

    11    hoverboards.

    12               There were some -- part of that was issues associated

    13    with supply chain, trying to get parts, as we all know that

    14    that was a challenge.

    15               And then plaintiffs also believe, I can't speak to

    16    this, but they believe that the defendants' sales were cutting

    17    into their own sales.

    18    Q.   So you're basically basing off of what plaintiffs have

    19    told you at least for they have less -- approximately less

    20    than 50 percent of the sales of 2020 and 2021 without any

    21    actual data that you received from plaintiffs, correct?

    22    A.   No, I -- no, your question didn't make sense.             It's not

    23    consistent with what I've just said.           Their sales based on

    24    information that maybe help -- based on information the

    25    plaintiffs told me or provided to me, I believe it was again
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     1    in a declaration, is that after September of 2020 for the next

     2    year approximately, their sales were about half of what they

     3    were during the previous 12-month period.

     4    Q.   And in your report, you haven't established any exclusive

     5    market share for plaintiffs, correct?

     6    A.   I don't know what you mean by exclusive market share.                 I

     7    talk about the issue of market share in the hoverboard market

     8    broadly in my report, but I'm not -- I don't know what you

     9    mean by exclusive market share.

    10    Q.   Well, let me interface it.         Do you think the plaintiffs

    11    own the majority of the market share in the hoverboard market?

    12    A.   No.

    13    Q.   Even with the sales --

    14    A.   Just to be clear, just to be clear, when I'm answering

    15    these questions, I'm focusing only on the U.S. market.

    16    Q.   Yes.   I'm also only focusing on the U.S. market as well.

    17                But even after you've seen all the data and sales

    18    report of -- provided to you by plaintiffs, that's your

    19    opinion, that the plaintiffs did not hold a good amount or a

    20    substantial amount of market share in the hoverboard market?

    21    A.   That's not correct.       As I talk about in my report, I

    22    looked at -- there was, I believe, a market share study that I

    23    refer to which indicated that Hangzhou Chic had I believe it

    24    was 5 or 6 percent of the hoverboard market.

    25                But it also indicated that the entire hoverboard
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     1    market, and I believe that was in 2019, was a little over a

     2    million units, and we know from the data that Hangzhou Chic

     3    had sold I believe it was 230 million, it's in my report,

     4    but -- or my declaration, I should say -- but based on the

     5    unit data that I had, that would indicate that Hangzhou Chic

     6    actually had approximately 19 or 20 percent of the market.

     7                So certainly that's a significant part of the market,

     8    but, again, we don't -- we don't have all the data certainly

     9    at this point on market share.

    10    Q.   But based on the data you've seen that was provided by

    11    plaintiffs and you also cited I believe it's other competitors

    12    such as Segway and other competitors in the market and as well

    13    as defendants' data, is it your opinion that plaintiff has,

    14    not a majority, but has a good amount of market share in the

    15    U.S. hoverboard market?

    16    A.   It would appear that they have a nice chunk of the market.

    17    It's not entirely clear to me at this point anyway what

    18    exactly that market share percentage is.

    19    Q.   In your report, have you discussed any indication of price

    20    erosion?

    21    A.   I note it's one of the forms of damages that are

    22    potentially available in patent cases, but I'm not -- not

    23    suggesting that there is.        I haven't done that kind of an

    24    analysis.

    25                My understanding is the plaintiffs believe defendants
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     1    may have been undercutting their prices, but I have not -- I

     2    don't have an opinion on that.          I have not studied that.

     3    Q.   So you have no opinion as to whether there are price

     4    erosion in this case, correct?

     5    A.   That's correct.

     6    Q.   All right.     Let's go back to the market share topic.

     7               Based on the data that plaintiffs provide to you,

     8    they said -- they indicated that they lost approximately

     9    50 percent of sales in 2020 and 2021.           Would that have any

    10    effect as to their market share?

    11    A.   So what you stated at the beginning of that question was

    12    not correct.     I didn't say they lost 50 percent of their sales

    13    in '20 and '21.

    14               They said that from September of 2020 through August

    15    of 2021, their sales had dropped about 50 percent.               So for

    16    that one-year period, their sales were lower by 50 percent.

    17    Q.   Well --

    18    A.   And then the next part of your question was related to

    19    market share, does that indicate their market share was lower.

    20    And as I said before, I don't know all the market share data,

    21    but the plaintiffs believe, from discussing with other

    22    hoverboard manufacturers or gathering information in the

    23    market, is that the entire market dropped in late 2020 and

    24    through at least August of 2021, relative to the preceding

    25    12-month period, and there's two primary reasons.
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     1               One is the period leading up to that timeframe, there

     2    was -- there was a run on, if you will, a lot of people were

     3    buying hoverboards.       As we know, you know, COVID caused lots

     4    of people to, you know, spend more time outside and whatever.

     5    So that inflated their sales during that period over and above

     6    what they had projected and expected.

     7               But then on the flip side that you're now measuring

     8    against -- in the subsequent time period, you're now measuring

     9    against the higher bar that they didn't expect in the first

    10    place.    So the belief was that those sales in 2020 had --

    11    basically were sales they otherwise would have made later.

    12    And so that's why their later sales were lower.              In part, that

    13    along with the supply chain issues that I mentioned, and as I

    14    also indicated, they thought that defendants had taken some of

    15    their sales.

    16               But, you know, again, I can't -- I can't establish

    17    that.    I can't prove that.       I haven't done that type of an

    18    analysis yet.

    19    Q.   So as you indicated in your resumé that you're a CPA.

    20    Based on -- and you have seen sales data provided by

    21    plaintiffs in the previous years, and based on your projection

    22    and your expertise as a CPA, would you consider that the loss

    23    of -- if there is any loss of market share, that's due to many

    24    different reasons, such as the COVID-19 pandemic, supply chain

    25    issues, and that the defendants alleged infringing activity
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     1    has no bearing or effect on the market share?

     2    A.   I'm not really sure I followed that question because it

     3    didn't make an awful lot of sense.           So you can either try

     4    again, or I can try to answer what I understand you maybe were

     5    trying to ask.

     6    Q.   I'll rephrase that.

     7               So since plaintiffs said that they believed that, you

     8    know, they lost or they might have lost approximately

     9    50 percent sales between 2020 and 2021, and that could be

    10    contributed to a lot of factors, such as COVID-19 pandemic,

    11    supply chain issues and other factors that's just out of

    12    control, and based on your expertise as a Certified Public

    13    Accountant, and you've seen sales data provided to you by

    14    plaintiffs of their previous years' sales data given -- but

    15    you haven't seen as of right now, correct?             You haven't seen

    16    any data as of 2021 or 2022?

    17    A.   Correct.    That's correct.      I haven't seen that data.

    18    Q.   So is it your -- based on just your expert opinion as a

    19    Certified Public Accountant that the approximate loss of sales

    20    is due to many contributing factors, which defendants' alleged

    21    infringing activities in this case might not even have any

    22    effect on the approximate loss of sales?

    23    A.   Just -- I need to be clear.         I'm not -- the plaintiffs

    24    aren't claiming -- I'm not claiming, I'm not suggesting that

    25    these are lost sales, that 50 percent isn't intended to
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     1    indicate they lost those sales.

     2               So I'm not -- I'm not claiming those are lost sales,

     3    and I hope that's really clear in my declaration.              I haven't

     4    quantified that kind of a damages-type analysis.

     5               But there are factors that I just -- we've just been

     6    talking about that are reasons those sales were lower for that

     7    late 2020 and nine months or eight months in 2021 period

     8    compared to the preceding 12 months.

     9               And, yeah, there are a variety of factors certainly

    10    that would play into that.

    11    Q.   So it is possible that defendants' alleged infringing

    12    activities in this case have no effect whatsoever on the

    13    approximate lower sales of the plaintiffs' products?

    14    A.   You keep talking about the lower sales.            A damage case

    15    typically, and certainly in a patent case, it's not about

    16    lower sales.     That might indicate, be an indicator, but it's

    17    about lost sales due to the infringement, and I haven't

    18    quantified what those lost sales are.

    19               I have an example in here suggesting that if you

    20    simply used a market share approach to the damages, which we

    21    oftentimes do in patent cases, at least 5 or 6 percent or

    22    whatever their market share would be reasonably attributable

    23    of those sales would be reasonably attributable to the

    24    plaintiffs.

    25               But that's not intended to be a damages analysis or a
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     1    claim that they've lost sales or certainly a quantification of

     2    lost sales because, quite frankly, as I've said, I don't have

     3    the information.      I don't know what the defendants have sold

     4    because that information hasn't been -- hasn't been produced.

     5    Q.   Well, let's go to the point where you indicated in your

     6    declaration, I believe it's on --

     7               THE COURT:     How much more do you have on cross?

     8               MR. YAO:     I would say, like, ten minutes max.

     9               THE COURT:     All right.

    10    BY MR. YAO:

    11    Q.   Let's take a look at page 28 of your declaration,

    12    paragraph -- paragraph 118 to 120.

    13               You indicated that Gyroor defendants claimed that

    14    more than 1 million of the U.S. account have been frozen as a

    15    result of the preliminary injunction and that they claim that

    16    the defendants would go out of business if an injunction was

    17    not dissolved, meaning that you believed that the Gyroor US

    18    defendants would be insolvent, correct?

    19    A.   I didn't necessarily believe they would be insolvent.

    20    Q.   That they don't have the ability to pay damages, correct,

    21    meaning that --

    22    A.   That's certainly an indicator that -- that there's a

    23    question there that if they're suggesting they're going to

    24    have to go out of business if they don't get an injunction,

    25    that tells me a couple things.
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     1               It tells me they're heavily reliant or entirely

     2    reliant on these products that we're talking about, and if

     3    that's the case, then they have limited resources to be able

     4    to pay damages in the event that plaintiffs are able to -- or

     5    would be able to subsequently prove damages.

     6               It's a limited amount of information, but that -- I'm

     7    not saying they're being insolvent, but I'm saying that the

     8    limited information is they're dependent on these products,

     9    and without them, there's nothing else to the -- to the

    10    business or limited or else maybe they have other products

    11    they're losing money on.        That could be true.       It could be as

    12    well.   I just don't know.

    13    Q.   Well, as you are aware, as you are aware that you were

    14    here since the morning during the opening statements for both

    15    parties, you heard that Gyroor US and the other Gyroor

    16    defendants are still currently in this case, meaning they are

    17    not insolvent or go bankrupt.

    18               Would that -- since the fact that they are not

    19    insolvent or go bankrupt, does that change your position

    20    that -- that they might -- they might not be able to pay any

    21    damages?

    22    A.   Not necessarily.      It could indicate that they have some

    23    sort of funding and access to cash that -- but we don't know

    24    if they've just been shut down or if they haven't been -- we

    25    don't know if they're owned by -- I don't know if they're all
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     1    owned by the same company or entity or entities.

     2               But, you know, if you have a company that's a

     3    defendant and they're going to go out of business in a short

     4    period of time if they can't sell the allegedly infringing

     5    products, that doesn't bode well for a plaintiff being able to

     6    collect on damages.

     7               They may have some other -- they may have -- I mean,

     8    there's a lot of different explanations for how they're paying

     9    for this -- you know, these ongoing legal issues, but that

    10    doesn't necessarily mean it's the company that's paying.

    11    Q.   But that does indicate that compensatory damages are --

    12    are available in this case instead of a drastic remedy of

    13    preliminary injunction, correct?

    14    A.   Well, I'm looking at it from an irreparable harm issue.

    15    I'm not looking at the whole, you know, all these issues.                  I

    16    know there are a lot of issues to resolve, but, you know, if

    17    you have -- if you have an entity that is -- owns all of these

    18    entities, I don't know, but if you do, you have an entity

    19    that -- or a partial owner in some of these entities that's

    20    willing to fund litigation costs until the case gets resolved,

    21    they don't necessarily have to -- they don't necessarily --

    22    they're not in a position necessarily where they have to pay

    23    if the -- if there are damages awarded against the defendant.

    24               I mean, it's a legal corporate structure kind of

    25    issue.    And as I said in my deposition, I brought this point
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     1    up a couple of years ago in one of my declarations, and I

     2    haven't seen any indication that they do have the ability to

     3    pay.    And maybe they do, but given the limited data I have, it

     4    calls it into question.

     5    Q.     So just a few more questions.

     6                  So let me ask you about third party respondent

     7    Gaodeshang-US.

     8                  Do you know Gaodeshang-US is or, I'm sorry, was a

     9    defendant in this case?

    10    A.     Which entity?

    11    Q.     It's called -- I'll spell it for you --

    12    G-A-O-D-E-S-H-A-N-G-US.

    13    A.     Is that one of the ones that we -- I don't remember.                I

    14    can't remember the name of the entities.

    15    Q.     So if this entity has not sold any of the alleged accused

    16    products in this case, does that change your analysis?

    17    A.     If it hasn't sold any accused products?

    18    Q.     Yes.

    19    A.     I don't know that it changes my analysis, but I don't know

    20    why they'd be -- I mean, there wouldn't be any damages --

    21    well, I suppose there could be potential for damages, but

    22    probably not significant damages, generally speaking.

    23                  So if they're out of the case or if they're not

    24    selling products and they likely didn't cause any damages,

    25    it's not a given, but it would tend to certainly suggest that
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     1    that's more likely than not, then defendants wouldn't be

     2    irreparably harmed by them continuing to sell something that

     3    they don't sell in the first place.

     4               MR. YAO:     That will be it, your Honor.         Nothing

     5    further.

     6               THE COURT:     All right.     Any redirect examination?

     7               MR. LOMUSCIO:      No, your Honor.

     8               THE COURT:     All right, sir, you're excused.          Thank

     9    you.

    10               All right.     Does the plaintiff have any additional

    11    witnesses or evidence to present by way of this hearing?

    12               MR. LOMUSCIO:      No, we do not, your Honor.

    13               THE COURT:     All right.     Well, I've read all the

    14    briefs, many briefs filed, both before and after the Federal

    15    Circuit decisions, and we've heard testimony now from several

    16    witnesses today.

    17               The defendants have another expert they wish to call

    18    next week, but that may be unnecessary.

    19               A plaintiff seeking a preliminary injunction must

    20    establish that he is likely to succeed on the merits, that

    21    he's likely to suffer irreparable harm in the absence of

    22    preliminary relief, and that the balance of equities tips in

    23    his favor, that an injunction is in the public interest.

    24               And in reviewing the grant or denial of a preliminary

    25    injunction, the Fed Circuit looks, at least on the likelihood
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     1    of success analysis, they look at the Federal Circuit law.

     2               To show a likelihood of success on the merits, a

     3    patentee must show that it will likely prove infringement of

     4    the asserted claims.       If the defendant raises a substantial

     5    question concerning infringement, the preliminary injunction

     6    should not issue.      A substantial issue of infringement is

     7    raised if the defense or if the defense -- let me rephrase

     8    that.

     9               If the defendant raises a substantial question

    10    concerning infringement, the preliminary injunction should not

    11    issue.    Here the patentee has not shown that the infringement

    12    defense raised by defendants lacks substantial merit.               So for

    13    that reason, because there has been I don't believe on a

    14    preponderance standard a finding that there is likelihood of

    15    success on the merits by the plaintiff, I'm going to deny the

    16    preliminary injunction.

    17               I'm going to issue a written opinion to supplement

    18    this quick oral ruling, but there's no point having you come

    19    into town next week.       There's no point having the defendants

    20    bring in another expert witness.          I'm satisfied, having heard

    21    the testimony, having seen the actual alleged infringing

    22    products, having read the declarations of the experts and

    23    heard from -- having heard from three of them, I'm satisfied

    24    that an injunction should not issue in this case for the

    25    reasons given.
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     1                I'm going to ask the parties to email to my courtroom

     2    deputy all the PowerPoints used today, and on the issue of the

     3    proper parties being in the case, I'm going to -- is your

     4    motion to clarify, does that sufficiently set forth your

     5    position as to the proper parties, or do you wish to

     6    supplement it?

     7                MR. YAO:    Your Honor, I will have to go back and

     8    doublecheck, and we will email the courtroom deputy about the

     9    status, and we can go from there.

    10                THE COURT:    If you're going to rest on your motion to

    11    modify, let her know, and then I'd ask the defendants to

    12    respond to it, and I'd give you 14 days to respond.

    13                From the time you learn, if that's what they're going

    14    to rest on, or if you wish to supplement it, you should do so

    15    promptly.    Talk to defense counsel and see -- or plaintiffs'

    16    counsel and see what the timeframe can be, but we should

    17    resolve that issue before we take the next steps in the case,

    18    which I assume is summary judgment briefing.

    19                I have no opinion.      My review here is limited to

    20    likelihood of success on the merits, and that doesn't prejudge

    21    any summary judgment either party could file and certainly

    22    doesn't prejudge what a jury may decide if there are fact

    23    issues that prevent summary judgment from being granted to

    24    whoever seeks it.

    25                Any questions by plaintiff?
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     1                MR. LOMUSCIO:     No, your Honor.

     2                THE COURT:    Any questions by defendant?

     3                MR. YAO:    No, your Honor.

     4                THE COURT:    All right.     I'd like the hoverboards that

     5    are up on the bench taken back.          We have a hoverboard in

     6    chambers.    I believe it was provided by defendants, but does

     7    anyone remember who gave us a hoverboard?

     8                MR. CHENG:    Us.

     9                THE COURT:    Defendants?     You can retrieve it.        If not

    10    today, have your local counsel come over and get it in the

    11    next week or so --

    12                MR. CHENG:    Okay.

    13                THE COURT:    -- from chambers.       You don't have to lug

    14    it out today if you don't want to, but it's there if you want

    15    it.

    16                Okay.   We won't need the actual products.           We've

    17    reviewed them.      We don't need those for purposes of issuing a

    18    written opinion, which will follow relatively soon.

    19                All right.    Once we clarify the issue of parties,

    20    then I will ask you for a joint status report.              Once we rule

    21    on that clarification, perhaps there's no need to clarify once

    22    you've briefed it if there's agreement, but once that has

    23    taken place, I need to know what the next steps are:

    24    Settlement conference or summary judgment briefing.

    25                If it is summary judgment briefing, I need to know --
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     1    hopefully you can come up with an agreed briefing schedule

     2    whether it's one side seeking it, another side not, or whether

     3    it's joint summary judgment motions.           Either way, come up with

     4    an agreed briefing schedule.

     5               If you can't reach an agreement, note your

     6    disagreements in an email to my courtroom deputy, and I'll

     7    resolve the disagreements and we'll have a briefing schedule

     8    on summary judgment, and then we'll proceed from here.

     9               Okay.    Last chance, any questions by plaintiff?

    10               MR. LOMUSCIO:      No, your Honor.

    11               THE COURT:     Any questions by defendant?

    12               MR. YAO:     No, your Honor.

    13               THE COURT:     All right.     Thank you all for a very

    14    interesting presentation and for the witnesses and their time.

    15    Thank you all.

    16      (Which were all the proceedings heard.)

    17                         C E R T I F I C A T E
                      We certify that the foregoing is a correct
    18    transcript from the record of proceedings in the
          above-entitled matter.
    19
                 /s/ Kelly M. Fitzgerald
    20      ___________________________________

    21
                 /s/ Kathleen M. Fennell                      December 3, 2022
    22      ___________________________________             _________________
                 Official Court Reporters                     Date
    23         United States District Court
               Northern District of Illinois
    24               Eastern Division

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